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                Exhibit 1
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

CYTODYN, INC,

       Plaintiff,                                     Civil Action No. 21-2533

v.                                                    Hon. Peter J. Messitte

AMAREX CLINICAL RESEARCH, LLC,
and NSF INTERNATIONAL,

       Defendants.


                     DECLARATION OF KAZEM KAZEMPOUR, Ph.D

       1.      Pursuant to 28 U.S.C. § 1746, I, Kazem Kazempour, make the following statements

based on personal knowledge:

       2.      I am over eighteen years of age, have personal knowledge of the facts set forth

herein, and am competent to testify to the same.

       3.      I am the Co-Founder, President and CEO of Amarex Clinical Research, LLC. I

have over 30 years of experience in clinical research and clinical product development, and a

frequent presenter and publisher in the clinical research arena.

       4.      I started my career in mathematical statistics at the Genetics Institute in 1975. In

1991, I joined the U.S. Food and Drug Administration (FDA) as a statistical reviewer. During my

tenure at the FDA, I worked as a Senior Staff Fellow and Mathematical Statistician responsible for

supervising and conducting independent statistical analyses for numerous clinical trials and for

reviewing clinical trials submissions and protocols. While in FDA I was responsible for most of

early HIV clinical trials and presented to FDA Advisory committee several times for

approval/disapproval of most of early HIV treatments.
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         5.    From 1985 to 1989, I served as Global Senior Director of Biometrics and Clinical

Data Systems for Otsuka Pharmaceuticals, an international pharmaceutical company, where I was

responsible for the global standardization of biostatistics, scientific programming and data

management procedures. In this capacity, I implemented ICH guidelines and validated programs

for all biometric offices, and also prepared and presented the biometrical aspects of study designs

for Drugs/clinical devices and submitted to regulatory agencies in the U.S. and Europe.

         6.    I have worked on more than 200 clinical trials around the globe, conducting clinical

research activities with industry organizations, the National Institutes of Health (NIH), universities

and many other research centers. I also contributed to hundreds of FDA and other international

regulatory body meetings on over 100 different products. I also established, presented at and

participated in many FDA advisory committees and Data Safety Monitoring Boards (DSMBs).

         7.    I have authored numerous publications and technical reports, I have taught at

George Washington University (GW), and currently I sit on GW’s Regulatory Affairs Advisory

Board.

                                  Dr. Daniel Hanley Declaration

         8.    I have read the Declaration of Dr. Daniel Hanley and concur with all of his opinions

and conclusions concerning the work of Amarex and regarding patient safety. I will not repeat

those opinions and instead briefly address several issues.

         The Nearly $14,000,000 in Unpaid Invoices and CytoDyn’s Material Breach

         9.    At present, the total sum of unpaid invoices, as of October 22, 2021 is

$13,261,982.62 plus $665,937.60 of interest, for a grand total of $13,927,920.22, and continuing.

Ex. A. This nearly $14,000,000 in unpaid sums were the product of numerous invoices, over a

period of years, from Amarex to CytoDyn.




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        10.     Section 3.2 of the parties’ Master Services Agreement (“MSA”) required payment

by CytoDyn within thirty (30) days of receipt of an invoice. CytoDyn has failed to pay Amarex

within 30 days of receipt of invoicing.

        11.     Section 3.3 of the MSA provided a mechanism for CytoDyn to dispute any invoice

within 21 days of receipt of an invoice: “in the event CytoDyn in good faith disputes any invoice

or portion thereof, CytoDyn will notify Amarex in writing with an explanation of the reasons for

disputing the invoice, and payment of such invoice or portion thereof will not be due until the

parties resolve such dispute, provided that CytoDyn will promptly pay the undisputed portion of

any disputed invoice as set forth above.” Of the $14,000,000 in unpaid invoices/interest (some of

which are from as far back as 2019), CytoDyn never disputed any of the invoices or provided any

explanation for any supposed dispute.

        12.     Belatedly and untimely, and only in the last few months, CytoDyn throw out

generalized, non-specific complaints as to invoicing.

        13.     For quite some time, Amarex patiently tried to get CytoDyn to pay its invoices and

certainly did not suddenly stop work as CytoDyn incorrectly alleges. With nearly $14,000,000

past due (again, invoices as old as 2019), Amarex made multiple demands for payment and advised

that it would suspend services, including after several warnings, and further communicated that all

services, including those for serious adverse effect reporting and patient monitoring, would end in

the near future. CytoDyn did nothing to pay the outstanding invoices to Amarex.

                                  Serious Adverse Events (“SAE”)

        14.     To date, and despite the substantial sum of unpaid invoices, Amarex has not stopped

but rather is continuing its medical monitoring associated with serious adverse event (“SAE”)

reporting. See also October 21, 2021 letter to counsel for CytoDyn from R. McGluckian. Ex. B.

As a result, no patient is at risk, nor is the integrity of any trial in jeopardy.


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       15.        Each of the ongoing trials has in place a method of reporting an SAE occurring in

a patient other than through the EDC. For decades, the reporting of SAEs to the sponsor or CRO

has been by phone, fax, email, and/or an EDC system. While the EDC system is no longer

accessible, the sites still and always have had the ability to make a SAE reporting via phone, fax,

and email, including through use of the SAE Notification Form as provided in the Safety

Management Plan. Thus, any SAE can be reported outside of and without need for an EDC system.

  CytoDyn Has Unfettered Access to the Source Medical Records for All Ongoing Trials

       16.        According to Section 1.52 of Good Clinical Practice Guideline, Source Documents

are defined as:

                  Original documents, data, and records (e.g., hospital records,
                  clinical and office charts, laboratory notes, memoranda, subjects’
                  diaries or evaluation checklists, pharmacy dispensing records,
                  recorded data from automated instruments, copies or transcriptions
                  certified after verification as being accurate copies, microfiches,
                  photographic negatives, microfilm or magnetic media, x-rays,
                  subject files, and records kept at the pharmacy, at the laboratories
                  and at medico-technical departments involved in the clinical trial).

       17.        CytoDyn has immediate and unfettered access to all source medical records through

the contracts it, not Amarex, has with each and every site for each of the four ongoing trials. These

contracts give CytoDyn the same information it claims it needs from the EDC databases. In fact,

the source data is better and more accurate than the EDC data given that EDC data often contains

input entry/transcription errors entered by the clinical site and may not yet have been verified

against the source medical records (doctor/nurse files).

       18.        With this unfettered access, and 92 patients in the ongoing clinical studies,

CytoDyn could have easily assembled all information it now claims it has urgent need for via the

EDC.




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                                        The EDC Databases

        19.     CytoDyn is grossly overreaching in what it seeks regarding the EDC. It seeks not

just the data in the EDC (which data is immediately available from each of the clinical sites), but

also the EDC computer program/software. Even had CytoDyn not materially breached its contract

with Amarex, it never would be entitled to the computer program/software, which is a system

developed by and owned by Amarex, not CytoDyn. The following example demonstrates this:

when a patient goes to his/her doctor and says please give me my health records, the doctor does

not give the patient the doctor’s document management program and database; rather, the doctor

gives only the specific records generated for that patient, or copy of the raw data (e.g., the test

results, the full patient chart, etc.). The same would be true here: the document management

program would never be given to CytoDyn.

        20.     CytoDyn also wrongly claims that Amarex is mismanaging the EDC data based on

the supposed “snapshots” of the EDC that it says show the errors. This claim is misleading and

wrong. There are no errors inputted by Amarex. Any errors are by the doctors’ offices and the

nurses at the testing sites, resulting from transcription errors or mistakes in inputting data or failing

to input any data at all (missing data) into the EDC. But, that snapshot Cytodyn is referring to,

just reflects one point in time and not the process by which Amarex seeks to solidify the accuracy

of the data by sending queries to the doctors’ offices or actually visiting the doctors’ offices and

going over the source documents (patient’s folder) to point out the inaccuracies or missing data so

that the sites, not Amarex, may correct the inputted data. This process of verification also

demonstrates why doctors treating the patient should not depend on the EDC data but rather they

should rely on the source records in their offices, not the data inputted (sometimes incorrectly) into

the EDC, for the medical information necessary to care for the patient. In fact, the entries in the

EDC are not finalized with queries confirmed for accuracy until the EDC is locked, and it is not


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locked until the end of the study. None of the four ongoing trials have been locked because they

are nowhere near that point of locking, and thus CytoDyn’s attempt to use “snapshots” to show

purported errors is not credible.

      The Biological License Application Complained About by Dr. Nader Pourhassan

       21.       At paragraph 27 of his Declaration, Dr. Nader Pourhassan wrongly attempts to

blame Amarex for CytoDyn’s own issues, this time for the FDA’s rejection of CytoDyn’s

Biological License Application for HIV treatment (the “BLA”).

       22.       In actuality, the FDA rejected CytoDyn’s BLA because Dr. Pourhassan directed

Amarex to file the BLA prematurely, knowing it was incomplete, lacking in appropriate content,

and not ready for submission. Dr. Pourhassan was warned of the issue repeatedly.

       23.       Dr. Pourhassan sent the following affirmative directions to Amarex: “Please file

the BLA no later than next week Wednesday, even if we are short in no matter what portion of

whatever it is that we are short.” See Ex C, April 14, 2020 email from Nader Pourhassan to

Amarex. His justification for his premature direction, as stated in his email, stems from a stock

price drop and to allay “investors who are very frustrated with me and CytoDyn”. Id.

       24.       At Dr. Pourhassan’ s direction, Amarex submitted the incomplete and lacking BLA

to the FDA. Not surprisingly, the FDA rejected the filing and refused to file it because the

“application does not contain all pertinent information and data needed to complete a substantive

review.” Ex D, FDA Refusal To File Letter dated July 8, 2020. Dr. Pourhassan and CytoDyn

received exactly what was to be expected, a refusal to file for missing and incomplete information

or, as Dr. Pourhassan put it: “even if we are short in no matter what portion of whatever it is that

we are short.”

       25.       Further, now that CytoDyn is trying to justify its failure to pay, or even dispute,

nearly $14,000,000 in unpaid Amarex invoices, Dr. Pourhassan has changed his tune of long


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standing praises of Amarex to unfounded criticisms and material omissions of CytoDyn’s own

conduct. For example, in an April 27, 2020 interview, Dr. Pourhassan praised Amarex for this

work:

              Congratulations to Amerex [Amarex] for not letting down all of our
              shareholders and many patients in great need of leronlimab. Special
              thanks goes to Dr. Cush Doty [Kush Dhody] and the main person at
              Amerex [Amarex], their CEO, Dr. Kossam Kosampur [Kazem
              Kazempour], and to CytoDyn's team, especially our Chief
              Technology Officer, Dr. Nitya Ray who took the CMC shattered
              pieces and successfully put it back together in an artistic fashion;
              and in doing so, he also finalized a superb deal for CytoDyn with
              Samsung Biologics. So in short, ladies and gentlemen, the BLA is
              submitted. [Ex. E, misspelling in original]

        26.   This praise was not a one-off event. On July 4, 2020 Dr. Pourhassan appeared on a

program titled “Doctor Been Talks.” During his appearance, Dr. Pourhassan stated that he “was

taught quite a bit of stuff from drug development from Amarex: Dr. Kossam Kosampur [Kazem

Kazempour]. Dr. [K]ush Dhody.” Ex. F (misspellings in original).

        27.   Dr. Pourhassan appeared on the “Doctor Been Talks” again on July 18, 2020 and

once again praised Amarex, saying that it did a fantastic job preparing the FDA protocol for

leronlimab. Ex. G.

        28.   Last, during a special meeting of CytoDyn’s stockholders on July 22, 2020, Dr.

Pourhassan reiterated that Amarex and its experts “have done spectacularly for” CytoDyn. Ex. H.

        29.   Finally, in its attempt to cast blame for all its problems on the FDA rejection of the

BLA, CytoDyn fails to inform the Court of the substantial new work assigned to Amarex following

the FDA rejected submission. For example, between August and June 2021, CytoDyn signed nine

new work orders associated with further tasks under the BLA, it launched a long-hauler study for

a COVID therapeutic in December 2020, and between September 2020 and March 2021, CytoDyn




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                Exhibit A
Interest Calculation
Assumes 1% interest per month invoice is outstanding
# of months past due is based on the invoice due date and using 10/22/21 as the date of past due (e.g.; invoice due July 15, 2021 is 3 months overdue as of 10/22/21)
AR Aging of invoices is as of 10/22/2021



Row Labels       Sum of Amount Outstanding (Functional) Interest Calcuation
0                                          1,515,586.42                 -
1                                            838,309.81            8,383.10
2                                            933,950.41           18,679.01
3                                            766,603.99           22,998.12
4                                          1,133,983.51           45,359.34
5                                          1,628,248.52           81,412.43
6                                          1,612,702.51           96,762.15
7                                          1,363,661.60           95,456.31
8                                          2,444,544.17          195,563.53
9                                            812,162.36           73,094.61
10                                            29,344.42            2,934.44
11                                            30,664.42            3,373.09
12                                            28,224.42            3,386.93
13                                            27,510.92            3,576.42
14                                            27,716.92            3,880.37
15                                            29,826.82            4,474.02
16                                            35,180.40            5,628.86
23                                               100.00               23.00
26                                             3,661.00              951.86
Grand Total                               13,261,982.62          665,937.60
                                                                                                                                                                        Case 8:21-cv-02533-PJM Document 27-1 Filed 10/26/21 Page 11 of 99
                                                                                                                   AGED          AGED          AGED            AGED           AGED
    Bill To     Transaction                            Transaction      Due       Amount Due      Amount                                                                                                                            Month /Year    Months
                                     Reference                                                                   Functional   Functional 31 Functional 61   Functional 91   Functional           Account          Project Number
   Customer       Number                                  Date          Date       Original      Outstanding                                                                                                                           Due        Past Due
                                                                                                                 Any To 30       To 60         To 90           To 120       121 To Any

CytoDyn, Inc.   15826         CONV_15826               6/30/2019     7/30/2019       26,176.02        3,661.00                                                                 3,661.00 4180 - Consulting    CONV_15826             07/2019             26
CytoDyn, Inc.   16211         CONV_16211               10/8/2019     11/7/2019         100.00           100.00                                                                   100.00 1223 - Passthrough   CONV_16211             11/2019             23
CytoDyn, Inc.   192175        CDI16_GVHD2              5/3/2020      6/2/2020        27,565.92       27,565.92                                                                27,565.92 4180 - Consulting    CDI16_GVHD2            06/2020             16
CytoDyn, Inc.   192193        CDI38_Basket             5/4/2020      6/3/2020        69,852.42        7,614.48                                                                 7,614.48 4180 - Consulting    CDI38_Basket           06/2020             16
CytoDyn, Inc.   192781        CDI16_GVHD2              6/1/2020      7/1/2020        29,254.82       29,254.82                                                                29,254.82 4180 - Consulting    CDI16_GVHD2            07/2020             15
CytoDyn, Inc.   192838        CDI09_Extension          6/3/2020      7/3/2020          572.00           572.00                                                                   572.00 4180 - Consulting    CDI09_Extension        07/2020             15
CytoDyn, Inc.   193279        CDI16_GVHD2              7/1/2020      7/31/2020         206.00           206.00                                                                   206.00 4180 - Consulting    CDI16_GVHD2            07/2020             14
CytoDyn, Inc.   193360        CDI16_GVHD2              7/3/2020      8/2/2020        27,510.92       27,510.92                                                                27,510.92 4180 - Consulting    CDI16_GVHD2            08/2020             14
CytoDyn, Inc.   193874        CDI16_GVHD2              8/3/2020      9/2/2020        27,510.92       27,510.92                                                                27,510.92 4180 - Consulting    CDI16_GVHD2            09/2020             13
CytoDyn, Inc.   194749        CDI16_GVHD2              9/2/2020      10/2/2020       28,224.42       28,224.42                                                                28,224.42 4180 - Consulting    CDI16_GVHD2            10/2020             12
CytoDyn, Inc.   195666        CDI16_GVHD2              10/1/2020     10/31/2020      30,314.42       30,314.42                                                                30,314.42 4180 - Consulting    CDI16_GVHD2            10/2020             11
CytoDyn, Inc.   196113        CDI39-COVID19            10/21/2020    11/20/2020        150.00           150.00                                                                   150.00 4180 - Consulting    CDI39-COVID19          11/2020             11
CytoDyn, Inc.   196136        CDI41_COVID19            10/23/2020    11/22/2020        200.00           200.00                                                                   200.00 4180 - Consulting    CDI41_COVID19          11/2020             11
CytoDyn, Inc.   196533        CDI16_GVHD2              11/2/2020     12/2/2020       27,400.92       27,400.92                                                                27,400.92 4180 - Consulting    CDI16_GVHD2            12/2020             10
CytoDyn, Inc.   196598        CDI39-COVID19            11/4/2020     12/4/2020         693.50           693.50                                                                   693.50 4180 - Consulting    CDI39-COVID19          12/2020             10
CytoDyn, Inc.   196703        CDI41_COVID19            11/9/2020     12/9/2020        1,250.00        1,250.00                                                                 1,250.00 4180 - Consulting    CDI41_COVID19          12/2020             10
CytoDyn, Inc.   196895        CDI37_Comp TNBC          11/23/2020    12/23/2020       5,775.00        5,775.00                                                                 5,775.00 4180 - Consulting    CDI37_Comp TNBC        12/2020              9
CytoDyn, Inc.   197096        CDI18_MonoTherapy        11/30/2020    12/30/2020        386.19           386.19                                                                   386.19 4180 - Consulting    CDI18_MonoTherapy      12/2020              9
CytoDyn, Inc.   197097        CDI30_Breast Cancer      11/30/2020    12/30/2020        113.42           113.42                                                                   113.42 4180 - Consulting    CDI30_Breast Cancer    12/2020              9
CytoDyn, Inc.   197100        CDI39_COVID19            11/30/2020    12/30/2020        218.59           218.59                                                                   218.59 4180 - Consulting    CDI39_COVID19          12/2020              9
CytoDyn, Inc.   197101        CDI41_COVID 19           11/30/2020    12/30/2020        608.42           608.42                                                                   608.42 4180 - Consulting    CDI41_COVID 19         12/2020              9
CytoDyn, Inc.   197238        CDI41_COVID 19           12/1/2020     12/31/2020     265,766.70      265,766.70                                                               265,766.70 4180 - Consulting    CDI41_COVID 19         12/2020              9
CytoDyn, Inc.   197365        CDI29_CDI02              12/2/2020     1/1/2021        25,874.90       25,874.90                                                                25,874.90 4180 - Consulting    CDI29_CDI02            01/2021              9
CytoDyn, Inc.   197370        CDI28_mono ext           12/2/2020     1/1/2021        29,047.89       29,047.89                                                                29,047.89 4180 - Consulting    CDI28_mono ext         01/2021              9
CytoDyn, Inc.   197389        CDI24_AllCompassionate   12/2/2020     1/1/2021        22,841.58       22,841.58                                                                22,841.58 4180 - Consulting    CDI24_AllCompassionate 01/2021              9
CytoDyn, Inc.   197390        CDI18_MonoTherapy        12/2/2020     1/1/2021       114,646.78      114,646.78                                                               114,646.78 4180 - Consulting    CDI18_MonoTherapy      01/2021              9
CytoDyn, Inc.   197391        CDI16_GVHD2              12/2/2020     1/1/2021        25,350.42       25,350.42                                                                25,350.42 4180 - Consulting    CDI16_GVHD2            01/2021              9
CytoDyn, Inc.   197393        CDI09_Extension          12/2/2020     1/1/2021        25,782.31       25,782.31                                                                25,782.31 4180 - Consulting    CDI09_Extension        01/2021              9
CytoDyn, Inc.   197394        CDI02_IB                 12/2/2020     1/1/2021        55,074.00       55,074.00                                                                55,074.00 4180 - Consulting    CDI02_IB               01/2021              9
CytoDyn, Inc.   197410        CDI39_COVID19            12/3/2020     1/2/2021        17,053.96       17,053.96                                                                17,053.96 4180 - Consulting    CDI39_COVID19          01/2021              9
CytoDyn, Inc.   197464        CDI16_GVHD2              12/4/2020     1/3/2021        27,927.45       27,927.45                                                                27,927.45 4180 - Consulting    CDI16_GVHD2            01/2021              9
CytoDyn, Inc.   197484        CDI25_BLA                12/6/2020     1/5/2021       116,602.75      116,602.75                                                               116,602.75 4180 - Consulting    CDI25_BLA              01/2021              9
CytoDyn, Inc.   197573        CDI30_Breast Cancer      12/10/2020    1/9/2021        25,700.00       25,700.00                                                                25,700.00 4180 - Consulting    CDI30_Breast Cancer    01/2021              9
CytoDyn, Inc.   197644        CDI30_Breast Cancer      12/14/2020    1/13/2021        1,500.00        1,500.00                                                                 1,500.00 4180 - Consulting    CDI30_Breast Cancer    01/2021              9
CytoDyn, Inc.   197934        CDI45 Covid Approval     12/22/2020    1/21/2021       51,892.00       51,892.00                                                                51,892.00 4180 - Consulting    CDI45 Covid Approval   01/2021              9
CytoDyn, Inc.   198046        CDI16_GVHD2              12/28/2020    1/27/2021         304.35           304.35                                                                   304.35 4180 - Consulting    CDI16_GVHD2            01/2021              8
CytoDyn, Inc.   198065        CDI41_COVID 19           12/29/2020    1/28/2021      420,665.82      420,665.82                                                               420,665.82 4180 - Consulting    CDI41_COVID 19         01/2021              8
CytoDyn, Inc.   198066        CDI39_COVID19            12/29/2020    1/28/2021       97,376.70       97,376.70                                                                97,376.70 4180 - Consulting    CDI39_COVID19          01/2021              8
CytoDyn, Inc.   198067        CDI38_Basket             12/29/2020    1/28/2021       32,759.36       32,759.36                                                                32,759.36 4180 - Consulting    CDI38_Basket           01/2021              8
CytoDyn, Inc.   198068        CDI37_Comp TNBC          12/29/2020    1/28/2021       25,268.69       25,268.69                                                                25,268.69 4180 - Consulting    CDI37_Comp TNBC        01/2021              8
CytoDyn, Inc.   198070        CDI25_BLA                12/29/2020    1/28/2021      111,895.25      111,895.25                                                               111,895.25 4180 - Consulting    CDI25_BLA              01/2021              8
CytoDyn, Inc.   198073        CDI18_MonoTherapy        12/29/2020    1/28/2021       87,188.66       87,188.66                                                                87,188.66 4180 - Consulting    CDI18_MonoTherapy      01/2021              8
CytoDyn, Inc.   198075        CDI30_Breast Cancer      12/29/2020    1/28/2021       40,044.64       40,044.64                                                                40,044.64 4180 - Consulting    CDI30_Breast Cancer    01/2021              8
CytoDyn, Inc.   198076        CDI29_CDI02              12/29/2020    1/28/2021       25,082.90       25,082.90                                                                25,082.90 4180 - Consulting    CDI29_CDI02            01/2021              8
CytoDyn, Inc.   198077        CDI28_mono ext           12/29/2020    1/28/2021       31,842.01       31,842.01                                                                31,842.01 4180 - Consulting    CDI28_mono ext         01/2021              8
CytoDyn, Inc.   198079        CDI24_AllCompassionate   12/29/2020    1/28/2021       20,697.14       20,697.14                                                                20,697.14 4180 - Consulting    CDI24_AllCompassionate 01/2021              8
CytoDyn, Inc.   198082        CDI16_GVHD2              12/29/2020    1/28/2021       25,350.42       25,350.42                                                                25,350.42 4180 - Consulting    CDI16_GVHD2            01/2021              8
CytoDyn, Inc.   198089        CDI14_Phase 3            12/29/2020    1/28/2021        2,549.95        2,549.95                                                                 2,549.95 4180 - Consulting    CDI14_Phase 3          01/2021              8
CytoDyn, Inc.   198090        CDI09_Extension          12/29/2020    1/28/2021       25,574.20       25,574.20                                                                25,574.20 4180 - Consulting    CDI09_Extension        01/2021              8
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CytoDyn, Inc.   198098        CDI02_IB                 12/29/2020    1/28/2021       74,338.00       74,338.00                                                                74,338.00 4180 - Consulting    CDI02_IB               01/2021              8
CytoDyn, Inc.   198514        CDI41_COVID19            1/5/2021      2/4/2021        18,304.70       18,304.70                                                                18,304.70 4180 - Consulting    CDI41_COVID19          02/2021              8
CytoDyn, Inc.   198515        CDI41_COVID19            1/5/2021      2/4/2021         9,131.50        9,131.50                                                                 9,131.50 4180 - Consulting    CDI41_COVID19          02/2021              8
CytoDyn, Inc.   198518        CDI41_COVID19            1/5/2021      2/4/2021        71,587.50       71,587.50                                                                71,587.50 4180 - Consulting    CDI41_COVID19          02/2021              8
CytoDyn, Inc.   198519   CDI41_COVID19            1/5/2021    2/4/2021    202,680.83   202,680.83   202,680.83 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198520   CDI41_COVID19            1/5/2021    2/4/2021     57,869.10    57,869.10    57,869.10 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198521   CDI41_COVID19            1/5/2021    2/4/2021     13,453.20    13,453.20    13,453.20 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198522   CDI41_COVID19            1/5/2021    2/4/2021     46,205.50    46,205.50    46,205.50 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198523   CDI41_COVID19            1/5/2021    2/4/2021     68,984.50    68,984.50    68,984.50 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198524   CDI41_COVID19            1/5/2021    2/4/2021     96,319.50    96,319.50    96,319.50 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198603   CDI41_COVID19            1/7/2021    2/6/2021    252,999.00   252,999.00   252,999.00 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198604   CDI41_COVID19            1/7/2021    2/6/2021    213,036.75   213,036.75   213,036.75 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198605   CDI41_COVID19            1/7/2021    2/6/2021      8,381.25     8,381.25     8,381.25 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198606   CDI41_COVID19            1/7/2021    2/6/2021     97,362.00    97,362.00    97,362.00 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198607   CDI41_COVID19            1/7/2021    2/6/2021     33,500.00    33,500.00    33,500.00 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198608   CDI41_COVID19            1/7/2021    2/6/2021      6,750.00     6,750.00     6,750.00 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198645   CDI39-COVID19            1/11/2021   2/10/2021     1,350.00     1,350.00     1,350.00 4180 - Consulting   CDI39-COVID19          02/2021   8
CytoDyn, Inc.   198647   CDI41_COVID19            1/11/2021   2/10/2021    19,167.00    19,167.00    19,167.00 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198648   CDI41_COVID19            1/11/2021   2/10/2021     2,700.00     2,700.00     2,700.00 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198650   CDI41_COVID19            1/11/2021   2/10/2021    78,196.75    78,196.75    78,196.75 4180 - Consulting   CDI41_COVID19          02/2021   8
CytoDyn, Inc.   198697   CDI33_Emergency IND      1/13/2021   2/12/2021   125,627.00   125,627.00   125,627.00 4180 - Consulting   CDI33_Emergency IND 02/2021      8
CytoDyn, Inc.   198965   CDI30_Breast Cancer      1/25/2021   2/24/2021      107.96       107.96       107.96 4180 - Consulting    CDI30_Breast Cancer    02/2021   7
CytoDyn, Inc.   198966   CDI37_Comp TNBC          1/25/2021   2/24/2021      567.25       567.25       567.25 4180 - Consulting    CDI37_Comp TNBC        02/2021   7
CytoDyn, Inc.   198967   CDI39-COVID19            1/25/2021   2/24/2021     1,692.43     1,692.43     1,692.43 4180 - Consulting   CDI39-COVID19          02/2021   7
CytoDyn, Inc.   198968   CDI41_COVID19            1/25/2021   2/24/2021     1,336.75     1,336.75     1,336.75 4180 - Consulting   CDI41_COVID19          02/2021   7
CytoDyn, Inc.   198969   CDI45_COVID              1/25/2021   2/24/2021        88.78        88.78       88.78 4180 - Consulting    CDI45_COVID            02/2021   7
CytoDyn, Inc.   199221   CDI41_COVID 19           2/1/2021    3/3/2021    405,505.18   405,505.18   405,505.18 4180 - Consulting   CDI41_COVID 19         03/2021   7
CytoDyn, Inc.   199222   CDI39_COVID19            2/1/2021    3/3/2021     56,358.78    56,358.78    56,358.78 4180 - Consulting   CDI39_COVID19          03/2021   7
CytoDyn, Inc.   199223   CDI38_Basket             2/1/2021    3/3/2021      3,213.20     3,213.20     3,213.20 4180 - Consulting   CDI38_Basket           03/2021   7
CytoDyn, Inc.   199224   CDI37_Comp TNBC          2/1/2021    3/3/2021     28,243.35    28,243.35    28,243.35 4180 - Consulting   CDI37_Comp TNBC        03/2021   7
CytoDyn, Inc.   199225   CDI34_Nash               2/1/2021    3/3/2021      6,342.98     4,361.98     4,361.98 4180 - Consulting   CDI34_Nash             03/2021   7
CytoDyn, Inc.   199226   CDI33_Emergency IND      2/1/2021    3/3/2021    133,652.40   133,652.40   133,652.40 4180 - Consulting   CDI33_Emergency IND 03/2021      7
CytoDyn, Inc.   199227   CDI30_Breast Cancer      2/1/2021    3/3/2021     44,267.08    44,267.08    44,267.08 4180 - Consulting   CDI30_Breast Cancer    03/2021   7
CytoDyn, Inc.   199268   CDI29_CDI02              2/2/2021    3/4/2021     32,904.65    32,904.65    32,904.65 4180 - Consulting   CDI29_CDI02            03/2021   7
CytoDyn, Inc.   199270   CDI28_mono ext           2/2/2021    3/4/2021     31,414.99    31,414.99    31,414.99 4180 - Consulting   CDI28_mono ext         03/2021   7
CytoDyn, Inc.   199272   CDI25_BLA                2/2/2021    3/4/2021    257,962.10   257,962.10   257,962.10 4180 - Consulting   CDI25_BLA              03/2021   7
CytoDyn, Inc.   199273   CDI24_AllCompassionate   2/2/2021    3/4/2021     23,063.82    23,063.82    23,063.82 4180 - Consulting   CDI24_AllCompassionate 03/2021   7
CytoDyn, Inc.   199274   CDI18_MonoTherapy        2/2/2021    3/4/2021    100,797.71   100,797.71   100,797.71 4180 - Consulting   CDI18_MonoTherapy      03/2021   7
CytoDyn, Inc.   199275   CDI16_GVHD2              2/2/2021    3/4/2021     25,350.42    25,350.42    25,350.42 4180 - Consulting   CDI16_GVHD2            03/2021   7
CytoDyn, Inc.   199276   CDI14_Phase 3            2/2/2021    3/4/2021      9,844.95     9,844.95     9,844.95 4180 - Consulting   CDI14_Phase 3          03/2021   7
CytoDyn, Inc.   199277   CDI09_Extension          2/2/2021    3/4/2021     25,980.72    25,980.72    25,980.72 4180 - Consulting   CDI09_Extension        03/2021   7
CytoDyn, Inc.   199278   CDI02_IB                 2/2/2021    3/4/2021     81,162.00    81,162.00    81,162.00 4180 - Consulting   CDI02_IB               03/2021   7
CytoDyn, Inc.   199461   CDI30_Breast Cancer      2/9/2021    3/11/2021     4,137.00     4,137.00     4,137.00 4180 - Consulting   CDI30_Breast Cancer    03/2021   7
CytoDyn, Inc.   199462   CDI30_Breast Cancer      2/9/2021    3/11/2021     1,957.00     1,957.00     1,957.00 4180 - Consulting   CDI30_Breast Cancer    03/2021   7
CytoDyn, Inc.   199463   CDI37_Comp TNBC          2/9/2021    3/11/2021     5,451.00     5,451.00     5,451.00 4180 - Consulting   CDI37_Comp TNBC        03/2021   7
CytoDyn, Inc.   199516   CDI38_Basket             2/11/2021   3/13/2021     1,937.00     1,937.00     1,937.00 4180 - Consulting   CDI38_Basket           03/2021   7
CytoDyn, Inc.   199577   CDI41_COVID19            2/15/2021   3/17/2021     4,811.00     4,811.00     4,811.00 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199585   CDI41_COVID19            2/15/2021   3/17/2021     9,701.00     9,701.00     9,701.00 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199586   CDI41_COVID19            2/15/2021   3/17/2021     8,946.00     8,946.00     8,946.00 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199587   CDI41_COVID19            2/15/2021   3/17/2021     2,501.00     2,501.00     2,501.00 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199589   CDI41_COVID19            2/15/2021   3/17/2021     5,859.90     5,859.90     5,859.90 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199591   CDI41_COVID19            2/15/2021   3/17/2021     5,505.70     5,505.70     5,505.70 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199594   CDI41_COVID19            2/15/2021   3/17/2021    10,690.00    10,690.00    10,690.00 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199616   CDI24_AllCompassionate   2/16/2021   3/18/2021    15,088.00    15,088.00    15,088.00 4180 - Consulting   CDI24_AllCompassionate 03/2021   7
CytoDyn, Inc.   199617   CDI28_mono ext           2/16/2021   3/18/2021     5,281.00     5,281.00     5,281.00 4180 - Consulting   CDI28_mono ext         03/2021   7
CytoDyn, Inc.   199621   CDI09_Extension          2/16/2021   3/18/2021     1,564.00     1,564.00     1,564.00 4180 - Consulting   CDI09_Extension        03/2021   7
CytoDyn, Inc.   199622   CDI18_MonoTherapy        2/16/2021   3/18/2021      325.00       325.00       325.00 4180 - Consulting    CDI18_MonoTherapy      03/2021   7
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CytoDyn, Inc.   199623   CDI29_CDI02              2/16/2021   3/18/2021      325.00       325.00       325.00 4180 - Consulting    CDI29_CDI02            03/2021   7
CytoDyn, Inc.   199704   CDI30_Breast Cancer      2/18/2021   3/20/2021     1,200.00     1,200.00     1,200.00 4180 - Consulting   CDI30_Breast Cancer    03/2021   7
CytoDyn, Inc.   199705   CDI30_Breast Cancer      2/18/2021   3/20/2021      600.00       600.00       600.00 4180 - Consulting    CDI30_Breast Cancer    03/2021   7
CytoDyn, Inc.   199722   CDI41_COVID19            2/19/2021   3/21/2021     7,110.50     7,110.50     7,110.50 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199723   CDI41_COVID19            2/19/2021   3/21/2021     2,795.00     2,795.00     2,795.00 4180 - Consulting   CDI41_COVID19          03/2021   7
CytoDyn, Inc.   199876   CDI24_AllCompassionate   2/23/2021   3/25/2021     1,110.00     1,110.00     1,110.00 4180 - Consulting   CDI24_AllCompassionate 03/2021   6
CytoDyn, Inc.   200032   CDI18_MonoTherapy        2/25/2021   3/27/2021      324.45       324.45       324.45 4180 - Consulting    CDI18_MonoTherapy      03/2021   6
CytoDyn, Inc.   200079   CDI41_COVID 19           2/26/2021   3/28/2021     4,275.14     4,275.14     4,275.14 4180 - Consulting   CDI41_COVID 19         03/2021   6
CytoDyn, Inc.   200090   CDI39-COVID19            2/26/2021   3/28/2021      607.00       607.00       607.00 4180 - Consulting    CDI39-COVID19          03/2021   6
CytoDyn, Inc.   200091   CDI41_COVID19            2/26/2021   3/28/2021      740.00       740.00       740.00 4180 - Consulting    CDI41_COVID19          03/2021   6
CytoDyn, Inc.   200099   CDI18_MonoTherapy        2/26/2021   3/28/2021      475.00       475.00       475.00 4180 - Consulting    CDI18_MonoTherapy      03/2021   6
CytoDyn, Inc.   200101   CDI29_CDI02              2/26/2021   3/28/2021     1,745.00     1,745.00     1,745.00 4180 - Consulting   CDI29_CDI02            03/2021   6
CytoDyn, Inc.   200225   CDI41_COVID 19           3/1/2021    3/31/2021   913,416.73   913,416.73   913,416.73 4180 - Consulting   CDI41_COVID 19         03/2021   6
CytoDyn, Inc.   200228   CDI39_COVID19            3/1/2021    3/31/2021    25,882.04    25,882.04    25,882.04 4180 - Consulting   CDI39_COVID19          03/2021   6
CytoDyn, Inc.   200230   CDI38_Basket             3/1/2021    3/31/2021     5,411.83     5,411.83     5,411.83 4180 - Consulting   CDI38_Basket           03/2021   6
CytoDyn, Inc.   200238   CDI37_Comp TNBC          3/1/2021    3/31/2021    26,381.24    26,381.24    26,381.24 4180 - Consulting   CDI37_Comp TNBC        03/2021   6
CytoDyn, Inc.   200246   CDI33_Emergency IND      3/1/2021    3/31/2021    86,966.80    86,966.80    86,966.80 4180 - Consulting   CDI33_Emergency IND 03/2021      6
CytoDyn, Inc.   200258   CDI30_Breast Cancer      3/1/2021    3/31/2021    43,957.90    43,957.90    43,957.90 4180 - Consulting   CDI30_Breast Cancer    03/2021   6
CytoDyn, Inc.   200264   CDI29_CDI02              3/1/2021    3/31/2021    32,904.65    32,904.65    32,904.65 4180 - Consulting   CDI29_CDI02            03/2021   6
CytoDyn, Inc.   200265   CDI28_mono ext           3/1/2021    3/31/2021    28,502.37    28,502.37    28,502.37 4180 - Consulting   CDI28_mono ext         03/2021   6
CytoDyn, Inc.   200273   CDI25_BLA                3/1/2021    3/31/2021   106,886.00   106,886.00   106,886.00 4180 - Consulting   CDI25_BLA              03/2021   6
CytoDyn, Inc.   200275   CDI24_AllCompassionate   3/1/2021    3/31/2021    22,748.98    22,748.98    22,748.98 4180 - Consulting   CDI24_AllCompassionate 03/2021   6
CytoDyn, Inc.   200276   CDI18_MonoTherapy        3/1/2021    3/31/2021    68,765.94    68,765.94    68,765.94 4180 - Consulting   CDI18_MonoTherapy      03/2021   6
CytoDyn, Inc.   200277   CDI16_GVHD2              3/1/2021    3/31/2021    25,350.42    25,350.42    25,350.42 4180 - Consulting   CDI16_GVHD2            03/2021   6
CytoDyn, Inc.   200278   CDI14_Phase 3            3/1/2021    3/31/2021     2,549.95     2,549.95     2,549.95 4180 - Consulting   CDI14_Phase 3          03/2021   6
CytoDyn, Inc.   200279   CDI09_Extension          3/1/2021    3/31/2021    24,874.07    24,874.07    24,874.07 4180 - Consulting   CDI09_Extension        03/2021   6
CytoDyn, Inc.   200280   CDI02_IB                 3/1/2021    3/31/2021    99,834.00    99,834.00    99,834.00 4180 - Consulting   CDI02_IB               03/2021   6
CytoDyn, Inc.   200320   CDI29_CDI02              3/3/2021    4/2/2021       560.00       560.00       560.00 4180 - Consulting    CDI29_CDI02            04/2021   6
CytoDyn, Inc.   200359   CDI41_COVID19            3/4/2021    4/3/2021       703.00       703.00       703.00 4180 - Consulting    CDI41_COVID19          04/2021   6
CytoDyn, Inc.   200491   CDI24_AllCompassionate   3/12/2021   4/11/2021      470.00       470.00       470.00 4180 - Consulting    CDI24_AllCompassionate 04/2021   6
CytoDyn, Inc.   200494   CDI41_COVID19            3/12/2021   4/11/2021      280.00       280.00       280.00 4180 - Consulting    CDI41_COVID19          04/2021   6
CytoDyn, Inc.   200830   CDI45 Covid Approval     3/23/2021   4/22/2021    86,980.00    86,980.00    86,980.00 4180 - Consulting   CDI45 Covid Approval   04/2021   6
CytoDyn, Inc.   200937   CDI29_CDI02              3/26/2021   4/25/2021    12,920.00    12,920.00    12,920.00 4180 - Consulting   CDI29_CDI02            04/2021   5
CytoDyn, Inc.   201011   CDI29_CDI02              3/30/2021   4/29/2021      280.00       280.00       280.00 4180 - Consulting    CDI29_CDI02            04/2021   5
CytoDyn, Inc.   201141   CDI41_COVID19            4/1/2021    5/1/2021       440.00       440.00       440.00 4180 - Consulting    CDI41_COVID19          05/2021   5
CytoDyn, Inc.   201276   CDI39_COVID19            4/5/2021    5/5/2021     53,120.98    53,120.98    53,120.98 4180 - Consulting   CDI39_COVID19          05/2021   5
CytoDyn, Inc.   201278   CDI38_Basket             4/5/2021    5/5/2021      1,309.40     1,309.40     1,309.40 4180 - Consulting   CDI38_Basket           05/2021   5
CytoDyn, Inc.   201285   CDI37_Comp TNBC          4/5/2021    5/5/2021     34,276.72    34,276.72    34,276.72 4180 - Consulting   CDI37_Comp TNBC        05/2021   5
CytoDyn, Inc.   201293   CDI33_Emergency IND      4/5/2021    5/5/2021     85,469.10    85,469.10    85,469.10 4180 - Consulting   CDI33_Emergency IND 05/2021      5
CytoDyn, Inc.   201294   CDI30_Breast Cancer      4/5/2021    5/5/2021     44,323.36    44,323.36    44,323.36 4180 - Consulting   CDI30_Breast Cancer    05/2021   5
CytoDyn, Inc.   201309   CDI29_CDI02              4/6/2021    5/6/2021     33,003.65    33,003.65    33,003.65 4180 - Consulting   CDI29_CDI02            05/2021   5
CytoDyn, Inc.   201310   CDI28_mono ext           4/6/2021    5/6/2021     37,497.55    37,497.55    37,497.55 4180 - Consulting   CDI28_mono ext         05/2021   5
CytoDyn, Inc.   201314   CDI25_BLA                4/6/2021    5/6/2021    207,411.00   207,411.00   207,411.00 4180 - Consulting   CDI25_BLA              05/2021   5
CytoDyn, Inc.   201319   CDI24_AllCompassionate   4/6/2021    5/6/2021     32,762.02    32,762.02    32,762.02 4180 - Consulting   CDI24_AllCompassionate 05/2021   5
CytoDyn, Inc.   201320   CDI18_MonoTherapy        4/6/2021    5/6/2021     72,442.70    72,442.70    72,442.70 4180 - Consulting   CDI18_MonoTherapy      05/2021   5
CytoDyn, Inc.   201321   CDI16_GVHD2 Amendment 4/6/2021       5/6/2021     25,350.42    25,350.42    25,350.42 4180 - Consulting   CDI16_GVHD2 Amendme05/2021       5
CytoDyn, Inc.   201322   CDI14_Phase 3            4/6/2021    5/6/2021      2,549.95     2,549.95     2,549.95 4180 - Consulting   CDI14_Phase 3          05/2021   5
CytoDyn, Inc.   201323   CDI09_Extension          4/6/2021    5/6/2021     30,735.43    30,735.43    30,735.43 4180 - Consulting   CDI09_Extension        05/2021   5
CytoDyn, Inc.   201324   CDI41_COVID19            4/6/2021    5/6/2021     18,440.00    18,440.00    18,440.00 4180 - Consulting   CDI41_COVID19          05/2021   5
CytoDyn, Inc.   201325   CDI02_IB                 4/6/2021    5/6/2021    125,378.00   125,378.00   125,378.00 4180 - Consulting   CDI02_IB               05/2021   5
CytoDyn, Inc.   201422   CDI41_COVID 19           4/9/2021    5/9/2021    769,098.24   769,098.24   769,098.24 4180 - Consulting   CDI41_COVID 19         05/2021   5
CytoDyn, Inc.   201700   CDI45 Covid Approval     4/21/2021   5/21/2021    41,440.00    41,440.00    41,440.00 4180 - Consulting   CDI45 Covid Approval   05/2021   5
CytoDyn, Inc.   201749   CDI09_Extension          4/26/2021   5/26/2021      805.00       805.00       805.00 4180 - Consulting    CDI09_Extension        05/2021   4
CytoDyn, Inc.   201758   CDI24_AllCompassionate   4/26/2021   5/26/2021     5,635.00     5,635.00     5,635.00 4180 - Consulting   CDI24_AllCompassionate 05/2021   4
CytoDyn, Inc.   201789   CDI14_Phase 3            4/28/2021   5/28/2021      145.30       145.30       145.30 4180 - Consulting    CDI14_Phase 3          05/2021   4
CytoDyn, Inc.   201790   CDI41_COVID 19           4/28/2021   5/28/2021     1,288.45     1,288.45     1,288.45 4180 - Consulting   CDI41_COVID 19         05/2021   4
CytoDyn, Inc.   201793   CDI45 Covid Approval     4/28/2021   5/28/2021      189.98       189.98       189.98 4180 - Consulting    CDI45 Covid Approval   05/2021   4
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CytoDyn, Inc.   201816   CDI28_mono ext           4/29/2021   5/29/2021     1,610.00     1,610.00     1,610.00 4180 - Consulting   CDI28_mono ext         05/2021   4
CytoDyn, Inc.   201817   CDI09_Extension          4/29/2021   5/29/2021      280.00       280.00       280.00 4180 - Consulting    CDI09_Extension        05/2021   4
CytoDyn, Inc.   202032   CDI41_COVID 19           5/5/2021    6/4/2021    539,079.78   539,079.78   539,079.78 4180 - Consulting   CDI41_COVID 19         06/2021   4
CytoDyn, Inc.   202059   CDI39_COVID19            5/6/2021    6/5/2021     52,516.48    52,516.48    52,516.48 4180 - Consulting   CDI39_COVID19          06/2021   4
CytoDyn, Inc.   202061   CDI38_Basket             5/6/2021    6/5/2021     15,252.78    15,252.78                             15,252.78 4180 - Consulting          CDI38_Basket           06/2021   4
CytoDyn, Inc.   202062   CDI37_Comp TNBC          5/6/2021    6/5/2021     26,103.74    26,103.74                             26,103.74 4180 - Consulting          CDI37_Comp TNBC        06/2021   4
CytoDyn, Inc.   202064   CDI33_Emergency IND      5/6/2021    6/5/2021     32,397.40    32,397.40                              32,397.40 4180 - Consulting         CDI33_Emergency IND 06/2021      4
CytoDyn, Inc.   202065   CDI30_Breast Cancer      5/6/2021    6/5/2021     38,366.43    38,366.43                              38,366.43 4180 - Consulting         CDI30_Breast Cancer    06/2021   4
CytoDyn, Inc.   202066   CDI25_BLA                5/6/2021    6/5/2021    174,897.83   174,897.83                             174,897.83 4180 - Consulting         CDI25_BLA              06/2021   4
CytoDyn, Inc.   202067   CDI29_CDI02              5/6/2021    6/5/2021     33,003.65    33,003.65                              33,003.65 4180 - Consulting         CDI29_CDI02            06/2021   4
CytoDyn, Inc.   202068   CDI28_mono ext           5/6/2021    6/5/2021     28,567.14    28,567.14                              28,567.14 4180 - Consulting         CDI28_mono ext         06/2021   4
CytoDyn, Inc.   202069   CDI24_AllCompassionate   5/6/2021    6/5/2021     20,530.46    20,530.46                              20,530.46 4180 - Consulting         CDI24_AllCompassionate 06/2021   4
CytoDyn, Inc.   202070   CDI18_MonoTherapy        5/6/2021    6/5/2021     63,577.67    63,577.67                              63,577.67 4180 - Consulting         CDI18_MonoTherapy      06/2021   4
CytoDyn, Inc.   202071   CDI16_GVHD2              5/6/2021    6/5/2021     25,051.42    25,051.42                              25,051.42 4180 - Consulting         CDI16_GVHD2            06/2021   4
CytoDyn, Inc.   202072   CDI14_Phase 3            5/6/2021    6/5/2021      2,549.95     2,549.95                               2,549.95 4180 - Consulting         CDI14_Phase 3          06/2021   4
CytoDyn, Inc.   202073   CDI09_Extension          5/6/2021    6/5/2021     24,940.05    24,940.05                              24,940.05 4180 - Consulting         CDI09_Extension        06/2021   4
CytoDyn, Inc.   202075   CDI02_IB                 5/6/2021    6/5/2021     45,338.00    45,338.00                              45,338.00 4180 - Consulting         CDI02_IB               06/2021   4
CytoDyn, Inc.   202226   CDI28_mono ext           5/14/2021   6/13/2021     1,250.00     1,250.00                  1,250.00              1223 - Passthrough        CDI28_mono ext         06/2021   4
CytoDyn, Inc.   202328   CDI28_mono ext           5/21/2021   6/20/2021      607.00       607.00                    607.00               1223 - Passthrough        CDI28_mono ext         06/2021   4
CytoDyn, Inc.   202419   CDI24_AllCompassionate   5/26/2021   6/25/2021      270.00       270.00                    270.00               1223 - Passthrough        CDI24_AllCompassionate 06/2021   3
CytoDyn, Inc.   202490   CDI16_GVHD2              5/28/2021   6/27/2021      250.00       250.00                    250.00               4455 - Services           CDI16_GVHD2            06/2021   3
CytoDyn, Inc.   202491   CDI18_MonoTherapy        5/28/2021   6/27/2021      172.30       172.30                    172.30               4455 - Services           CDI18_MonoTherapy      06/2021   3
CytoDyn, Inc.   202492   CDI24_AllCompassionate   5/28/2021   6/27/2021      176.05       176.05                    176.05               4455 - Services           CDI24_AllCompassionate 06/2021   3
CytoDyn, Inc.   202494   CDI39_COVID19            5/28/2021   6/27/2021     1,614.81     1,614.81                  1,614.81              4455 - Services           CDI39_COVID19          06/2021   3
CytoDyn, Inc.   202495   CDI41_COVID 19           5/28/2021   6/27/2021     1,236.55     1,236.55                  1,236.55              4455 - Services           CDI41_COVID 19         06/2021   3
CytoDyn, Inc.   202692   CDI29_CD02 Open Label    6/2/2021    7/2/2021     33,003.65    33,003.65                 33,003.65              4180 - Consulting         CDI29_CD02 Open Label 07/2021    3
CytoDyn, Inc.   202696   CDI45 Covid Approval     6/2/2021    7/2/2021     58,320.00    58,320.00                 58,320.00              4180 - Consulting         CDI45 Covid Approval   07/2021   3
CytoDyn, Inc.   202697   CDI41_COVID 19           6/2/2021    7/2/2021    301,451.54   301,451.54                301,451.54              4180 - Consulting         CDI41_COVID 19         07/2021   3
CytoDyn, Inc.   202701   CDI39_COVID19            6/2/2021    7/2/2021     53,120.98    53,120.98                 53,120.98              4180 - Consulting         CDI39_COVID19          07/2021   3
CytoDyn, Inc.   202709   CDI38_Basket             6/2/2021    7/2/2021      6,916.53     6,916.53                  6,916.53              2600 - Deferred Revenue CDI38_Basket             07/2021   3
CytoDyn, Inc.   202710   CDI37_Comp TNBC          6/2/2021    7/2/2021     22,450.95    22,450.95                 22,450.95              4180 - Consulting         CDI37_Comp TNBC        07/2021   3
CytoDyn, Inc.   202712   CDI33_Emergency IND      6/2/2021    7/2/2021     22,275.40    22,275.40                 22,275.40              4180 - Consulting         CDI33_Emergency IND 07/2021      3
CytoDyn, Inc.   202713   CDI30_Breast Cancer      6/2/2021    7/2/2021     36,217.20    36,217.20                 36,217.20              4180 - Consulting         CDI30_Breast Cancer    07/2021   3
CytoDyn, Inc.   202714   CDI28_mono ext           6/2/2021    7/2/2021     28,761.45    28,761.45                 28,761.45              4180 - Consulting         CDI28_mono ext         07/2021   3
CytoDyn, Inc.   202715   CDI25_BLA                6/2/2021    7/2/2021     12,928.00    12,928.00                 12,928.00              4180 - Consulting         CDI25_BLA              07/2021   3
CytoDyn, Inc.   202716   CDI24_AllCompassionate   6/2/2021    7/2/2021     21,679.66    21,679.66                 21,679.66              4180 - Consulting         CDI24_AllCompassionate 07/2021   3
CytoDyn, Inc.   202717   CDI18_MonoTherapy        6/2/2021    7/2/2021     67,339.15    67,339.15                 67,339.15              4180 - Consulting         CDI18_MonoTherapy      07/2021   3
CytoDyn, Inc.   202718   CDI16_GVHD2              6/2/2021    7/2/2021     24,139.22    24,139.22                 24,139.22              4180 - Consulting         CDI16_GVHD2            07/2021   3
CytoDyn, Inc.   202719   CDI14_Phase 3            6/2/2021    7/2/2021      7,073.85     7,073.85                  7,073.85              4180 - Consulting         CDI14_Phase 3          07/2021   3
CytoDyn, Inc.   202720   CDI09_Extension          6/2/2021    7/2/2021     23,238.70    23,238.70                 23,238.70              4180 - Consulting         CDI09_Extension        07/2021   3
CytoDyn, Inc.   202721   CDI02_IB                 6/2/2021    7/2/2021     42,754.00    42,754.00                 42,754.00              4180 - Consulting         CDI02_IB               07/2021   3
CytoDyn, Inc.   202728   CDI28_mono ext           6/3/2021    7/3/2021       607.00       607.00                    607.00               1223 - Passthrough        CDI28_mono ext         07/2021   3
CytoDyn, Inc.   202895   CDI34_Nash               6/15/2021   7/15/2021      607.00       607.00       607.00                            1223 - Passthrough        CDI34_Nash             07/2021   3
CytoDyn, Inc.   203032   CDI41_COVID 19           6/28/2021   7/28/2021      391.10       391.10       391.10                            4455 - Travel ReimbursemeCDI41_COVID 19          07/2021   2
CytoDyn, Inc.   203052   CDI39-COVID19            6/28/2021   7/28/2021      635.00       635.00       635.00                            1223 - Passthrough        CDI39-COVID19          07/2021   2
CytoDyn, Inc.   203054   CDI28_mono ext           6/28/2021   7/28/2021     1,110.00     1,110.00     1,110.00                           1223 - Passthrough        CDI28_mono ext         07/2021   2
CytoDyn, Inc.   203055   CDI09_Extension          6/28/2021   7/28/2021      475.00       475.00       475.00                            1223 - Passthrough        CDI09_Extension        07/2021   2
CytoDyn, Inc.   203056   CDI18_MonoTherapy        6/28/2021   7/28/2021    11,250.00    11,250.00    11,250.00                           1223 - Passthrough        CDI18_MonoTherapy      07/2021   2
CytoDyn, Inc.   203057   CDI24_AllCompassionate   6/28/2021   7/28/2021      635.00       635.00       635.00                            1223 - Passthrough        CDI24_AllCompassionate 07/2021   2
CytoDyn, Inc.   203058   CDI29_CD02 Open Label    6/28/2021   7/28/2021      280.00       280.00       280.00                            1223 - Passthrough        CDI29_CD02 Open Label 07/2021    2
CytoDyn, Inc.   203059   CDI38_Basket             6/28/2021   7/28/2021     4,246.00     4,246.00     4,246.00                           1223 - Passthrough        CDI38_Basket           07/2021   2
CytoDyn, Inc.   203060   CDI44 Long Hauler        6/28/2021   7/28/2021     5,208.00     5,208.00     5,208.00                           1223 - Passthrough        CDI44 Long Hauler      07/2021   2
CytoDyn, Inc.   203066   CDI30_Breast Cancer      6/29/2021   7/29/2021     6,467.00     6,467.00     6,467.00                           1223 - Passthrough        CDI30_Breast Cancer    07/2021   2
CytoDyn, Inc.   203067   CDI41_COVID19            6/29/2021   7/29/2021     4,655.00     4,655.00     4,655.00                           1223 - Passthrough        CDI41_COVID19          07/2021   2
CytoDyn, Inc.   203068   CDI41_COVID19            6/29/2021   7/29/2021     7,778.00     7,778.00     7,778.00                           1223 - Passthrough        CDI41_COVID19          07/2021   2
CytoDyn, Inc.   203072   CDI44 Long Hauler        6/29/2021   7/29/2021      750.00       750.00       750.00                            1223 - Passthrough        CDI44 Long Hauler      07/2021   2
CytoDyn, Inc.   203173   CDI34_Nash               7/1/2021    7/31/2021     2,461.00     2,461.00     2,461.00                           1223 - Amarex Net PassthroCDI34_Nash             07/2021   2
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CytoDyn, Inc.   203180   CDI34_Nash               7/1/2021    7/31/2021     5,030.00     5,030.00     5,030.00                           1223 - Amarex Net PassthroCDI34_Nash             07/2021   2
CytoDyn, Inc.   203230   CDI41_COVID 19           7/4/2021    8/3/2021    343,301.13   343,301.13   343,301.13                           4180 - Consulting         CDI41_COVID 19         08/2021   2
CytoDyn, Inc.   203231   CDI39_COVID19            7/4/2021    8/3/2021     53,249.98    53,249.98    53,249.98                           4180 - Consulting         CDI39_COVID19          08/2021   2
CytoDyn, Inc.   203232   CDI38_Basket             7/4/2021    8/3/2021      6,397.69     6,397.69     6,397.69                           2600 - Deferred Revenue CDI38_Basket             08/2021   2
CytoDyn, Inc.   203233   CDI37_Comp TNBC          7/4/2021    8/3/2021       508.51       508.51                                508.51    2600 - Deferred Revenue CDI37_Comp TNBC          08/2021   2
CytoDyn, Inc.   203234   CDI34_Nash               7/4/2021    8/3/2021     54,615.88    54,615.88                             54,615.88   2600 - Deferred Revenue CDI34_Nash               08/2021   2
CytoDyn, Inc.   203235   CDI30_Breast Cancer      7/4/2021    8/3/2021     65,426.74    65,426.74                             65,426.74   4180 - Consulting         CDI30_Breast Cancer    08/2021   2
CytoDyn, Inc.   203236   CDI29_CD02 Open Label    7/4/2021    8/3/2021     48,381.75    48,381.75                             48,381.75   4180 - Consulting         CDI29_CD02 Open Label 08/2021    2
CytoDyn, Inc.   203237   CDI28_mono ext           7/4/2021    8/3/2021     32,986.68    32,986.68                             32,986.68   4180 - Consulting         CDI28_mono ext         08/2021   2
CytoDyn, Inc.   203238   CDI25_BLA                7/5/2021    8/4/2021     33,680.00    33,680.00                             33,680.00   4180 - Consulting         CDI25_BLA              08/2021   2
CytoDyn, Inc.   203239   CDI24_AllCompassionate   7/5/2021    8/4/2021     20,478.92    20,478.92                             20,478.92   4180 - Consulting         CDI24_AllCompassionate 08/2021   2
CytoDyn, Inc.   203287   CDI18_Monotherapy        7/6/2021    8/5/2021     91,516.00    91,516.00                             91,516.00   4180 - Consulting         CDI18_Monotherapy      08/2021   2
CytoDyn, Inc.   203288   CDI16_GVHD2              7/6/2021    8/5/2021     26,675.72    26,675.72                             26,675.72   4180 - Consulting         CDI16_GVHD2            08/2021   2
CytoDyn, Inc.   203289   CDI14_Phase 3            7/6/2021    8/5/2021      2,549.95     2,549.95                              2,549.95   4180 - Consulting         CDI14_Phase 3          08/2021   2
CytoDyn, Inc.   203290   CDI09_Extension          7/6/2021    8/5/2021     26,751.68    26,751.68                             26,751.68   4180 - Consulting         CDI09_Extension        08/2021   2
CytoDyn, Inc.   203292   CDI02_IB                 7/6/2021    8/5/2021     53,872.00    53,872.00                             53,872.00   4180 - Consulting         CDI02_IB               08/2021   2
CytoDyn, Inc.   203305   CDI34_Nash               7/7/2021    8/6/2021       607.00       607.00                                607.00    1223 - Amarex Net PassthroCDI34_Nash             08/2021   2
CytoDyn, Inc.   203310   CDI34_Nash               7/7/2021    8/6/2021      1,821.00     1,821.00                              1,821.00   1223 - Amarex Net PassthroCDI34_Nash             08/2021   2
CytoDyn, Inc.   203317   CDI44 Long Hauler        7/8/2021    8/7/2021      2,249.00     2,249.00                              2,249.00   1223 - Amarex Net PassthroCDI44 Long Hauler      08/2021   2
CytoDyn, Inc.   203333   CDI30_Breast Cancer      7/10/2021   8/9/2021       876.00       876.00                                876.00    1223 - Amarex Net PassthroCDI30_Breast Cancer    08/2021   2
CytoDyn, Inc.   203334   CDI28_mono ext           7/10/2021   8/9/2021      1,431.68     1,431.68                              1,431.68   1223 - Amarex Net PassthroCDI28_mono ext         08/2021   2
CytoDyn, Inc.   203462   CDI02_IB                 7/14/2021   8/13/2021     7,730.00     7,730.00                  7,730.00               4180 - Consulting         CDI02_IB               08/2021   2
CytoDyn, Inc.   203553   CDI34_Nash               7/16/2021   8/15/2021     7,047.00     7,047.00                  7,047.00               1223 - Amarex Net PassthroCDI34_Nash             08/2021   2
CytoDyn, Inc.   203636   CDI33_Emergency_IND      7/19/2021   8/18/2021      425.00       425.00                    425.00                1223 - Amarex Net PassthroCDI33_Emergency_IND 08/2021      2
CytoDyn, Inc.   203849   CDI28_mono ext           7/27/2021   8/26/2021     3,750.00     3,750.00                  3,750.00               1223 - Amarex Net PassthroCDI28_mono ext         08/2021   1
CytoDyn, Inc.   203851   CDI18_MonoTherapy        7/27/2021   8/26/2021     4,011.34     4,011.34                  4,011.34               4455 - Travel ReimbursemeCDI18_MonoTherapy       08/2021   1
CytoDyn, Inc.   203852   CDI29_CD02 Open Label    7/27/2021   8/26/2021      785.18       785.18                    785.18                4455 - Travel ReimbursemeCDI29_CD02 Open Label 08/2021     1
CytoDyn, Inc.   203853   CDI34_Nash               7/27/2021   8/26/2021     2,404.77     2,404.77                  2,404.77               4455 - Travel ReimbursemeCDI34_Nash              08/2021   1
CytoDyn, Inc.   203854   CDI37_Comp TNBC          7/27/2021   8/26/2021     1,738.47     1,738.47                  1,738.47               4455 - Travel ReimbursemeCDI37_Comp TNBC         08/2021   1
CytoDyn, Inc.   204056   CDI44 Long Hauler        8/2/2021    9/1/2021    196,257.04    94,175.71                 94,175.71               4180 - Consulting         CDI44 Long Hauler      09/2021   1
CytoDyn, Inc.   204060   CDI41_COVID19            8/2/2021    9/1/2021    247,640.04   247,640.04                247,640.04               4180 - Consulting         CDI41_COVID19          09/2021   1
CytoDyn, Inc.   204066   CDI39_COVID19            8/2/2021    9/1/2021     52,631.93    52,631.93                 52,631.93               4180 - Consulting         CDI39_COVID19          09/2021   1
CytoDyn, Inc.   204070   CDI38_Basket             8/2/2021    9/1/2021     16,216.39    16,216.39                 16,216.39               4180 - Consulting         CDI38_Basket           09/2021   1
CytoDyn, Inc.   204071   CDI37_Comp TNBC          8/2/2021    9/1/2021      5,472.23     5,472.23                  5,472.23               4180 - Consulting         CDI37_Comp TNBC        09/2021   1
CytoDyn, Inc.   204072   CDI34_Nash               8/2/2021    9/1/2021     50,869.05    50,869.05                 50,869.05               4180 - Consulting         CDI34_Nash             09/2021   1
CytoDyn, Inc.   204073   CDI30_Breast Cancer      8/2/2021    9/1/2021     54,158.01    54,158.01                 54,158.01               4180 - Consulting         CDI30_Breast Cancer    09/2021   1
CytoDyn, Inc.   204074   CDI29_CD02 Open Label    8/2/2021    9/1/2021     38,547.70    38,547.70                 38,547.70               4180 - Consulting         CDI29_CD02 Open Label 09/2021    1
CytoDyn, Inc.   204075   CDI28_mono ext           8/2/2021    9/1/2021     48,256.83    48,256.83                 48,256.83               4180 - Consulting         CDI28_mono ext         09/2021   1
CytoDyn, Inc.   204076   CDI25_BLA                8/2/2021    9/1/2021     36,352.75    36,352.75                 36,352.75               4180 - Consulting         CDI25_BLA              09/2021   1
CytoDyn, Inc.   204077   CDI24_AllCompassionate   8/2/2021    9/1/2021     22,682.50    22,682.50                 22,682.50               4180 - Consulting         CDI24_AllCompassionate 09/2021   1
CytoDyn, Inc.   204138   CDI18_Monotherapy        8/3/2021    9/2/2021     78,889.03    78,889.03                 78,889.03               4180 - Consulting         CDI18_Monotherapy      09/2021   1
CytoDyn, Inc.   204139   CDI16_GVHD2              8/3/2021    9/2/2021     13,083.12    13,083.12                 13,083.12               4180 - Consulting         CDI16_GVHD2            09/2021   1
CytoDyn, Inc.   204140   CDI14_Phase 3            8/3/2021    9/2/2021      2,549.95     2,549.95                  2,549.95               4180 - Consulting         CDI14_Phase 3          09/2021   1
CytoDyn, Inc.   204141   CDI09_Extension          8/3/2021    9/2/2021     23,860.81    23,860.81                 23,860.81               4180 - Consulting         CDI09_Extension        09/2021   1
CytoDyn, Inc.   204142   CDI29_CD02 Open Label    8/3/2021    9/2/2021       280.00       280.00                    280.00                1223 - Passthrough        CDI29_CD02 Open Label 09/2021    1
CytoDyn, Inc.   204145   CDI02_IB                 8/3/2021    9/2/2021     39,674.00    39,674.00                 39,674.00               4180 - Consulting         CDI02_IB               09/2021   1
CytoDyn, Inc.   204491   CDI29_CD02 Open Label    8/23/2021   9/22/2021      280.00       280.00       280.00                             1223 - Passthrough        CDI29_CD02 Open Label 09/2021    1
CytoDyn, Inc.   204520   CDI29_CD02 Open Label    8/24/2021   9/23/2021      280.00       280.00       280.00                             1223 - Passthrough        CDI29_CD02 Open Label 09/2021    0
CytoDyn, Inc.   204580   CDI39-COVID19            8/26/2021   9/25/2021      280.00       280.00       280.00                             1223 - Passthrough        CDI39-COVID19          09/2021   0
CytoDyn, Inc.   204582   CDI18_MonoTherapy        8/26/2021   9/25/2021     9,045.63     9,045.63     9,045.63                            4455 - Travel ReimbursemeCDI18_MonoTherapy       09/2021   0
CytoDyn, Inc.   204583   CDI24_AllCompassionate   8/26/2021   9/25/2021     3,386.89     3,386.89     3,386.89                            4455 - Travel ReimbursemeCDI24_AllCompassionate 09/2021    0
CytoDyn, Inc.   204584   CDI34_Nash               8/26/2021   9/25/2021     7,219.63     7,219.63     7,219.63                            4455 - Travel ReimbursemeCDI34_Nash              09/2021   0
CytoDyn, Inc.   204585   CDI37_Comp TNBC          8/26/2021   9/25/2021     4,080.53     4,080.53     4,080.53                            4455 - Travel ReimbursemeCDI37_Comp TNBC         09/2021   0
CytoDyn, Inc.   204586   CDI39_COVID19            8/26/2021   9/25/2021     1,083.57     1,083.57     1,083.57                            4455 - Travel ReimbursemeCDI39_COVID19           09/2021   0
CytoDyn, Inc.   204587   CDI41_COVID 19           8/26/2021   9/25/2021     2,667.77     2,667.77     2,667.77                            4455 - Travel ReimbursemeCDI41_COVID 19          09/2021   0
CytoDyn, Inc.   204640   CDI41_COVID 19           8/30/2021   9/29/2021   202,093.92   202,093.92   202,093.92                            4180 - Consulting         CDI41_COVID 19         09/2021   0
CytoDyn, Inc.   204653   CDI39_COVID19            8/30/2021   9/29/2021    27,463.08    27,463.08    27,463.08                            4180 - Consulting         CDI39_COVID19          09/2021   0
                                                                                                                                                                                                         Case 8:21-cv-02533-PJM Document 27-1 Filed 10/26/21 Page 16 of 99




CytoDyn, Inc.   204654   CDI38_Basket             8/30/2021   9/29/2021    22,884.17    22,884.17    22,884.17                            4180 - Consulting         CDI38_Basket           09/2021   0
CytoDyn, Inc.   204675   CDI37_Comp TNBC          8/30/2021   9/29/2021     2,728.75     2,728.75     2,728.75                            4180 - Consulting         CDI37_Comp TNBC        09/2021   0
CytoDyn, Inc.   204679   CDI34_Nash               8/30/2021   9/29/2021    44,253.31    44,253.31    44,253.31                            4180 - Consulting         CDI34_Nash             09/2021   0
CytoDyn, Inc.   204693   CDI30_Breast Cancer      8/30/2021   9/29/2021    36,389.04    36,389.04    36,389.04                            4180 - Consulting         CDI30_Breast Cancer    09/2021   0
CytoDyn, Inc.   204694   CDI29_CD02 Open Label    8/30/2021   9/29/2021       40,019.75       40,019.75     40,019.75                                                       4180 - Consulting         CDI29_CD02 Open Label 09/2021    0
CytoDyn, Inc.   204695   CDI28_mono ext           8/30/2021   9/29/2021       47,444.52       47,444.52     47,444.52                                                       4180 - Consulting         CDI28_mono ext         09/2021   0
CytoDyn, Inc.   204696   CDI24_AllCompassionate   8/30/2021   9/29/2021       52,282.42       52,282.42     52,282.42                                                       4180 - Consulting         CDI24_AllCompassionate 09/2021   0
CytoDyn, Inc.   204697   CDI18_Monotherapy        8/30/2021   9/29/2021       90,069.36       90,069.36     90,069.36                                                       4180 - Consulting         CDI18_Monotherapy      09/2021   0
CytoDyn, Inc.   204698   CDI14_Phase 3            8/30/2021   9/29/2021         2,549.95       2,549.95      2,549.95                                                       4180 - Consulting         CDI14_Phase 3          09/2021   0
CytoDyn, Inc.   204699   CDI09_Extension          8/30/2021   9/29/2021       24,996.67       24,996.67     24,996.67                                                       4180 - Consulting         CDI09_Extension        09/2021   0
CytoDyn, Inc.   204715   CDI02_IB                 8/31/2021   9/30/2021         4,730.00       4,730.00      4,730.00                                                       4180 - Consulting         CDI02_IB               09/2021   0
CytoDyn, Inc.   204853   CDI45 Covid Approvals    9/1/2021    10/1/2021         5,542.50       5,542.50      5,542.50                                                       4180 - Consulting         CDI45 Covid Approvals 10/2021    0
CytoDyn, Inc.   205093   CDI34_Nash               9/7/2021    10/7/2021          280.00          280.00       280.00                                                        1223 - Passthrough        CDI34_Nash             10/2021   0
CytoDyn, Inc.   205316   CDI34_Nash               9/20/2021   10/20/2021        1,250.00       1,250.00      1,250.00                                                       1223 - Passthrough        CDI34_Nash             10/2021   0
CytoDyn, Inc.   205427   CDI14_Phase 3            9/28/2021   10/28/2021        1,163.76       1,163.76      1,163.76                                                       4455 - Travel ReimbursemeCDI14_Phase 3           10/2021   0
CytoDyn, Inc.   205428   CDI18_MonoTherapy        9/28/2021   10/28/2021        4,034.27       4,034.27      4,034.27                                                       4455 - Travel ReimbursemeCDI18_MonoTherapy       10/2021   0
CytoDyn, Inc.   205429   CDI24_AllCompassionate   9/28/2021   10/28/2021         850.14          850.14       850.14                                                        4455 - Travel ReimbursemeCDI24_AllCompassionate 10/2021    0
CytoDyn, Inc.   205430   CDI28_mono ext           9/28/2021   10/28/2021        1,506.15       1,506.15      1,506.15                                                       4455 - Travel ReimbursemeCDI28_mono ext          10/2021   0
CytoDyn, Inc.   205431   CDI29_CD02 Open Label    9/28/2021   10/28/2021        3,149.77       3,149.77      3,149.77                                                       4455 - Travel ReimbursemeCDI29_CD02 Open Label 10/2021     0
CytoDyn, Inc.   205432   CDI34_Nash               9/28/2021   10/28/2021        5,477.48       5,477.48      5,477.48                                                       4455 - Travel ReimbursemeCDI34_Nash              10/2021   0
CytoDyn, Inc.   205433   CDI38_Basket             9/28/2021   10/28/2021        3,506.13       3,506.13      3,506.13                                                       4455 - Travel ReimbursemeCDI38_Basket            10/2021   0
CytoDyn, Inc.   205434   CDI39_COVID19            9/28/2021   10/28/2021        1,262.66       1,262.66      1,262.66                                                       4455 - Travel ReimbursemeCDI39_COVID19           10/2021   0
CytoDyn, Inc.   205435   CDI41_COVID 19           9/28/2021   10/28/2021        1,513.38       1,513.38      1,513.38                                                       4180 - Consulting         CDI41_COVID 19         10/2021   0
CytoDyn, Inc.   205436   CDI44 Long Hauler        9/28/2021   10/28/2021        4,533.27       4,533.27      4,533.27                                                       4455 - Travel ReimbursemeCDI44 Long Hauler       10/2021   0
CytoDyn, Inc.   205538   CDI24_AllCompassionate   10/1/2021   10/31/2021      12,920.00       12,920.00     12,920.00                                                       1223 - Amarex Net PassthroCDI24_AllCompassionate 10/2021   0
CytoDyn, Inc.   205689   CDI44 Long Hauler        10/4/2021   11/3/2021       32,283.72       32,283.72     32,283.72                                                       4180 - Consulting         CDI44 Long Hauler      11/2021   0
CytoDyn, Inc.   205690   CDI41_COVID 19           10/4/2021   11/3/2021      280,863.66      280,863.66    280,863.66                                                       4180 - Consulting         CDI41_COVID 19         11/2021   0
CytoDyn, Inc.   205691   CDI39_COVID19            10/4/2021   11/3/2021       27,463.08       27,463.08     27,463.08                                                       4180 - Consulting         CDI39_COVID19          11/2021   0
CytoDyn, Inc.   205694   CDI34_Nash               10/4/2021   11/3/2021       37,179.15       37,179.15     37,179.15                                                       4180 - Consulting         CDI34_Nash             11/2021   0
CytoDyn, Inc.   205695   CDI38_Basket             10/4/2021   11/3/2021       14,106.17       14,106.17     14,106.17                                                       4180 - Consulting         CDI38_Basket           11/2021   0
CytoDyn, Inc.   205700   CDI37_Comp TNBC          10/5/2021   11/4/2021       15,065.10       15,065.10     15,065.10                                                       4180 - Consulting         CDI37_Comp TNBC        11/2021   0
CytoDyn, Inc.   205707   CDI30_Breast Cancer      10/5/2021   11/4/2021       13,093.89       13,093.89     13,093.89                                                       4180 - Consulting         CDI30_Breast Cancer    11/2021   0
CytoDyn, Inc.   205711   CDI29_CD02 Open Label    10/5/2021   11/4/2021       33,003.65       33,003.65     33,003.65                                                       4180 - Consulting         CDI29_CD02 Open Label 11/2021    0
CytoDyn, Inc.   205715   CDI28_mono ext           10/5/2021   11/4/2021       30,460.14       30,460.14     30,460.14                                                       4180 - Consulting         CDI28_mono ext         11/2021   0
CytoDyn, Inc.   205716   CDI24_AllCompassionate   10/5/2021   11/4/2021       42,420.92       42,420.92     42,420.92                                                       4180 - Consulting         CDI24_AllCompassionate 11/2021   0
CytoDyn, Inc.   205717   CDI18_Monotherapy        10/5/2021   11/4/2021      255,062.52      255,062.52    255,062.52                                                       4180 - Consulting         CDI18_Monotherapy      11/2021   0
CytoDyn, Inc.   205719   CDI16_GVHD2              10/5/2021   11/4/2021       37,173.24       37,173.24     37,173.24                                                       4180 - Consulting         CDI16_GVHD2            11/2021   0
CytoDyn, Inc.   205722   CDI09_Extension          10/5/2021   11/4/2021       19,742.71       19,742.71     19,742.71                                                       4180 - Consulting         CDI09_Extension        11/2021   0
CytoDyn, Inc.   205723   CDI02_IB                 10/5/2021   11/4/2021         4,730.00       4,730.00      4,730.00                                                       4180 - Consulting         CDI02_IB               11/2021   0
GRAND TOTAL                                                                13,450,797.91   13,261,982.62 1,515,866.42   853,231.81   919,355.41   767,853.99 9,205,674.99
                                                                                                                                                                                                                                           Case 8:21-cv-02533-PJM Document 27-1 Filed 10/26/21 Page 17 of 99
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                Exhibit B
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Rachel T. McGuckian, Esquire
301.517.4816
rmcguckian@milesstockbridge.com


October 21, 2021

VIA EMAIL (bmundel@sidley.com)

Benjamin M. Mundel, Esquire
Sidley Austin, LLP
1501 K Street, N.W.
Washington, D.C. 20005

Re:      Medical Monitoring Activities Associated with SAE Reporting
         United States District Court of Maryland Case No. 8:21-cv-02533-PJM

Dear Mr. Mundel:

Amarex confirms it has not stopped and will continue medical monitoring activities
associated with SAE reporting until the earlier of the resolution of the preliminary
injunction proceedings or CytoDyn advises that it no longer needs Amarex to perform these
activities. For clarification, Amarex will perform these activities in the same manner as it
has been since September 24, and EDC access will not be restored. The sites may continue
to report any SAEs by sending the SAE Notification Form to Amarex via email or fax or
by contacting Amarex via phone. In the event a site reports a SAE to Amarex, the Amarex
team will notify CytoDyn. Amarex will continue to invoice CytoDyn for these activities
and CytoDyn shall provide timely payment for the same.

Sincerely,

Rachel T. McGuckian
Rachel T. McGuckian

RTM/mlh

cc:      Mark D. Hopson, Esquire (mhopson@sidley.com)
         Lucas Croslow, Esquire (lcroslow@sidley.com)
         Jacquelyn E. Fradette, Esquire (jfradette@sidley.com)
         Jon R. Steiger, Esquire (js@h2law.com)
         Patrick M. McCarthy, Esquire (pmm@h2law.com)




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                Exhibit C
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From: Nader Pourhassan <npourhassan@cytodyn.com>
Sent: Tuesday, April 14, 2020 10:49 AM
To: Kush Dhody <kushd@amarexcro.com>; Kazem Kazempour <kazemk@amarexcro.com>
Cc: Nitya Ray <nray@cytodyn.com>
Subject: BLA submission


CAUTION: This email originated from outside of the organization. Do not click links or open attachments
unless you recognize the sender and know the content is safe.



Dear Nitya and Kush:
Today we have so far in 1 hour almost 20% drop in our stock price. Yesterday we had drop also after
putting out great results about COVID-19 patients we are seeing these type of decline.

This drop will be much deeper if we don’t file our BLA as the message board now is getting bombarded
by investors who are very frustrated with me and CytoDyn.

Please file the BLA no later than next week Wednesday, even if we are short in no matter what portion
of whatever it is that we are short.

Dear Nitya: Please communicate with Kush about how much time they need to prepare the CMC portion
after you send it to them. Kush told me yesterday he needs one week if so, they need the CMC package
tomorrow to make the next week's Wednesday deadline. Please talk to Kush to see if there is any way
they could take 1-2 days to prepare the CMC portion for final filling as you and I discussed yesterday


Dear Kush: The COVID-19 is no longer CytoDyn’s top priority as if the stock continues its drift then
financially we will have problems financing itself. THE MOST IMPORTANT thing now is BLA. Please focus
on that urgently only.



With best regards
Nader



Nader Pourhassan, PhD
Director, President & CEO
CytoDyn Inc. (www.cytodyn.com)
1111 Main Street, Suite 660
Vancouver, Washington 98660
(360)980-8524 Ext. 1 - Work
(360)980-8549 - Fax
(503)348-4173-Cell
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                Exhibit D
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               BLA 761144
                                                                                              REFUSAL TO FILE

               CytoDyn, Inc.
               Attention: Kazem Kazempour, PhD.
               Regulatory Agent on Behalf of CytoDyn
               20201 Century Boulevard, 4th Floor
               Germantown, MD 20874


               Dear Dr. Kazempour:1

               Please refer to your biologics license application (BLA), dated May 11, 2020, received
               May 11, 2020, submitted under section 351(a) of the Public Health Service Act for PRO
               140, injectable solution.

               After a preliminary review, we find your application does not contain all pertinent
               information and data needed to complete a substantive review. Therefore, we are
               refusing to file this application under 21 CFR 601.2(a).
               The application has numerous omissions and inadequacies so severe as to render the
               application incomplete and also introduces significant impediments to a prompt and
               meaningful review because there is the need for substantial amounts of additional data
               and analyses along with corrections in datasets.
               We are refusing to file this application for the reasons identified below. Section I
               provides a high-level summary of the deficiencies and Section II provides a detailed
               description of each deficiency and the information needed to resolve the deficiency.
               I. High-Level Summary of Refuse to File Deficiencies.

                    A. Absence of Analyses of Data Supporting the Proposed Dose
                    The BLA does not include critical information and analyses needed to permit
                    substantive clinical, statistical, clinical virology and clinical pharmacology review of
                    your proposed dose. In many cases, these issues are deficiencies that were clearly
                    communicated to you before submission of the application (see Section II for specific
                    details). These deficiencies require resolution before a meaningful review can occur.
                    B. Electronic Dataset Quality Issues
                    There is an absence of important variables (e.g., time to virologic failure at the
                    assigned dose) and analysis group flags in the analysis files containing the primary
               1 We update guidances periodically. For the most recent version of a guidance, check the FDA Guidance

               Documents Database https://www.fda.gov/RegulatoryInformation/Guidances/default.htm.




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               BLA 761144
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                    efficacy data needed for substantive clinical, statistical, clinical virology and clinical
                    pharmacology review of your product. Additionally, the datasets have numerous
                    instances of missing data and the files are not adequately defined or properly
                    indexed.
                    C. Absence of Demographic Subset Analyses Needed for Substantive Review of
                       Product Effectiveness and Safety
                    Assessing the safety and effectiveness in subpopulations (sex, age, race, and
                    ethnicity) is an integral part of the BLA review. Your BLA did not include analyses of
                    subpopulations with regard to effectiveness; the Summary of Clinical Efficacy, the
                    CD02 CSR, and the CD03 CSR did not include these analyses and the ISE was
                    omitted from the submission. While the ISS and Summary of Clinical Safety included
                    sections with relevant titles such as “Adverse Events by Age” and “Adverse Events
                    by Gender”, the content of these sections was largely line-listings without
                    substantive assessments addressing whether age or sex appeared to have
                    impacted safety outcomes in your clinical development program. Neither the ISS nor
                    the Summary of Clinical Safety includes analyses of safety by race or ethnicity.
                    D. Device-Related Issues

                    No data from studies conducted with the drug in the device were included in the
                    submission, and no information is included on the manufacturer of the syringe and
                    needles.

               II. Detailed Description of Refuse to File Deficiencies and Information Needed to
                   Resolve These Deficiencies.

                   Section II provides detailed descriptions of the deficiencies summarized in Section I.

                    A. Absence of Analyses of Data Supporting the Proposed Dose
                    Your BLA does not include the pertinent information needed for FDA reviewers to
                    perform a substantive review of the dose you have selected. As we told you in our
                    December 16, 2019, correspondence:




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               Silver Spring, MD 20993
               www.fda.gov

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                    Despite the specific advice above, which echoed the advice we provided you on
                    January 22, 2019, following our presentation of the revised BLA submission plan to
                    the CDER’s Medical Policy and Program Review Council (MPPRC), the BLA
                    includes only a 2-page “Rationale for Dose Section” that is identical to the rationale
                    you provided with the proposed CD08 trial, which we told you in our June 3, 2019,
                    correspondence was insufficient.

                    Your application does not include the information and analyses needed to permit
                    FDA reviewers (clinical, statistical, clinical virology and clinical pharmacology) to
                    perform a substantive review of the proposed dose. The application is missing an
                    integrated assessment that incorporates detailed summaries reflecting data from the
                    participants randomized to receive 350 mg, 525mg, and 700mg in CD03 and for the
                    350 mg dose evaluated in HTE MDR patients in CD02. Furthermore, your
                    application does not include multiple reports that are needed to permit a substantive
                    review.

                    Detailed descriptions of the deficiencies related to dose determination are described
                    below by discipline.

                        i.    Assessment of Effectiveness by Dose
                        The statistical reviewer is unable to conduct a substantive review to assess the
                        proposed dose with respect to efficacy because critical statistical analyses were not
                        provided. First, an integrated assessment of efficacy was not provided. Second, the
                        comparisons of effectiveness by dose provided in the Summary of Clinical Efficacy
                        and the CD03 CSR were conducted by dose group instead of between the
                        randomized arms. Because CD03 is an ongoing trial with staggered enrollment and
                        variable duration of exposure depending on when the subject was enrolled,
                        analyses of dose by randomized arm are essential to the review of efficacy. Please
                        refer to our November 11, 2019, correspondence that explains the importance of
                        displaying CD03 data by randomization group.

                        In addition, your BLA application does not include any analyses of Anti-Drug
                        Antibodies (ADA) or any assessment of any association between ADA and virologic
                        failure. In our January 22, 2019, correspondence, we provided you with specific
                        advice for your BLA submission wherein we communicated CDER’s Medical Policy
                        and Program Review Council members’ concerns about the possibility that ADA
                        may impact leronlimab effectiveness. Specifically, we advised you that the BLA
                        should include a detailed narrative to explain whether or not ADA is associated with
                        virologic failure.

                        Items Needed to Permit a Substantive Review of Efficacy of the Proposed Dose

                        a. The submission does not include an integrated assessment of efficacy, which is
                           essential for your BLA because your proposed dosing is supported by data from
                           the CD03 trial, but treatment of the proposed patient population is supported by
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                           data from the CD02 trial. Such an assessment is expected in an Integrated
                           Summary of Effectiveness (which was not submitted) or alternatively, in certain
                           instances, the Module 2 Summary of Clinical Efficacy. In your case, the
                           Summary of Clinical Efficacy did not include an integrated assessment of
                           efficacy.
                        b. The application should include a summary of the results of all studies pertinent
                           to the indication, as well as provide a comparison across studies, assessment of
                           subpopulations, and information relevant to dosing. The Module 2 Summary of
                           Clinical Efficacy would be an appropriate location for this information.
                        c. All the analyses and tables in the CD03 CSR should be organized such that
                           concurrently randomized arms can be compared.
                        d. The tables in the CD03 CSR should account for the duration of exposure for all
                           efficacy and safety analyses, e.g. using incidence density rate.
                        e. The software program files used to generate the analysis datasets from the
                           source datasets and those used to generate efficacy and safety tables, figures,
                           and listings in the CD02 CSR, CD03 CSR, ISS, and ISE should be submitted.
                        f. All variables used to produce tables/figures in the CD02 and CD03 CSR should
                           be included in the analysis datasets.
                        g. The BLA should include an assessment of ADA by dose and randomization
                           group and analyses of whether ADA impacted effectiveness.

                        ii.     Assessment of Safety by Dose
                        The clinical reviewer is unable to perform a substantive review of safety by dose
                        because the Integrated Summary of Safety (ISS), Summary of Clinical Safety, and
                        CD03 CSR do not include the pertinent information needed and because there are
                        numerous instances of missing data. Importantly, the comparisons of safety by dose
                        in CD03 were conducted by dose group instead of between the randomized arms
                        (and then by dose). For the reasons outlined in Section II.A.i., analyses of dose by
                        randomized arm are essential to the review of safety. Second, missing data and
                        missing sections present significant impediments to a prompt and meaningful
                        review of safety. Thirdly, the BLA does not include case report forms (CRFs).
                             Missing Data: In the ISS, adverse events (AEs) are identified as “uncoded,”
                              including serious events, events leading to death, and life-threatening events.
                              The Summary of Clinical Safety and CD03 CSR also include frequent “uncoded”
                              listings.
                             Missing Analysis of Clinical Implications of ADA: Specific analyses of any
                              clinical implications of ADA, including both safety and virologic failure events
                              should be addressed in the ISS, Summary of Clinical Safety, and CD02 and
                              CD03 CSRs. Risk factors for ADA (e.g. dose, demographic subgroup, duration
                              of exposure, comorbidities) should be evaluated.
                             Missing ISS and Summary of Clinical Safety Sections: In addition to providing
                              analyses of safety by demographic subgroups, your revised ISS, Summary of
                              Clinical Summary, and CD03 and CD02 CSRs should present safety data in a
                              way that allows for a meaningful review of safety of your product. Numerous ISS
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                            and Summary of Clinical Safety sections are blank, missing, or missing
                            substantive assessments, as outlined below.

                            o Summary of Clinical Safety Section 2.7.4.2.8.2 titled “Adverse Events
                              Requiring Drug Discontinuation” re-lists the SAEs, instead of addressing the
                              events that led to drug discontinuation (i.e. both serious and non-serious
                              events that led to drug discontinuation), which is a necessary component of
                              a BLA.
                            o No information is provided in the section “Adverse Events Leading to Drug
                              Interruption”
                            o Summary of Clinical Safety Section 2.7.4.2.8.2 titled “Other Significant
                              Adverse Events” provides a reference to AEs that led to treatment
                              discontinuation (which is actually a repeated assessment of SAEs).
                            o ISS Section 6. “Clinical Laboratory Evaluation” section does not include an
                              assessment. Instead, the section refers to CSRs. The same is true of
                              Summary of Clinical Safety Section 2.7.4.3 of the same title.
                            o ISS Section 7. “Vital signs, physical findings, and other observations related
                              to safety” section does not include an assessment. Instead, the section
                              refers to CSRs. The same is true of Summary of Clinical Safety Section
                              2.7.4.4 of the same title.
                            o Specific analyses of injection site reaction events, including any evidence of
                              systemic manifestations (e.g., hypotension, fever, difficulty breathing) within
                              the post-administration monitoring period. Risk factors for injection site
                              reactions (e.g. dose, duration of exposure, demographic subgroup,
                              comorbidities) should be examined and an overall assessment of impact of
                              injection site reactions on patient outcomes (e.g., leronlimab discontinuation,
                              additional treatment required or preventative measures) provided.
                            o Analyses of definitely, probably, and possibly related events should be
                              presented together because separate analyses of each assessment of
                              causality do not facilitate review of patterns of safety events.

                        Note: Refer to Section IIC for issues related to demographic subset analyses of
                        safety outcomes by age, sex, race, and racial subgroup.
                           Missing CRF’s and Patient Narratives: CRFs and some patient narratives for
                            deaths, discontinuations due to adverse events, and serious adverse events are
                            missing.

                        Items Needed to Permit a Substantive Review of Safety of the Proposed Dose
                        a. The Summary of Clinical Safety and CD03 CSR should include analyses of
                           dose by randomized arms.
                        b. Your revised ISS and Summary of Clinical Summary should be complete and
                           include substantive assessments for each section, presenting safety data in a
                           way that allows for a meaningful review of safety of your product. The safety
                           data presented within each section should be relevant to its section title.
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                        c. The CD03 and CD02 CSRs should also present safety data in a way that allows
                           for a meaningful review of safety of your product.
                        d. The ISS, Summary of Clinical Safety, and CSRs should include minimal missing
                           data (“uncoded”), particularly for events leading to death, serious events, and
                           life-threatening events.
                        e. Your submission should include CRFs or patient narratives for all deaths,
                           discontinuations due to adverse events, and serious adverse events. The
                           following subjects have no CRF or narrative: PRO 140 CD02-203006, PRO 140
                           CD02-202020, PRO 140 CD01-01027, PRO 140 CD01-01053, PRO 140 CD01-
                           01061, PRO 140 CD01-01064, PRO 140 CD02-213507, PRO 140 CD02-
                           214009, PRO 140 CD02-215002, PRO 140 CD02-238007, PRO 140 CD02-
                           238037, PRO 140 CD02-240501, PRO 140 CD03-308002.

                        Refer to Section IIC for the listing of needed demographic subset analyses.

                        iii.       Assessment of Clinical Virology by Dose
                        The application does not include the information needed for the clinical virology
                        reviewer to perform a substantive review of virologic outcomes by dose. Clinical
                        Virology reports summarizing virologic failures with baseline characteristics,
                        baseline resistance, and resistance emergence to PRO140 and optimized
                        background treatment are missing.

                              No Clinical Virology Report for Study CD02 was submitted; assessments of
                               virologic failures and resistance emergence to PRO 140 and optimized
                               background therapy are missing.
                              No Clinical Virology Report for Study CD03 was submitted; assessments of
                               virologic failures and PRO 140 resistance emergence, which are necessary to
                               compare efficacy of PRO 140 in each dose group (350 mg, 500 mg and 700
                               mg) are missing.

                        Items Needed to Permit a Substantive Clinical Virology Review of the Proposed
                        Dose
                        a. A comprehensive CD02 Clinical Virology Study Report should be submitted with
                           a complete assessment of the virologic failures including evaluations of
                           PRO 140 resistance, optimized background therapy (OBT) resistance, and
                           tropism. This report should contain assessments of:

                                   Baseline characteristics of virologic failures.
                                     o Overall ARV treatment experience at study entry.
                                     o Resistance to OBT at baseline.
                                     o Tropism at Baseline.
                                   Assessment of reason for failure in virologic failures.

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                                    o Resistance to PRO 140 at failure.
                                       Assessment of Tropism at failure.
                                          Assay methodology.
                                          Outgrowth of CXCR4 tropic virus a reason for failure?
                                       CCR5 tropic virus: phenotype to PRO 140 and env genotype.
                                       Cross-resistance with MVC.
                                    o Emergent resistance to OBT.

                        b. A comprehensive CD03 Clinical Virology Study Report should be submitted with
                           an assessment of virologic failures and PRO 140 resistance emergence by
                           randomization group and dose group. This report should contain assessments
                           of:

                                  Tropism at baseline for all subjects.
                                    o Assay methodology for tropism assay (DNA) in suppressed patients.
                                  An assessment of virologic failures in CD03.
                                    o Number and proportion of virologic failures in each dose group by
                                       randomization group.
                                    o Frequency of resistance emergence to PRO 140 in virologic failures of
                                       each dose group.
                                        CXCR4 tropism.
                                        CCR5-tropic PRO 140 resistance (genotypic and phenotypic).
                                        MVC cross-resistance.

                        iv.       Assessment of Pharmacokinetics and Pharmacodynamics by Dose
                        The application does not include the information needed for the clinical
                        pharmacology review team to perform a substantive review of pharmacokinetics
                        (PK) and pharmacodynamics (PD) by dose. Specifically, the application does not
                        include complete bioanalytic reports, the population PK (Pop PK) analysis report
                        does not include the agreed upon studies used for the analysis, and the receptor
                        occupancy report includes only “representative data.” Detailed descriptions of these
                        deficiencies are provided below:
                             Absence of Bioanalytical Reports: Assessing the quality of the PK data
                              submitted in support of a BLA application is an integral part of the Clinical
                              Pharmacology BLA review. During the Pre-BLA meeting (June 2018) and in our
                              November 2019 correspondence, we requested the applicant submit complete
                              bioanalytical reports (reports which describe analysis of concentrations of
                              leronlimab in blood samples collected in the clinical trials). Despite the advice
                              provided on two separate occasions, the bioanalytical reports are not included
                              in your BLA submission.
                             Incomplete “Overview of Clinical Pharmacology” Section: The Overview of
                              Clinical Pharmacology section does not include an integrated summary of
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                            clinical pharmacology results. Instead, the document only refers to Summary of
                            Clinical Pharmacology Studies section.
                           Incomplete Summary of Clinical Pharmacology Studies: The Summary of
                            Clinical Pharmacology document does not include PK or PD results from any of
                            the clinical studies. Instead, the summary document only includes information
                            on the study design for each study and a summary of adverse events for some
                            studies.
                           Submission of Unagreed Upon Population PK (Pop PK) Analysis: A thorough
                            assessment of dose selection is critical to ensure the safe and effective use of
                            drugs. Methodologies such as Pop PK analysis are used to assess dose
                            selection and to evaluate the impact of intrinsic and extrinsic factors on drug
                            exposure. Hence, it is critical that the data used to build and validate population
                            pharmacokinetic models are robust. Therefore, we requested a Pop PK analysis
                            to support the selection of a higher dose [700 mg, based on the dose-finding
                            study in the monotherapy study (CD03)] than the dose evaluated in the pivotal
                            trial (CD02), because you only analyzed the PK data at the proposed dose (700
                            mg) using Pop PK analysis method. In your correspondence dated January 16,
                            2019, you described plans to use studies CD02, CD03, and CD06 studies for
                            the Pop PK model development and covariate analysis. Rather than submitting
                            a Pop PK analysis as described in that correspondence, the submitted analysis
                            in your BLA includes data from CD02, CD03, and Study 2101 without a clear
                            rationale for including the results from study 2101 and excluding the results from
                            trial CD06. Of note, the formulation used in Study 2101 (formulation two) is
                            significantly different from the formulation used in CD02, CD03, and CD06
                            (formulation four) and the current PK sampling times across the formulations do
                            not support a comparative test via Pop PK. In the absence of comparability data
                            between formulations two and four, a substantive review of the Pop PK analysis
                            to assess the proposed dosing regimen cannot be conducted.
                           Missing CCR5 Receptor Occupancy Data: Following the January 2019 MPPRC
                            meeting, DAV communicated the following comment: “Members of the Council
                            asked about the CCR5 receptor occupancy data for the 350 mg, 525 mg and
                            700 mg doses. Please submit this data with your BLA.” DAV reiterated this
                            request in our December 16, 2019, correspondence. Despite this advice, the
                            BLA includes only representative data from 525 mg and 700 mg in the receptor
                            occupancy report. In addition, the receptor occupancy validation report does not
                            adequately address numerous methodologic concerns, which are elaborated
                            below under item “e”.

                        Items Needed to Permit for Substantive Clinical Pharmacology Review of the
                        Proposed Dose

                        a. Bioanalytical Reports:
                           The revised BLA should include complete bioanalytical reports describing the
                           analysis of concentrations of leronlimab in blood samples collected in the clinical

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                           trials. Please refer to FDA’s Guidance for Industry: Bioanalytical Method
                           Validation.
                        b. Overview of Clinical Pharmacology:
                           The revised overview of clinical pharmacology document should include the
                           integrated summary of PK and, if available, PD results.
                        c. Summary of Clinical Pharmacology Studies:
                           The revised Summary of Clinical Pharmacology document should include PK
                           and, if available, PD results from the clinical studies.
                        d. Pop PK Analysis:
                           To address the deficiencies relevant to PopPK outlined above, the BLA should
                           include comparability data to “bridge” formulations two and four to support
                           inclusion of data from study 2101 or a revised analysis should be submitted that
                           excludes data from Study 2101 but includes data from trial CD06. To provide
                           additional support for the proposed dose, the revised analysis should include
                           simulations of exposure-vs-efficacy and exposure-vs-safety from robust Pop PK
                           and exposure-response models for efficacy and safety (if exists) and submit all
                           datasets, analyses, and simulation codes for review.
                        e. CCR5 Receptor Occupancy Data:
                           The revised CCR5 receptor occupancy report should include comprehensive
                           assessments of receptor occupancy for the 350 mg, 525 mg and 700 mg doses
                           by randomization group. These analyses should account for the timing of the
                           assessment with regard to study drug administration and duration of exposure.
                           The analyses should also assess whether receptor occupancy results correlate
                           with virologic outcomes/effectiveness. In addition, the revised validation report
                           should address the following methodologic concerns:

                              Validation of the “Receptor Occupancy assay” was performed with CCR5
                               cells lines and extrapolated to interpreting results on patient peripheral blood
                               lymphocytes (PBLs). Blocking effects of PRO-140 in the RO assay should
                               be verified with normal PBLs. Isotype antibody controls should be included
                               to accurately set negative cut off parameters and define backgrounds.
                              Methods used to process and stain patient cells should be provided.
                              The report should clearly indicate how baseline and total CCR5 expression
                               are calculated and how this baseline figure is used to calculate the
                               percentage of receptor occupancy in patients before and after therapy.
                              The revised report should provide FACS binding results to support the claim
                               that “background fluorescence” accounts for the residual staining (~30-
                               40%). The validation results with PRO-140 blocking of 2D7 on CEM CCR5+
                               cells showed reduction of staining 60-70% with residual staining attributed to
                               “background fluorescence”. When background staining is considered, the %
                               inhibition of antibody binding is now 99%, referred to as 99% Receptor
                               Occupancy. FACS binding results should be provided to document these
                               claims and data analysis. Residual binding that is not blocked by PRO-140
                               may represent CCR5 receptors that do not bind to the drug but remain on
                               the cell surface and are accessible to virus infection.
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                               In addition to competitive binding for anti-CCR5 antibodies, PRO-140
                                binding to CCR5 may also downmodulate the receptor by internalization
                                after drug treatment. Efforts should be made to measure PRO-140 coating
                                of patient cells and to address whether this drug induces receptor
                                internalization.
                               CEM cells showed 9 percent 2D7 CCR5 staining and 70% binding to 45531
                                CCR5. The revised report should address whether this staining in CEM are
                                specific for CCR5 or non-specific given that it is assumed that CEM does not
                                express CCR5.
                               The report states that anti-CCR5 45531 antibody had an inconsistent
                                staining pattern on CCR5 negative and positive cells but was still used in
                                assays at the “manufacturer’s recommended dilution”. The revised report
                                should clearly indicate whether 45531 included in the panel for staining
                                patient cells and, if so, provide the rationale for including this antibody given
                                the inconsistent staining pattern.
                               Non-fixed cells were used for PRO-140 blocking of 2D7 anti-CCR5 binding.
                                The revised report should clearly indicate whether the PRO-140 epitope
                                sensitive to fixation.

                    B. Electronic Dataset Quality Issues:
                    As an integral part of the BLA review, the clinical, statistical, clinical virology and
                    clinical pharmacology reviewers perform independent analyses of the submitted
                    datasets to confirm your analyses and to explore any additional review issues that
                    are identified during the BLA review. The datasets submitted are missing critical
                    elements needed to permit substantive clinical, statistical, clinical virology and
                    clinical pharmacology review of the BLA.
                        i. Critical Elements in Statistical Datasets are Missing
                        The FDA reviewer conducts independent analyses of multiple datasets to determine
                        the validity of your submitted analyses of efficacy, assess the robustness of results,
                        and evaluate results based on evidentiary standards. Therefore, the substantial
                        omission of the variables from the submitted datasets and lack of clear definitions
                        for some major outcome variables prevent a substantive statistical review of the
                        BLA application. To permit a substantive statistical review, all variables used to
                        produce tables in the CSR should be included in the analysis datasets.
                        Dataset Elements Needed to Permit a Substantive Statistical Review:
                        a. Trial CD02:
                             ADSL: Add a variable for the screening date.
                             ADEFFOUT: Add a variable for the Week 25 virologic outcome using FDA
                                 snapshot approach.
                        b. Trial CD03:
                             ADEFFOUT:
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                             o Clarify if VFFL indicates the virologic failure status at the assigned/
                               randomized dose.
                             o Add variable for time to virologic failure at the assigned dose.
                             o Clarify which variables contain the information for HIV-1 RNA <50
                               copies/mL at Week 24, Week 48 at assigned/randomized dose. Note that
                               subjects who received higher dose or ART because of virologic failure
                               should be marked as HIV-1 RNA >= 50 copies/mL for those variables.
                             o Clarify which variables contain the information for HIV-1 RNA <50
                               copies/mL at Week 24, Week 48 at combined assigned/randomized and
                               rescue dose. In addition, variables for the dose associated with these
                               outcomes and variables that indicate whether the subject received rescue
                               therapy by the time of these outcomes should be included.
                             o FDA snapshot approach should be used for the missing virologic outcomes
                               at Weeks 24 and 48.
                             o Several subjects who have not reached Week 24 (WK24FL=missing) show
                               Week 24 viral load < 50 copies/mL (V2450FL=Y). Please explain or
                               correct.
                             o Add an indicator variable for subjects who reached Week 48.
                             o Several variables used in the CD03 CSR Table 11-8 and 11-9 are not in
                               the dataset, such as rescued (Y/N), achieved suppression (Y/N), and dose
                               (assigned dose, higher dose, or ART). All variables used in the CSR should
                               be included in the analysis datasets and submitted.
                             ADDS:
                             o Clarify the definitions for variable EOP01STT, specifically, how
                               “COMPLETED”, “VIROLOGIC FAILURE”, “DISCONTINUED”, etc. are
                               defined. Subjects with the dose increased in period 02 are marked as
                               “COMPLETED” for period 01. However, these subjects should be coded as
                               a virologic failure in period 01. Additionally, include the variables that
                               indicate the end of period 01 status, with the following information:
                               completion of the 24 weeks of treatment; completion of the 48 weeks of
                               treatment; premature treatment discontinuation for the
                               assigned/randomized dose by Week 24; the reasons for the premature
                               treatment discontinuation (e.g. adverse event, virologic failure, lost to
                               follow-up, etc.).
                             o Several variables used in the CD03 CSR Table 10-2 are not in the dataset,
                               such as study completion, early discontinuation, and reasons for early
                               discontinuation. All variables used in the CSR should be included in the
                               analysis datasets and submitted.
                        ii. Critical Elements in the Safety Datasets are Missing
                        The FDA reviewer must analyze the adverse event (AE) datasets to identify
                        patterns suggestive of potential safety issues, assess whether AEs are related to
                        study treatment (e.g. investigator’s determination of relatedness, time to onset, AE
                        outcome with regard to continuation or discontinuation of study treatment,
                        concomitant therapies), and assess the impact of adverse reactions on patients
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                        (e.g. time to resolution, severity, AE outcome). These analyses are essential for
                        FDA’s benefit-risk assessment as well as to inform appropriate product labeling, if
                        approved. The submitted datasets have numerous omissions and are, therefore,
                        insufficient to allow a substantive clinical review of the BLA.
                        Of note, the data quality issues listed below, which are extensive, reflect issues
                        identified during the filing review and may indicate that the process used to collect
                        data from the CRFs was flawed. If that is the case, additional errors may become
                        apparent during BLA review.
                        Dataset elements needed to permit a substantive review of safety
                        a. ADAE datasets missing preferred term (AEDECOD), system organ class
                           (AESOC), lowest level term (AELLT), high level term (AEHLT), and high-level
                           group term (AEHLGT) for numerous AEs:
                             ADAE for CD03: There are 28 adverse events missing AEDECOD, AESOC,
                                AELLT, AEHLT, AEHLGT.
                             ADAE for ISS: There are 88 adverse events missing AEDECOD, AESOC,
                                AELLT, AEHLT, and AEHLGT.
                             The CD02, CD03, and ISS adae.xpt datasets should include terms in the
                                AEDECOD, AESOC, AELLT, AEHLT, and AEHLGT columns for all adverse
                                events.
                        b. Incomplete start and/or end date information for AEs:
                             ADAE for CD02: There are 10 adverse events with incomplete start date
                                information (AESTDTC) and 5 adverse events with missing or incomplete
                                end date information (AEENDTC).
                             ADAE for CD03: There are 2 adverse events with incomplete start date
                                information (AESTDTC) and 5 adverse events with missing or incomplete
                                end date information (AEENDTC).
                             ADAE for ISS: There are 45 adverse events with incomplete start date
                                information (AESTDTC) and 49 adverse events with missing or incomplete
                                end date information (AEENDTC).
                        c. The CD02, CD03, and ISS adae.xpt datasets should include start and end dates
                           for all AEs or a rationale should be provided why such data are not included for
                           specific AEs.
                        d. Toxicity grading is missing from laboratory datasets.
                             The CD02 and CD03 Protocols specify that the DAIDS toxicity tables will be
                                used for toxicity grading. However, the ADLB datasets do not include
                                grading. Graded laboratory abnormalities are standard and important
                                components of antiretroviral drug product labeling.
                        e. Antiretroviral, optimized background therapy, and concomitant medication entries
                           are present in CM.xpt but missing in ADCM. The CD02, CD03, and ISS
                           ADCM.xpt datasets should include all antiretroviral and optimized background
                           therapy concomitant medications.
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                             ADCM for CD02: CM.xpt includes 256 entries not present in the ADCM.
                             ADCM for CD03: CM.xpt includes 814 entries not present in the ADCM.
                        f. Information regarding Action Taken with Drug missing
                             ADAE for ISS: Please provide complete information for action taken with
                                drug. There are 146 missing values in the AEACN column.
                        g. AE reported after death and cause of death missing, suggesting data integrity
                           concern:
                             ADAE for ISS: In the ISS dataset, but not the CD03 dataset, CD03-301013
                                is reported to have died on June 30, 2019, but no data on the cause of
                                death is provided. By our assessment, this death appears to have been
                                among the 5 reported Phase 3 deaths enumerated in Table 4-22 in the ISS
                                report. However, CD03-301013 is reported to have experienced AETerm
                                “right arm abscess” at a date subsequent to the reported death. For this
                                specific participant (PRO 140 CD03-301013), the cause of death and the
                                timing of the right arm abscess for PRO 140 CD03-301013 should be
                                clarified. Please refer to Section II.B.v for comments regarding data quality.

                        iii. Critical Elements in the Virology Resistance Datasets are Missing
                        The clinical virology reviewer conducts independent analyses using submitted
                        datasets to assess validity of Applicant’s analyses of the product’s antiviral activity
                        and to evaluate for development of viral resistance to the product. Therefore, the
                        clinical virology reviewer needs usable resistance datasets to be able to completely
                        analyze the virologic failures for baseline characteristics, baseline resistance,
                        resistance emergence to PRO 140 and optimized background treatments, and virus
                        tropism changes. An assessment of virologic failures is necessary to understand the
                        reasons for treatment failure and to be able to provide this information to
                        prescribers/patients so that optimal treatment can be provided to the appropriate
                        patient population. The ADGENO datasets for Study CD02 and CD03, as
                        submitted, are not acceptable to permit a substantial clinical virology review.

                        Dataset Elements Needed to Permit Substantive Clinical Virology Review
                        a. Importantly, row variables ZNT, ZREF, ZAF, NT, NA, AF must be removed in
                           order to use the dataset for review. As stated in Guidance for Submitting HIV-1
                           Resistance data, these should be blank if amino acid substitution is same as
                           reference (or there is no tropism or phenotypic data).

                               There are other columns in which to indicate if the assay failed. If genotypic
                                data failed, then indicate Y in GENOFAIL column; if not available, leave
                                blank. If phenotypic data failed, indicate Y in PHENOFAIL column; if not
                                available, leave blank.

                        b. There are multiple rows for same visit day. Data from PhenoSense GT,
                           PhenoSense Integrase, GeneSeq Integrase, and PhenoSense Entry+Trofile for
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                           the plasma and PhenoSense Entry+TrofileDNA should all be combined into one
                           row for the visit.

                               The different methodologies can be listed in separate columns:
                                GENOMET1, GENOMET2, GENOMET3, etc, and PHENOMET1,
                                PHENOMET2, etc. The methodology and assays used to assess genotype,
                                phenotype, and tropism (i.e., PhenoSense GT, PhenoSense Integrase,
                                GeneSeq Integrase, and PhenoSense Entry+Trofile for the plasma and
                                PhenoSense Entry+TrofileDNA.) should be reported and described in the
                                “Materials and Methods” sections of the CD02 and CD03 clinical virology
                                study reports requested above.
                        iv. Receptor Occupancy Datasets are Missing
                        As part of the FDA reviewer’s assessment of the receptor occupancy data as
                        support for the selected dose, the FDA reviewer needs the receptor occupancy
                        datasets in order to perform an independent analysis of the data.

                        Dataset Elements Needed to Permit Substantive Clinical Pharmacology Review
                        The CCR5 receptor occupancy datasets should include flags that indicate
                        randomization group and initial randomized dose (350 mg, 525 mg and 700 mg).
                        The datasets should also clearly indicate the last leronlimab dose and timing of the
                        last dose in relationship to the timing of the assay and clearly indicate virologic
                        outcome.

                        v. Data Quality
                        The high number of data quality issues identified during the filing review indicate
                        that the process used to construct ADaM datasets from SDTM datasets and
                        produce CSRs from the analysis datasets may have been flawed and suggest that
                        additional errors will likely become apparent during BLA review.
                        Dataset Quality Issues in Need of Resolution to Permit a Substantive BLA Review
                        Additional Quality Control of the all the datasets should be performed prior to
                        submitting the revised BLA.

                    C. Absence of Demographic Subset Analyses
                    Assessing the safety and effectiveness in subpopulations (sex, age, race, and
                    ethnicity) is an integral part of the BLA review. Your BLA did not include analyses of
                    subpopulations with regard to effectiveness; the Summary of Clinical Efficacy, the
                    CD02 CSR, and the CD03 CSR did not include these analyses and the ISE was
                    omitted from the submission. While the ISS and Summary of Clinical Safety included
                    sections with relevant titles such as “Adverse Events by Age” and “Adverse Events
                    by Gender”, the content of these sections were largely line-listings without
                    substantive assessments addressing whether age or sex appeared to have
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                    impacted safety outcomes in your clinical development program. Neither the ISS nor
                    the Summary of Clinical Safety includes analyses of safety by race or ethnicity.
                     Items Needed to Permit a Substantive Review of Safety and Efficacy by
                     Demographic Subgroup
                    a. Subgroup analyses for sex, age, race, and racial subgroups are needed in the
                         ISE (omitted from BLA submission), the Summary of Clinical Efficacy, the CD02
                         CSR, and the CD03 CSR. These analyses should be substantive, providing your
                         assessment of whether differences in effectiveness by sex, age, race, or ethnicity
                         were evident in your clinical trials and how the numbers of participants in each
                         subpopulation enrolled impact the strength of the assessment.
                      b. The revised BLA submission should include substantive assessments of safety
                         in subpopulations (sex, age, race, and ethnicity). Similar to the assessments of
                         efficacy by subpopulation, the analyses of safety by subpopulation should
                         provide your assessment whether adequate numbers of participants in each
                         subpopulation were enrolled and whether there were any meaningful differences
                         in safety in subpopulations.

                    D. Device-Related Issues
                    You have stated that the ‘To-be-marketed kit’ will contain glass vials, 3 mL syringes
                    with 1” long 20-gauge needles for drawing up the drug, and two 5/8” 25-gauge luer
                    lock safety needles for subcutaneous injection into patients. However, no studies
                    conducted with the drug in the device were included in the submission, and no
                    information is included on the manufacturer of the syringe and needles.

                    Items Needed to Permit a Substantive Review of the Device
                      a. Submit the Essential Performance Requirements (EPR) testing on the device
                         with the drug (i.e., dose volume, break loose force, glide force), and reference to
                         the 510(k) for the marketed device that will be used with the drug.

               III.Additional Issues

               In addition to the Refuse-To-File issues outlined above, you should address the
               following issues when you resubmit your application.


                    A. Safety Data
                    The results of the GU and CNS sub-studies should be included with the BLA
                    submission.

                    B. Human Factors Related Issues
                    The revised BLA should include the following:


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                    i.   An updated use-related risk analysis (URRA).
                   ii.   A mock-up of your container (vial) label and carton labeling with text and
                         graphics in PDF format. A picture of the label on the vial or a picture of the
                         carton on a counter is insufficient for the Agency to properly review the full
                         content (text and graphics) on the container label and carton labeling.
                  iii.   Instructions for Use (IFU) in editable MS Word format to facilitate the exchange
                         of labeling comments and revisions between the sponsor and FDA.
                  iv.    If you intend to include a Patient Package Insert (PPI), submit it in editable MS
                         Word format.
                   v.    Clarify if you intend to include a Quick Reference Guide (QRG) as part of the
                         user interface. If so, submit it in editable MS Word format. Additionally, clarify
                         whether you included the QRG as part of your user interface in your April 27,
                         2020 human factors validation study report.
                  vi.    Please submit two (2) intend-to-market samples to assist in completion of our
                         review. Address the samples to the following:

                          OSE Human Factors Sample Steward
                          Food and Drug Administration
                          10903 New Hampshire Avenue, Bldg 22, Room 4477
                          Silver Spring, MD

                          Use zip code 20903 if shipping via United States Postal Service (USPS).
                          Use zip code 20993 if sending via any carrier other than USPS (e.g., UPS,
                          DHL, FedEx).

                          Please instruct the package carrier that a signature is NOT required for
                          delivery if the package is dropped off at the designated inbox.

                          Please confirm receipt of this communication and include the delivery carrier’s
                          tracking number for the package in your response.

                    C. Product Quality Related Issues

                    i.   Form FDA 356h documents are incomplete. Provide a Form FDA 356h that
                         includes complete establishment information on the locations of all
                         manufacturing, packaging, and control sites for both drug substance and drug
                         product.
                   ii.   The following errors and discrepancies were identified in your application, which
                         should be corrected in a resubmission:

                          a.   Multiple hyperlinks in Module 3 are not functional or incorrect.
                          b.   Under Section 3.2.S.2.2 Description of Manufacturing Process and
                               Controls, two versions of Table 18—Low pH Viral Inactivation Process


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                                Parameters are provided with discrepancies in the acceptable ranges for
                                the same process parameters.
                          c.   Under Section 3.2.S.2.2 Description of Manufacturing Process and
                               Controls, Table 26 - Viral Filtration Process Parameters indicates the
                               acceptable range for viral filtrate pool hold time at room temperature is ≤
                               96 hours, which appears inconsistent with the maximum hold time of 72
                               hours for this step provided in Table 1 - Leronlimab FDS Process
                               Intermediate Hold Conditions and Sample Points under Section 3.2.S.2.4
                               Control of Critical Steps and Intermediates – In-Process Hold Times.
                          d.   An incomplete Table 9 – Leronlimab Lot Genealogy was provided in
                               Section 3.2.P.2.3 Manufacturing Process Development – Development
                               History. The current table exceeds the margin of the page, which renders
                               information in the affected column(s) illegible.

                  iii.   Results from ongoing stability studies at long-term and accelerated storage
                         conditions were provided for the to-be-marketed 2.4 mL final drug product (FDP)
                         lots, which were manufactured between March and July of 2019. Provide all
                         available stability data for the primary 2.4 mL FDP stability lots in a
                         resubmission.
                  iv.    Under Section 3.2.S.2.1 Manufacturers, in Table 1 - Manufacturer Responsibility
                         Summary, DMF 3493 is referenced. Provide a letter of authorization from the
                         DMF holder for cross reference of this DMF to the BLA.
                   v.    Update Section 3.2.S.2.1 Manufacturers to include information on facilities
                         responsible for cell bank manufacturing, cell bank storage, unprocessed bulk
                         harvest testing, and drug substance storage.
                  vi.    In Section 3.2.S.2.2 Description of Manufacturing Process and Controls, you
                         provided process parameters and performance attributes for each DS
                         manufacturing step. However, not all critical process parameters (CPPs)
                         identified in your manufacturing process are included. One example is that feed
                         volume and feed time for the production bioreactor step (step 10), identified as
                         CPPs in Section 3.2.S.2.6 Manufacturing Process Development, are not listed in
                         Section 3.2.S.2.2. Update Section 3.2.S.2.2 to ensure it accurately describes
                         your DS manufacturing process. Include information on the purpose and
                         general description of each step, and list all CPPs, in-process tests, and hold
                         times with corresponding acceptable ranges or limits.
                  vii.   Under Section 3.2.P.2.3 Manufacturing Process Development – Comparability,
                         Comparability Evaluation Between Leronlimab (Sp2/0) Process B DP and
                         Leronlimab (CHO) Process C DP, you state that “analytical comparability was
                         assessed between leronlimab FDP lots #4122-162-C001 (Process B, 135
                         mg/mL, Sp2/0), PRO140162-001 (Process B, 135 mg/mL, Sp2/0), PRO140182-
                         001 (Process C, 135 mg/mL, CHO) and 4120-182-C001 (Process C, 100
                         mg/mL, CHO). The comparability was evaluated between these lots based on
                         the release results and the results of extended characterization studies.”
                         However, you only provided release and characterization results from lots 4122-
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                         162-C001 and 4120-182-C001. Update your comparability assessment to
                         include release and characterization results from the other two lots
                         (PRO140162-001 and PRO140182-001).
                 viii.   Implement pressure monitoring upstream of the sterilizing filters and/or flow rate
                         monitoring downstream of the sterilizing filters to ensure that routine production
                         parameters do not exceed validated range due to filter clogging. Additional filter
                         validation may be needed to establish the pressure and flow rate limits.
                  ix.    Provide data to demonstrate container closure integrity (CCI) at worst-case
                         capping conditions (i.e., minimum and maximum crimper height settings and
                         capping pressures) used in routine leronlimab manufacturing.
                   x.    Media fill information and data provided in section 3.2.P.3.5. are incomplete.
                         Provide the following information:

                          a.   A bracketing approach may be used for requalification of the aseptic
                               process simulation for the fill line. However, as indicated in the 1994 FDA
                               Guidance for Industry, media fill data using “the same container closure
                               system and filling process that is to be used for the product should be
                               described” in the application. Perform at least one media fill using the
                               container closure system and aseptic filling process representative of
                               leronlimab DP manufacture and update section 3.2.P.3.5 with a summary
                               of results.
                          b.   Describe the routine and non-routine interventions performed during
                               media fills.
                          c.   Provide the numbers of units filled and incubated for each media fill, and
                               a brief description for the units that were filled but not incubated.

                  xi.    Information provided in section 3.2.P.3.3, subsection 4, Secondary Packaging,
                         indicates that leronlimab is provided as a single-use convenience kit containing
                         2 leronlimab vials and two 3-mL sterile plastic syringes with 1” long 20-G
                         needles. Provide a letter of authorization in section 1.4 to cross-reference the
                         drug master file containing the sterilization validation data for the plastic
                         syringes and needles co-packaged with leronlimab finished drug product.
                         Alternatively, submit the sterilization validation data in section 3.2.P.3.5.
                  xii.   Your method verification for sterility testing was inadequate.

                          a.   Sterility verification was conducted with 20 vials of DP lot 3-FIN-3143,
                               filled at 1.4 mL/vial, i.e. a testing volume of 28 mL. However, routine
                               testing for the commercial leronlimab DP batch is conducted with 20 vials
                               filled at 2 mL/vial, i.e. 40 mL testing volume. Method verification should
                               be conducted using the proposed commercial testing volume.
                          b.   Method verification should be conducted with a total of 3 independent
                               lots.

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                 xiii.   Provide a summary report of low endotoxin recovery (LER).
                 xiv.    Provide results from 2 additional lots to support qualification of the in-process
                         bioburden testing.

                    D. Prescribing Information

                    i.   Proof-read your proposed Prescribing Information such that it is free of
                         typographical errors, the table of contents reflects the contents of the full
                         prescribing information, and that all sections contain complete information.
                   ii.   The prescribing information references Patient Information and Instructions for
                         Use; these sections should be included in the labeling section of the
                         submission.
                  iii.   Provide PDF and WORD versions of your proposed Prescribing Information.
                  iv.    Labeling should be identified and submitted as an SPL file and placed in a
                         single folder. We refer you to the Guidance for Industry Providing Regulatory
                         Submissions in Electronic Format — Content of Labeling -
                         https://www.fda.gov/regulatory-information/search-fda-guidance-
                         documents/providing-regulatory-submissions-electronic-format-content-labeling.
                   v.    Ensure that the SPL file and the Prescribing Information templates incorporate
                         the same information (i.e. Highlights and Table of Contents match across both
                         documents).

                    E. Exclusivity

                    i.   Section 1.3.5.3 of your BLA submission, entitled “Exclusivity Claim,” requests
                         “new drug product exclusivity under section 505(b).” Specifically, you “claim new
                         chemical entity for five years.” BLAs, which are submitted under section 351 of
                         the Public Health Service Act, are not eligible for the periods of exclusivity
                         described in section 505 of the Federal Food, Drug, and Cosmetic Act and 21
                         CFR 314.108. However, certain BLAs submitted under section 351(a) may be
                         eligible for reference product exclusivity. (See section 351(k)(7) of the Public
                         Health Service Act). For additional information regarding reference product
                         exclusivity, including recommendations on information to submit in a 351(a) BLA
                         that can help the Agency determine eligibility for reference product exclusivity,
                         we refer you FDA’s draft guidance, “Reference Product Exclusivity for Biological
                         Products Filed Under Section 351(a) of the PHS Act -
                         https://www.fda.gov/regulatory-information/search-fda-guidance-
                         documents/reference-product-exclusivity-biological-products-filed-under-section-
                         351a-phs-act (this draft guidance, when finalized, will represent the Agency’s
                         current thinking on the topics therein).



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                    F. Financial Disclosure Information

                    i.   Resubmit updated financial disclosure information for your covered studies. An
                         applicant is required to submit to FDA a list of all clinical investigators who
                         conducted covered studies and to identify those who are full-time or part-time
                         employees of the sponsor of each covered study see (21 CFR § 54.4). This
                         information should be updated for relevant changes that occur during the course
                         of the investigation(s) and for one year following completion of the studies (see
                         21 CFR § 54.4(b)). Financial disclosure forms must be signed by the applicant
                         or an authorized representative (see 21 CFR 54.2(g) and 54.4(a)(1)). The
                         financial disclosure forms were signed by CytoDyn’s authorized representative
                         and not CytoDyn. Documentation that the representative is authorized to sign
                         on the CytoDyn’s behalf is needed.

               Please note that this filing review represents a preliminary review of the application and
               is not indicative of deficiencies that would be identified if we performed a complete
               review.

               Within 30 days of the date of this letter, you may request in writing a Type A meeting
               about our refusal to file the application. A meeting package should be submitted with
               this Type A meeting request. To file this application over FDA's protest, you must avail
               yourself of this meeting.

               If, after the meeting, you still do not agree with our conclusions, you may request that
               the application be filed over protest. In that case, the filing date will be 60 days after the
               date you requested the meeting. The application will be considered a new original
               application for user fee purposes, and you must remit the appropriate fee. If you choose
               to file over protest, FDA will generally not review any amendments to the application
               and will generally not issue information requests during the review cycle. Resubmission
               goals will not apply to any resubmission of this application.

               PROPOSED PROPRIETARY NAME

               If you intend to have a proprietary name for the above-referenced product, submit a new
               request for review of a proposed proprietary name when you resubmit the application.
               For questions regarding proprietary name review requests, please contact the OSE
               Project Management Staff via telephone at 301-796-3414 or via email at
               OSECONSULTS@cder.fda.gov.




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               If you have any questions, call Suzanne Strayhorn, Sr. Regulatory Project Manager, at
               (240) 402-4247 or (301) 796-1500.

                                                    Sincerely yours,

                                                    {See appended electronic signature page}

                                                    Debra Birnkrant, MD
                                                    Director
                                                    Division of Antivirals
                                                    Office of Infectious Diseases
                                                    Center for Drug Evaluation and Research




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          --------------------------------------------------------------------------------------------
          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
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          /s/
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          DEBRA B BIRNKRANT
          07/08/2020 05:07:34 PM




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                Exhibit E
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CytoDyn Investor Community Call April 2020
April 27th, 2020, 1:00 pm EST to April 27th, 2020, 1:48 pm EST

Participants
Nader Pourhassan, CEO
Bruce Patterson, MD
Jacob Lalezari, MD
Guest Speaker
Michael Mulholland, Interim CFO


Prepared Remarks
Operator:
Greetings and welcome to the CytoDyn Investment Community Conference Call.

At this time, all participants are in a listen-only mode. A question-and-answer session will follow the
presentation. If anyone should require operator assistance during the conference, please press star-
zero on your telephone keypad. Please note, this conference is being recorded.

I will now like to turn the conference over to our host, Michael Mulholland, Interim CFO. Thank you, you
may begin.

Michael Mulholland, Interim CFO:
Thank you.

Hello everyone, and thanks for joining us today. This is Michael Mulholland, Interim CFO of CytoDyn.
I'm joining us on today's call is our President and CEO, Dr. Nader Pourhassan, and doctors Bruce
Patterson and Jacob Lalezari.

Michael Mulholland, Interim CFO:
Before we begin, it is essential that we provide you with important cautionary language related to
certain federal securities laws.

Our remarks during today's conference call will include forward-looking statements. Forward-looking
statements are not guarantees of future performance and involve known and unknown risks,
uncertainties, and other factors that are difficult to predict.

Actual results may be materially different from any future results expressed or implied by such forward-
looking statements. These risks and uncertainties include, among other matters: statements regarding
Leronlimab's potential efficacy in certain immunology and oncology indications; the company's ongoing
ability to raise additional new capital; that clinical trials may not commence or proceed as planned;
products that appear promising in early trials may not subsequently proved to be viable on safety or
efficacy grounds; products may not receive regulatory approval or market acceptance; competition may
reduce the commercial potential of our products; we may experience product recalls, manufacturing
issues or product liability; and, our patents may be challenged, or unenforceable.

Although forward-looking statements help to provide complete information about the company, forward-
looking statements may be less reliable than historical information. The company undertakes no
obligation to update publicly these forward-looking statements except as required by Law. Please refer
to our recent quarterly and annual reports filed with the Securities and Exchange Commission for
more information about the risks and uncertainties that could cause actual results to differ materially
as compared to our current expectations.

I would now like to turn the call over to Dr. Nader Pourhassan. Nader?

Nader Pourhassan, CEO:
Thank you, Mike and thank you all for being on this call. Today we have some exciting news for the use
of leronlimab in treating patients infected with COVID-19. Dr. Bruce Patterson will address this news
shortly.

The format of today's update is, first, the BLA submission update, two, the cancer update, and the third
one, the exciting news about what Dr. Patterson has discovered from the blood sample analysis of the
patients that were enrolled by Dr. Harish Seethamraju at the Montefiore Medical Center.

Nader Pourhassan, CEO:
The first update is the BLA submission, which is a historical achievement for CytoDyn.

As everyone knows, the BLA timeline was pushed back constantly. These push-backs were all due to
Cytodyn's success. The first success is with a higher dose of leronlimab in monotherapy. Then it got
pushed back because of the success of leronlimab application in coronavirus and overwhelming
interest from hospitals and patients to get leronlimab, which led to initiation of two new clinical trials,
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which takes a tremendous amount of work from our CRO and our CytoDyn team.

Then it got pushed back because of the coronavirus shutdown of the lab side, and even the
manufacturing of leronlimab that shorted [out] the availability of our stability data from AGC.

Nader Pourhassan, CEO:
Our success with cancer also contributed to our delay of the BLA. Initiating two trials for over 20
different chances is not an easy task. Ask anyone in this field, and they will inform you.

The good news is, CytoDyn just filed the full BLA last night without slowing down our cancer programs,
without slowing down our impressive work in coronavirus, and without blinking on the tremendous
financial pressure from everywhere.

Nader Pourhassan, CEO:
Congratulations to Amerex for not letting down all of our shareholders and many patients in great need
of leronlimab. Special thanks goes to Dr. Cush Doty and the main person at Amerex, their CEO, Dr.
Kossam Kosampur, and to CytoDyn's team, especially our Chief Technology Officer, Dr. Nitya Ray who
took the CMC shattered pieces and successfully put it back together in an artistic fashion; and in doing
so, he also finalized a superb deal for CytoDyn with Samsung Biologics. So in short, ladies and
gentlemen, the BLA is submitted.

Nader Pourhassan, CEO:
Second update is about our cancer program.

Nearly all the cancer patients, more than 12 or so, end up having zero CTCs -- circulating tumor cells
-- after 3 to 6 weeks of treatment with leronlimab. While most of the patients are not able to give us
blood samples for the CTC analysis during the last few months due to the travel ban because of
COVID-19, I can report to you in regards to my own family member who is on leronlimab and has
breast cancer HER2+ with metastasis to liver, lung, and brain.

Just in regards to the metastasis who have brain. The latest MRI has indicated very positive results.
The doctor told my wife about her mother's condition last week that, and I'm quoting, he never
imagined her situation to be like it is today. Furthermore, he indicated that all the credits for not having
brain metastases all over her brain goes to leronlimab. She still has a spot and lesions, but overall
doing fantastic. My mother-in-law wanted me to thank all the shareholders of CytoDyn for making
leronlimab available to patients like herself. She believes she's alive today because of CytoDyn's
shareholders.

Nader Pourhassan, CEO:
But her testimony about her life being saved with leronlimab is not the only testimony from cancer
patients, and it is certainly not the only indication that lives are being saved by leronlimab. There are a
few testimonies like this in our current war against COVID-19. To have a solution against COVID-19 is
to save humanity from a powerful plague. A plague that is taking lives by thousands every day, and that
brings us to today's most powerful news of CytoDyn's history. In the past, I thought the day we filed the
BLA, after all these tremendous obstacles, that the BLA filing would be the biggest news of CytoDyn's
history. But thank God it is not the case. We have news that is by far much larger than the BLA.

Nader Pourhassan, CEO:
So allow me to update you on our fight against COVID-19 with leronlimab. Blood sample analysis of
the first 10 patients that were enrolled in emergency IND at Montefiore Medical Center were analyzed
by Dr. Bruce Patterson, day 0, 3, 7, 14, 21, and some cases day 28, whatever ability data they have,
revealed some exciting news. And Dr. Patterson will address them.

I want to emphasize here that without Dr. Seethamraju's heroic board action to use leronlimab in
COVID-19 patients, none of these discoveries would have been possible. And many thanks to Dr.
Patterson for his tireless effort in discovery and laboratory analysis to assist CytoDyn in saving
patients' lives.

It is very important, as CytoDyn's story gets unfolded, that shareholders realize the value that one man
has brought to us, and he is CytoDyn's chairman of the board and chief medical officer, Dr. Scott Kelly.
One of his many supports for CytoDyn was the introduction of Dr. Bruce Patterson to CytoDyn. He also
is the man who has pushed all the non-HIV indication of leronlimab forward and supported me in this
difficult task without any limits. As the CEO of CytoDyn, I went through a lot of challenges in the last
eight years, and without Dr. Kelly, most of our victories would not been possible. And I probably would
not be here today enjoying this wonderful success with you, shareholders.

Nader Pourhassan, CEO:
So back to the update with coronavirus. This blood sample analysis by Dr. Bruce Patterson are all
taking place at IncellDx, the diagnostic laboratory that Dr. Bruce Patterson founded and is the CEO of.
CytoDyn has signed an agreement with IncellDx to conduct all tests needed for our COVID-19
patients, and in the future, perhaps, our cancer patients. These results are impressive and we expect
probably several publications surrounding these findings to be out in the next few days and weeks.

As of this morning. Dr. Bruce Patterson believes, he has discovered several very important facts about
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COVID-19 that could have a very strong impact on the war against COVID-19. So Dr. Bruce Patterson,
could you please give those updates to the shareholders?

Bruce Patterson, MD:
Yeah. Thank you, Nader. It's it's a real pleasure to be on this call. But most importantly, it's a pleasure
to be able to reveal what we've discovered and how that could potentially help this horrible pandemic
and get people back to work and save patients' lives.

Most importantly, we've heard a lot about interleukin-6 as being the key to the cytokine storm. Well, I'm
telling you today COVID-19 is a RANTES disease. RANTES is the protein that binds to CCR5, and it's
elevated to levels that are equivalent to an even greater [degree] than interleukin-6, both in mild-to-
moderate patients, and in critically ill patients. The RANTES has also been attributed to renal failure,
liver failure, and coagulation issues. So, there is nothing that RANTES hasn't been involved in, and that
makes sense because RANTES coordinates the movements of cells throughout the body.

Bruce Patterson, MD:
Second, treatment of leronlimab in these patients brought IL-6 down by 14 days to normal levels,
which was truly amazing. And that [was] by a combination of inhibiting the sequestration of
macrophages in the lungs, and also the change in the production of IL-6, the re-polarization that we've
heard about, and changing macrophages away from the pro-inflammatory phenotype. In addition,
leronlimab restored the immune cells in a horrible immune suppression, so that by day 14 the CD4/
CD8 ratios that were used also to measure immunosuppression in HIV-AIDS were restored to normal
over 14 days. Most importantly, and this was uh, all we could hope for, because we knew that we
blocked key regulatory cells which inhibit the immune response as well as other factors,
leronlimab decreases plasma viral loads.

We are the first to report the ability to quantify virus in the plasma. And this is the first report that this
immune modulator, not an antiviral, is responsible for reductions in plasma virus, as if it were an
antiviral. That is remarkable for one drug to restore the immune system, and decrease the viral burden
in these patients. That is what gives us great hope and great excitement about leronlimab going
forward in these trials.

Bruce Patterson, MD:
The cautionary aspect of that finding is that we have to be concerned about our blood supply.
Coronavirus now exists in blood, not just the lungs, and current testing for the blood supply, including
units given to patients, plasma, has not been determined, and has not been addressed appropriately.

So, these findings are dramatic, they are all very exciting and unreported in COVID-19 infection. And
up-regulation of RANTES can account for a role in just about all the comorbidities in COVID-19
infection. In the use of leronlimab, our hope is that in addition to restoring lung function, we also reduce
the comorbidity in these patients.

So, I'll turn it back over to Nader at this point.

Nader Pourhassan, CEO:
Thank you so much, Dr. Patterson. Next speaker for us is Dr. Jacob. Lalezari. He is known for
conducting many clinical trials with new potential drugs. He knows the process very well; Dr. Lalezari is
very familiar with all the data that is coming out of Dr. Patterson's lab, and all the clinical outcome
[data] of our emergency IND patients. And what he has seen until now has convinced him, one
hundred percent, that the war against COVID-19 has the potential of victory through leronlimab. Dr.
Lalezari, please tell us your thoughts so far.

Jacob Lalezari, MD:
Thank you, Nader, and good morning everyone. It is a great relief to be able to speak plainly and
openly now. For the last two three weeks Nader and Bruce, and the core team and I have been sitting
on these data that point to remarkable proof-of-concept -- remarkable work that Bruce is done -- and
not being able to share it while we see the carnage on TV has been agonizing.

I'd like to just start by again saying that I don't have any equity or stock in this company. So, I am as
much impartial as possible and impartial broker; it will be plenty for me to get a good night's sleep
when this is over. Talk about forward-looking statements -- my focus for CytoDyn now is really three
things. I would like to see -- and I'll circle back in a minute as to why these are my priorities -- I would
like to see some sort of compassionate use access for ICU patients, doctors, nurses, respiratory
therapists, who are all in an impossible situation. It's clear that this drug is working. It's working better
than we could have ever imagined. I'll get back to that in a minute. And the sooner we bring relief to
those people in those critical situations, the better.

Jacob Lalezari, MD:
I'm obviously hoping that the manufacturing of this drug is ramped up as soon as possible, because
we're going to have to address a world-wide need for this. And to that end, I've already made contact
with folks at World Health, and at Gates, and at the Clinton Foundation to begin the conversation.

This really has been an amazing story, I'll just touch base on four points.
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Jacob Lalezari, MD:
On March 20th, we wrote the FDA suggesting that instead of an emergency IND process, we do a
compassionate use, because it would be too much paperwork and too complicated, and that was
based on seeing two or four patients at the Montfiore ICU extubated within 48 hours -- which seemed
like a remarkable result -- although, an anecdote at best -- but still, and at that point we said, let's do a
compassionate use and not have these doctors who are so busy do all these IND applications.

We wrote to them again on March 27th and said we would like to have a compassionate use protocol,
because we now see that in four of four of these patients from the ICU that Dr. Patterson is showing
us, this rapid balancing of the immune system -- CD4/CD8 counts, and rapid decreases in IL-6 and
other cytokines. You know that's of course, it's a 1 and 16 chance that you get four wins in a row, but
they said no.

Jacob Lalezari, MD:
But then the key day was on April 8th, when we wrote back to them again and said the situation has
become morally perilous in that we now see seven of seven patients having these incredible laboratory
responses that Bruce is showing, and moreover, we now know that if they seem too good, they're not
too good to be true because now we know that RANTES is driving the disease.

Jacob Lalezari, MD:
It was incredible good luck for CytoDyn. It was born of good intentions to think that we could influence
migration of regulatory T-cells and the polarization of macrophages and thereby affect clinical
outcomes in COVID-19. But we didn't know and what was incredibly lucky for CytoDyn, and I think for
all of humanity, is that this process is fundamentally being driven by RANTES and RANTES' job in life
is to fundamentally bind to CCR5.

So when we interrupt that access, we are breaking the basic parthenogenesis of the disease, and that
explains these extraordinary laboratory findings, where seriously critically ill patients are showing
return of immune homeostasis within days of a single Sub-Q injection. And that in itself is astonishing
-- and it seemed too astonishing, really, until we understood that RANTES was driving the disease.
And then the last time we asked FDA for compassionate use, when Bruce remarkably showed his viral
load decreases in all patients. So I think it has been an incredible story. It's been fortunate in that it's all
come through this hodgepodge of emergency IND. We are obviously trying to enroll the clinical studies
as fast as we can. But in the meantime, there's no doubt in my mind anymore about how important a
drug this is going to be for COVID-19, and I'll leave it there.

Nader Pourhassan, CEO:
Thank you so much. I appreciate that, Dr. Lalezari. So just a few more updates. Over 50 emergency
INDs have been approved by the FDA so far to CytoDyn. Most of these patients have been injected,
but not all. Data out of the patients in treatment with leronlimab in emergency INDs are anecdotal, but
some have remarkable results. Our phase 2 COVID-19 enrollment is going very well, and we are now
more than one-third enrolled, and we believe the other two thirds would be much faster, because now
we have more sites enrolled.

Our phase 2b/3 COVID-19 enrollment is at 12 patients, and we are hoping to do interim analysis at 50;
again, the sights are set. So we believe this could go pretty fast -- much faster than the initial 12.

Nader Pourhassan, CEO:
The next update is that the FDA approved the name of Vyrologix for our product leronlimab. So
hopefully, in commercialization, leronlimab will be under the Vyrologix name. In regards to fundraising,
I will just say a few words. And I can not count how many times in the past I have told our board that I
will not raise large funds at thirty cents because we believed we can get to a much higher level in our
stock price. That's what we were hoping for and believed in. Mr. Jordan Nandenoff and Dr. Scott Kelly
were amongst the main supporters for me in this regard, and all through these years.

Nader Pourhassan, CEO:
And today, I am still thinking the same way. We are way undervalued to raise large funds unless we
can uplist. We will update everyone about all this very soon, how we are going forward with our
fundraising. As everyone knows, our last fundraising was at $4.50, without any warrants. So with that
allow us to go to Q&A.


Q&A
Operator:
Thank you. At this time, we will conduct our question-and-answer session. If you would like to ask a
question, please press star one on your telephone keypad. A confirmation tone will indicate that your
line is in the question queue. You may press star-two if you would like to remove your question from the
queue. For participants using speaker equipment, please pick up your handset before pressing the star
keys. We will pause for a few moments as we collect questions. Thank you.

And once again, to ask the question, press star-one on your telephone keypad. Our first question
comes from Yi Chen with HC Wainwright. Please state your question. Okay, please press star one
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more time, if you're connected via chat. ... I will now move on to the next question; and the next
question comes from Jeff Pfeiffer. Please go ahead. Jeff Pfeiffer, your line is open.

Nader Pourhassan, CEO:
Hello. Perhaps they don't know what to push? Maybe you want to run over, I mean, yeah, maybe go
over the instructions.

Operator:
Sure. Just another reminder, to ask a question, press star one on your telephone keypad. One moment.

Nader Pourhassan, CEO:
This is going to be good as there's no questions.

Operator:
Our question comes from Kevin Wiel with [garbled], go ahead with your question, please.

Guest Speaker:
Yes, can you hear me?

Nader Pourhassan, CEO:
Yes, please. Go ahead.

Guest Speaker:
Yes, so given the potential for leronlimab in COVID-19 and lung diseases, and the great expense of
running trials which could easily run into hundreds of millions of dollars, it's wise pick low-lying fruits,
but it's also wise to pick indications with great market. So, for instance: COPD, which the Yale group is
looking at, and potentially asthma. I was wondering what the potential for considering those indications
is, what the priorities are?

Nader Pourhassan, CEO:
So, our priority is now continue with the coronavirus. First thing, because this is what is dangerous for
the whole world, and looks like we have some very positive data. So we are going full blast with that.

We're not going to slow down the cancer, because that's a deadly disease. And, this is a small
company, small limited resources, and we are now being noticed, so we are gonna just, you know,
keep going forward. The BLA got filed. As everybody realized, it was difficult. So the path, going
forward, is these three indications right now: cancer, 23 different cancers, and the other indications
that we have, like NASH, GVHD. We are definitely looking for licensing, agreement for those
indications. But yeah, we probably are not looking at asthma or other indications that they have
brought to us, people are brought to us. There are some indications that we might look, because they
have a lot of funding around it, for example, influenza, but we will talk about those at a later time.

Next question, please.

Operator:
Thank you. Our next question comes from Peter Levine with Ameriprise. Please state your question.

Guest Speaker:
Hi. Can everybody hear me?

Nader Pourhassan, CEO:
Yes, go ahead.

Guest Speaker:
All right. I was wondering. And I may have missed this, but do you have an estimate date of when you'll
have the analysis of the first 50 patients? The interim analysis?

Nader Pourhassan, CEO:
So. Thank you for your question. Probably, we'll have the 75 patients in the Phase 2 much quicker than
the 50 patients. We never know, but at the rate that we're going, probably, four weeks, we should have
50 patients in that population. But our goal right now is to get the 75 patients, because that one, we
believe, it would be much faster.

Guest Speaker:
And that, so to clarify that you believe...

Jacob Lalezari, MD:
It would be three to four weeks.

Nader Pourhassan, CEO:
Oh. That's what we believe. And please keep in mind that I have been right 2 out of I think hundred of
the last guesses that I had. So, I'll try to make my guesses better, but this is very difficult environment
to make guesses. But, but we are hopeful that we could do it very quickly.
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Guest Speaker:
Okay. Thank you.

Operator:
Thank you and next question comes from Robert Beck with Pinnacle Investments. Please state your
question.

Guest Speaker:
Hi. Can you hear me?

Nader Pourhassan, CEO:
Yes, go ahead.

Guest Speaker:
Great. My question is for the last doctor. Excuse me if I'm mispronouncing your name.

Jacob Lalezari, MD:
Yes. Dr. Lalezari.

Guest Speaker:
Yes. You said in the last call and this call that you're not a shareholder, and I'm just wondering why
that's the case. Is it something that you feel is too risky or why wouldn't you also be a shareholder, if
things are working better than you could have even imagined?

Jacob Lalezari, MD:
Well, so my primary job in life, or hobby, is I run a clinical virology research program in San Francisco,
Quest Clinical Research. I've never owned stock. I've done about 350 or 400 clinical studies now, and
I've never owned stock, and never thought it was right to own stock, and I just stepped in to help Nader
as CMO and then CSO in their dealings with the FDA around COVID-19. So this is just a voluntary sort
of ...

Guest Speaker:
I get it.

Nader Pourhassan, CEO:
Let me answer -- if you don't mind, let me answer that question in a different way. Sometimes,
everything in life is not about money only, and some people look at things like Jay does: saving
patients' lives means a lot to him. He gets a kick out of it. So go ahead, please.

Guest Speaker:
That's great. I have another follow-up question. So, the clinical data seems to be amazing, and very
exciting. How long do you think it will get to go through the FDA? And then, the second question is,
when do you think you're going to get off the pink sheets?

Nader Pourhassan, CEO:
Now these are great questions. Thank you. So with FDA, as you know, we have to be very careful to
follow their guidance. They're excellent in giving us guidance.

They are the ones that led us to this path of Phase 2 and Phase 3 that we are enjoying seeing the
enrollment going picking up. So we're going to follow everything they said. We don't know when we're
going to get approval.

Again, if we get them (guidance), you're going to be upset; if our guidance just doesn't go through and
if we don't get (guidance), people are going to say why you say "no comment"? But this time, you
know, we are very close to finishing the 75 patients, you know, three or four weeks, I believe but let's
see what happens in regards to pink sheets, Mike. Would you like to talk about uplisting?

Michael Mulholland, Interim CFO:
Just briefly, there's three quantitative criteria that we've got circled and have been totally dialed-in on
these last couple of years.

Quite simply, number one, is the stock price: needing to meet the minimum threshold for New York or
NASDAQ. Number: two sufficient levels of positive stockholders' equity at the time of uplist, and lastly,
depending on the exchange we would uplist to, anywhere from twelve to eighteen months of projected
cash requirements on the balance sheet at the time. So as we move forward, we're checking off the
list, and we're making some great progress.

Nader Pourhassan, CEO:
Thank you. Mike. Next question, please. Thank your for your question.

Operator:
Thank you. Our next question comes from Yi Chen with HC Wainwright. Please state your question.
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Guest Speaker:
Hi. Thank you for taking my question. So regarding the decreasing viral log, can you tell us how soon
that happens, and what's the scale of decrease? And what's the duration of the viral load decrease?
Does that suggest that leronlimab could potentially be developed as a chronic therapy for COVID-19
vector patients?

Nader Pourhassan, CEO:
Bruce, please. Dr. Patterson, could you please?

Bruce Patterson, MD:
Yea sure. I mean all of that is going into our paper which should go out in the next 24 hours. The extent
I can tell you is statistically significant, and it occurs within seven days. So it's concomitant with the
restoration of the immune system, decrease in T-Regs, T-Reg receptor occupancy.

All of this is contributing to all-of-a-sudden the body being able to clear virally-infected cells. So it's all
very exciting, but the ramifications are profound, because when you think about viral infections, you
can't think about viral infections without the immune system.

And when you're thinking about emerging pathogens and emerging viruses that may come in the
future, this has to be the front line for therapy, knowing that the enhancement of the innate immune
response in the absence of adaptive immunity, because you've never seen the virus before.

It's supremely encouraging -- not only for now, and not only for COVID-19 -- but for the future in being
able to be more prepared for emerging infections in the future, because obviously enhancing the
immune system is important.

Bruce Patterson, MD:
And the fact is, we saw this in cancer. When we saw the results of leronlimab in cancer, we
hypothesized that is was because of the blockade of T-regs, which inhibit the immune response, and
also the repolarization of the macrophages making them anti-tumor. The fact is, cleared virally-infected
cells and tumor cells is very similar. And we learned from Opdivo and Keytruda that your body is the
most important weapon that we have against both cancer and viruses.

And, the same is true, and even more so, with leronlimab , which is got a more generalized even
mechanism of action than PDL-1 -- not all tumors are PDL-1 positive, but I guarantee you, all the
tumors that are in the basket trial will have cells surrounding them -- infiltrates of cells that are CCR5
positive. Now, not every tumor will be CCR5 positive, but we have shown that that doesn't matter. So
what we have found in COVID-19 mechanistically has profound importance in CytoDyn's cancer
program, and just does nothing but support the reasons why we went into cancer.

Guest Speaker:
I mean, but do you think it's conceivable that leronlimab could be developed as a chronic therapy for
COVID-19, or do you think it is possible at a certain point the source -- covid -- plasma could be
annihilated? Is that important?


Bruce Patterson, MD:
Well, listen, I mean, I think we've shown that this could be the one drug that does it all. And, again, I
think the mild-to-moderate trial will show that.

I mean, we're -- we show in the paper that's about to be submitted that RANTES is extremely elevated
in the mild-to-moderate -- immediately. Not IL-6. RANTES! So it's almost immediate that Ramses is
upregulated, which starts this vicious cycle of an influx of immune cells making more cytokines and
more chemokines, and you know more cells coming in, and eventually immune sequestration, and
potentially, immune exhaustion.

And, you know, if in turn that restores the immune response even in the mild-to-moderate and it
reduces viral load, you know, it may be the one single bullet that everybody's talking about.



Guest Speaker:
Nader, you previously mentioned that CytoDyn will apply for government grants for leronlimab as a
treatment for covid-19. Can you provide us an update on that?

Nader Pourhassan, CEO:
So that's because we can't talk about the name of the government agency. I can tell you that that's
going forward. Dr. Scott Kelly is taking care of those applications that we were given a green light by
the government agencies saying that "we wanted to see your application", and we are interested in
funding, and Dr. Bruce Patterson has been very much involved in that, but we will update everybody
hopefully very soon. This is one another reason that I am not raising funds very quickly.
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Guest Speaker:
My final question is regarding the monotherapy for HIV patients. When do you think that trial -- the
ongoing trial is going to be completed? And when do you think you can start the registration directives
in the trial?

Nader Pourhassan, CEO:
Because Amerex has been putting every person that works in that building on our project, and they
continue with the other projects that they have [moved on] very slowly because of us, we just don't
have the resources and funding. What we want to focus our efforts right now.

The major, major importance to me is dilution of CytoDyn. When we took over in July 2018, we did not
dilute the company in the last year-and-a-half the way it was being diluted before. So now my focus is
just to be careful with the dilution. So if we're going to do anything else like monotherapy, we need to
take a little bit pause and not push that very fast. That's for the quality of life; saving life is our number
one priority -- quality of life would be the second. So we're going to wait on that a little bit.

Guest Speaker:
Okay. Thank you.

Nader Pourhassan, CEO:
Yeah. Thank you. Next question, please?

Operator:
Our next question comes from Gus Rodrigo with Westpark Capital. Please state your question.

Guest Speaker:
Hey, gentlemen. Can you hear me okay?

Nader Pourhassan, CEO:
Yes. Go ahead, please.

Guest Speaker:
Excellent, excellent. You mentioned at the last round of funding that you guys did was at the $4.50
level, but there were no warrants issued. Is there any other funding that been done prior with any
warrants that might provide funding for the company going forward to alleviate some of the capital
pressures?

Nader Pourhassan, CEO:
Mike, could you please --




Michael Mulholland, Interim CFO:
Yeah. Thanks for asking. A brief look at our cap table would indicate that we have well in excess of one
hundred million warrants still outstanding; as a matter of fact, in the subsequent events footnotes in our
10-Q that was filed a couple of weeks ago, we indicated or disclosed that from March one until early
April in about a five-week period, we raised over $7.4 million dollars. And so, now with a firming stock
price, we expect to be able to add more capital to the company, just through organic natural exercises
of our existing outstanding warrants.

Nader Pourhassan, CEO:
And I believe we have about ten million in the last few months that we have received for warrants
altogether?

Michael Mulholland, Interim CFO:
Yeah.

Guest Speaker:
What's the exercise price on those warrants?

Michael Mulholland, Interim CFO:
The weighted average is about $0.65.

Guest Speaker:
Okay. Any call feature on those, or were you guys in the company able to call them if you wanted?
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Michael Mulholland, Interim CFO:
No call feature.

Guest Speaker:
All right, excellent. All right. Thank you very much.

Nader Pourhassan, CEO:
Thank you. Next question?

Operator:
Our next question comes from Mark Lieber with Newmark. Please state your question.

Guest Speaker:
Hi. Congratulations, everyone. Sounds very exciting.

Nader Pourhassan, CEO:
Thank you.

Guest Speaker:
You had mentioned that there was something coming from The English Department of Health? Also
did your drug ever get used on Boris Johnson? And lastly, there was going to be an article in the New
England Journal of Medicine. Did that happen?

Nader Pourhassan, CEO:
Yes. So thank you for your question. New England Journal of Medicine was published, and I really want
to bring everybody's attention to the cytokine storm data that was attached to that letter that was
published. Dr. Bruce Patterson evaluated those numbers.

And in regards to UK, we have already started the process of getting a compassionate use the
agreement and probably having our trial enrolled in the United Kingdom, and we will update to the
whole shareholders as soon as we have more information about that.

Next question --

Guest Speaker:
Boris Johnson?

Nader Pourhassan, CEO:
No, no, we did not give our product to Boris Johnson.

Operator:
The next question comes from Nick Cova with Tenaska Capital. Please state your question.

Guest Speaker:
Ah, yeah. Congratulations guys. One thing I wanted to find out about was, given that the FDA relaxing
the telehealth requirements, could the cancer patients use a combination of a local doctor plus
telehealth with Dr. Lalezari to commence participation in our cancer trials?

Nader Pourhassan, CEO:
So that's another thing we are working on. But again, you have to have the first injection has to have
happened, and the instruction that needs to be followed and all that. So we're working on all of that.
But again, that's another thing that, you know, is on our list.

Guest Speaker:
Okay. Another question I had was, in our February 6th conference call you say the doctor Kelly had
identified a company that do preclinical study on NASH, and can you provide any update on that
preclinical work?

Nader Pourhassan, CEO:
Yeah, absolutely. That study is going forward, and Dr. Kelly's involved in it, and he's watching over that,
so it'll be a few weeks is still before we can get any information. It takes like six-to-eight weeks to study.


Guest Speaker:
Okay, and last question I had was, given that the FDA wanted all of our CD-03 mono trial data filed
with this combo BLA, what are your chances or your expectations regarding the FDA giving some kind
of nod on mono, based on that data being submitted?

Nader Pourhassan, CEO:
I think it's zero chance. That's what I think. Because FDA has rules and regulation that is superb. We
love that. We want to obey those laws and the laws, the regulation that they explain to us is they want
it in another's trial if it'll try and that's it.
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And I think, I actually agree with them. It has to be a pristine trial that shows the efficacy with no doubt.
When you take patients out of the pills, they're concerned about resistance. They're concerned about
many things, and we have to answer all those questions and we will do it in another trial, but I see zero
chances of them giving us approval on monotherapy based upon this investigative trial, which they
were very kind to let us conduct. Over 600 patients. Nobody thought we would do a monotherapy over
600 patients when at the very beginning the FDA said: "You're not allowed to do more than 12 patients.
You need to form a Data Safety Monitoring Board", because they were worried about the patients. And
that's the main job at the FDA. I believe the main concern is, is that going to hurt the patients or not?

Nader Pourhassan, CEO:
Thank you. Next question. Next please. [Crosstalk.] Oh, go ahead, go ahead, Nick. Go ahead.

Guest Speaker:
I'm just going to say one last thing. You mentioned work on getting approval in Taiwan and China. Any
updates on that?

Nader Pourhassan, CEO:
Yep. Yes, so in regards to Taiwan and China, Dr. Brendan Rae, business development, and now the
head of our business development, Dr. Scott Kelly, who has two positions now, they're working together
very closely with several different companies. I don't want to give any updates on those. We have
enough updates in my opinion right now. But I do like to talk about them very soon when we get to a
more firm position with these companies, but we are working on it -- with China, not Taiwan. Taiwan we
have put that on the back burner for now.

Guest Speaker:
Okay. Thank you.

Nader Pourhassan, CEO:
Next question, please.

Operator:
Our next question comes from Robert Tycher with Paulson Investments. Please state your question.

Guest Speaker:
Yeah. Hello. Can you hear me?

Nader Pourhassan, CEO:
Yes, go ahead please.

Guest Speaker:
I have a couple questions. One being a layman, Dr. Patterson talked about... what is it? RANCID?
Could you spell what it is? RANCID? I'm not quite sure. RAMSES? What is the, umm...

Bruce Patterson, MD:
Yeah... it's RANTES -- R A N T E S.

Guest Speaker:
R A N T E S. And now --

Bruce Patterson, MD:
The other name for it is CCL5. That's a more current name.

Guest Speaker:
CCL5?

Bruce Patterson, MD:
CCL5, yes.

Guest Speaker:
Right. So what is the difference? I mean if you could just elaborate for just a moment... [Dr. Nader
Pourhassan: "excuse me, excuse me, please ask questions related to CytoDyn; the detailed science
questions we will have to refer you to the journal"]. All right — well, I'm sorry. [crosstalk]

If I may, there are a number of people who have observed that there's something political going on with
this hydroxychloroquine and then with the other — remdesivir. There's not nearly as much mention of
leronlimab. There is some, and I'm wondering why, after all of this, with so many people in such dire
condition, why compassionate use has not been approved? It seems to me to be the number one thing
here, and I'm sure everyone on this call — so many other people are concerned about that. When do
you think that they will finally, the patients are in such dire condition, why will they not allow
compassionate use?

Nader Pourhassan, CEO:
So let me repeat what I have said over and over again. FDA has a tremendous responsibility and
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they're performing it in the most spectacular way; trust me. I'm from Iran. I know the FDA in Iran: it
sucks! Now this country has this kind of regulatory environment, and you guys should really appreciate
it: because they want to make sure that the safety of the patients are important.

When 200 companies run to them say, "hey, we got the solution to coronavirus! Please say something
positive so our stock can go up", they get worried. They get worried about patients to help. So they
have given us everything we have asked for. What else do they want to do?

Now the compassionate use, they are working on that also. They have given us some positive
feedback of what to do to enroll patients faster. The FDA is on the side of United States citizen trying to
help them to have a product that is good.

And leronlimab? We were not on the map. Nobody thought we were on the map. We didn't know. Dr.
Patterson and Dr. Scott Kelly had talked about it, And then when doctor Sid Hamraoo from Montefiore
Medical Center heroically came forward and said "I need this": that is what started everything. Thank
God for that. But other than that, please trust me on that. FDA is doing everything right, in my opinion.
Okay, with that, let's finish the call please, operator.

Operator:
Thank you. This concludes today's conference. All parties may disconnect. Have a great day. Thank
you everybody, bye-bye.


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Leronlimab Discussion With Dr. Been, July 4
July 4th, 2020, 3:00 pm EST to July 4th, 2020, 3:58 pm EST

Participants
Nader Pourhassan, CEO
Dr. Mobeen Syed

Dr. Mobeen Syed:
This is Dr. Mobeen Syed from www.drbeen.com.

Today we have a very important guest with us. You have been asking for having him here, having to
talk about leronlimab. He is the CEO and founder, and the director, and the president of CytoDyn.

Leronlimab, as you may have heard before, and if not — it is a monoclonal antibody, which has very
very promising results for HIV and other studies that led — and Dr. Pourhassan will talk about that. It is
a very promising outcome for the COVID-19 patients as well, for which we are very, very excited. So I
wanted to make sure that we can talk with Dr. Pourhassan.

So Dr. Pourhassan, welcome.

Nader Pourhassan, CEO:
Thank you for having me, Doctor. I appreciate it.


CEO & CytoDyn Background
Dr. Mobeen Syed:
Very good. So, I have a number of questions that we have curated from some of our #koolbeens. And
then I am sure that there are going to be questions as we talk live as well, so I will mix those questions.

The very important first question that I have been asked a lot is your own background. So
somebody mentioned that you are from a mechanical engineering background, and how did you come
to found and run this company? So, tell us a little bit about yourself.

Nader Pourhassan, CEO:
Thank you, and I appreciate it for having me.

And yes. I came to the United States when I was 14 years old. And at that time, I went to school
and got my Bachelor's of Science in Mechanical Engineering, then my Master's Program.

But when I got my master's, my dad was kicked out of the army in the Iranian revolution. So I was able
to go to — my dad wanted me to do business and take care of the family: my mother and four brothers,
and children — my four brothers and sisters. I did that while I got my PhD in Mechanical Engineering.
So, I had 25 years of experience with business, which I did very well with. And I had my difficulties of,
at some point we didn't work, but I came back and every time I fell down on business, I was able to
get up again.

Nader Pourhassan, CEO:
So with all that, my wife asked me to join CytoDyn, because she thought that would be a noble thing to
do, to be able to save lives and be able to make, you know, money for the shareholders also. So that
would be a great business. So I left my teaching job that I had at the Center for Advanced Learning
and closed all the businesses.

And my wife actually funded — we didn't have a lot of money — we funded my first year of working at
CytoDyn, raised money and then, when we saw that the drug that was there at the time I was there,
was not working, I was very fortunate to find PRO-140.

Nader Pourhassan, CEO:
When I found out PRO-140, I was taught a lot of things by the inventor of PRO-140, Dr. Paul Maddon, I
was taught quite a bit of stuff from drug development from Amarex: Dr. Kossam Kosampur, Dr. Cush
Dhody.

Once I got my training in regulatory, and be able to know what to do to make that drug work and get it
through approval, I changed everything in the company. We let the scientists that we had actually go,
because we needed a drug development path, not a new molecule. And that's when I brought in Dr.
Robert Schooley from University of California in San Diego, Dr. Paul Maddon — the inventor, Dr. Scott
Hammer, Dr. Jay Lalezari, who has been tremendous for us.

And with those people around me, we were able to talk about options, and I selected monotherapy
and the rest just, you know, ten — six — the last six years it's just been developing to where we are
right now.
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Current State of CytoDyn
Dr. Mobeen Syed:
Awesome.

So I actually — fascinating background, and thank you very much for taking on this challenge. One
thing that is asked, and you mentioned a little bit about that as well, is CytoDyn itself.

Tell us a little bit about the company and how is it progressing? How is it adding value for the patients,
for the shareholders, for the employees? What is happening at CytoDyn?

Nader Pourhassan, CEO:
So at CytoDyn, I have always said to everybody that we believe that monotherapy PRO-140 would be
a very appropriate path.

At the time I said that, some of the board members almost fired me. And the FDA wasn't very happy at
that time. They made us have a Data Safety Monitoring Board and only due to our patients. At that
time, we bought PRO-140 for three and half million dollars down payment, and nobody thought there
was a path forward a bit — but me.

So I saw that through Doctor Roberts fully, not myself. Doctor David [Feigal?] was in touch with us at
that time. Doctors from ViiV were in touch with us — John Pottage.

Nader Pourhassan, CEO:
And after studying it very carefully, we went in that path, and CytoDyn was on the brink of bankruptcy
when I got it. They had $2 in the account and they had bankruptcy papers filed. It was my wife who
funded it and we got back on our feet over there and then... PRO-140 was a big challenge because
nobody believed in the pathway forward. But once we got the first results of monotherapy and patients
from the HIV world said "I want this" — "there is no more pills for me" ... four-to-five pills every day at
the exact time.

So that impacted patients, and we had a video that — ten patients who said "wow", they cry. They said
"you gave our life back to us". That feeling of being able to touch a person's life in that way was not
something I was used to. As a medical doctor, you and your colleagues are very well used to saving
people's life. I wasn't.

Nader Pourhassan, CEO:
And that gave me a tremendous energy.

And when I started looking at the other aspects of this product, I realized that there is a lot of potential.
And this product is all credited to Dr. Paul Maddon and William Olson — not me! I did not make this
product. I should get zero credit for that. The credit I should get is that I was fortunate enough to find
the right business path for it, and develop it to this point.

Nader Pourhassan, CEO:
So CytoDyn is now sitting at about 3 and 1/2 billion dollars, so from 3 and 1/2 million. But the
product — we're fortunate, thank God, to get it to 3 and 1/2 billion. And that's what — everybody's
excited, and I am excited, all the shareholders are excited, and we hope to build on that.

Dr. Mobeen Syed:
Excellent. Thank you very much. And I want to — so of course, thank you very much that you are so
generous to the inventors of the molecule. I wanna note for our viewers here, that sometimes it's not
just the molecule itself, it is the business wrapper, the packaging around there, that actually decides
the success or failure of the drug.

So, of course, as much as you're saying that you have zero credit in it, without this leadership, without
the execution, things do not go anywhere. I do agree as well, I have so many entrepreneurial friends as
well — the execution and the right path forward is very, very important. So thank you very much for
your contribution in that as well.

Nader Pourhassan, CEO:
I appreciate it. Thank you.


Leronlimab in COVID-19
Dr. Mobeen Syed:
So now if you go to some of the user questions — some of the "koolbeens" questions as we call them.
And so after this, the main question at this time, which is — I wanna to open with those questions, and
then we'll go to other discussions too, the leronlimab related questions.
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So from your site, and I have done a couple of lectures about the leronlimab's mechanism of action as
well. From your site, it is said that leronlimab can actually reduce a cytokine storm for COVID-19
context. So tell us a little bit about leronlimab in COVID-19 context, and what trials — we would then
ask you about the trials, and how are the results coming through?

Nader Pourhassan, CEO:
So we had the leronlimab being very successful in monotherapy for a sub-population of HIV patients
who have R5 virus, which is the virus that uses CCR5. And the fact that it binds to CCR5 was very
fascinating for us, that it could allow it to have potential in GVHD. Animal study was tremendous. And
then when we used it in cancer, specifically my own mother-in-law — doctor gives it a few months to
live, and then we saw what happened. Thank God she is still alive because of leronlimab, in my
opinion.

Then came COVID-19, and everybody thought — we just jump on this and say "we want to do
COVID-19 because everybody's doing it; and we get publicity". But, that had nothing to do with it. As a
matter of fact, when Dr. Robert Thomason, I'm sorry, Dr. Scott Kelly told me that, you know, it's not the
virus, it's the what the virus does to the body which causes it to have ARDS, and we have an impact
on that.

I called Dr. Bruce Patterson and I said "does it do that?". And he said "yes, absolutely", without
hesitation. So we immediately called our regulatory team and said — immediately file IND (Initial New
Drug Application) and a protocol for Phase 2.

Nader Pourhassan, CEO:
When we did that, FDA says "hold on — we gave you Phase 2 for graft-versus-host disease, we gave
you Phase 2 for NASH, but we're not going to give you Phase 2 for COVID-19, cause you don't have
any animal study group. You don't even have an in vitro study. Give us something to help you".

So 60 days waiting and then another 30 days, so it'd be 3 months and maybe more waiting. That's
when Dr. Seethamraju from Montefiore, which — I call him a "hero" doctor — stepped in and caught
FDA, and says "my patients are dying any minute. I need this". Ramdesivir didn't work, nothing worked.
So when he gave to the patients, the first two patients, I was so excited to hear that. He said, that one
of the patients extubated himself, and he believed in it. And that's started everything, and then the
whole thing that we have right now, as you can see where we are. I'll be happy to answer any question
about the trials.

Would you like me to go forward?

Dr. Mobeen Syed:
Absolutely. Absolutely. If you can tell us a little bit. So the basic curiosity that I have, some of the health
departments that I have been talking — we have done above hundred and six videos about COVID-19.

So from many countries people have been in contact with us and they've been asking for what is a
promising thing that we can use. So it would be great for all of us to understand that. What have you
learned from your trials? What is the potential benefit? And what is your confidence level with that?

Nader Pourhassan, CEO:
Yeah. So as those two patients went on, Dr. Seethamraju asked for nine more emergency IND
immediately. His own exact words to me on the phone at that time was: "You need to move, because
these patients are dying, and I don't want to just stand there and watch them die". I said, you know,
with the ask for emergency of IND, I'll be more than happy. He did that, then he went — eleven patients
were given the drug. Some of them start dying, not because of leronlimab, because they stopped
giving them treatment of ventilation, they were — those conditions were gotten because the resources
are limited.

But then, when those stories came out that four patients actually live, and a lot of, the other ones were
not dying, because they stop leronlimab or, I'm sorry, stop their own ventilation. So what happened is
Dr. Otto Yang from UCLA asked for this. And when we injected the patient who had Remdesivir and
was on ventilator, and nothing was working, and her husband asked for leronlimab, Dr. Otto Yang gave
the leronlimab to Samantha Mottet. She told me I could use her name.

She said that her husband said "you were completely gone and you came back alive!" And that has
started something very beautiful with Dr. Otto Yang. Twenty nine patients got injected at his Institute.
Many of them got discharged, many of them got intubated. And Dr. Nicholas Agresti got four patients
intubated who took the product.

Nader Pourhassan, CEO:
There was a patient that was on ECMO who got off of the trial. I mean the ECMO.

So all of this led us that — hey, we need to have FDA give us Phase 2, but already FDA, as soon as
they saw what happened with Dr. Seethamraju's patient, immediately FDA worked with us. They did
not delay it a day. They said — you got Phase 2, go forward. So I've got to thank FDA for that.

So that happened and the Phase 2— not One: Two; one Phase 3 and one Phase 2. So that had an
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impact on the whole thing. And Phase 2 was mild-to-moderate 75 patients and Phase 3 came to be for
390 patients.

And we are now finishing the trial with Phase 2. Oh, I'm sorry, we've finished the trial already 87
patients, but only 86 will count, because one of them didn't, it was not able to go forward after got
enrolled. And the results of these patients — everybody keep asking me "tell us something, so we can
be very happy about the primary endpoint is going to be hit".

Nader Pourhassan, CEO:
And I can't! These are double-blinded. I don't have any idea what they have. But what I do know, is that
the 60-patient emergency IND, I'm sorry, 75-patient emergency IND, 65 took the leronlimab, the other
10 — some of them ask for the leronlimab by the time they shipped it to them, the patients were dead.
So that's how bad the condition of these patients are.

So looking at those results and knowing the mechanism of action that has been clearly described now,
is giving me a lot of hope. But now we have three papers that we are, that doctors are working for their
data. Dr. Seethamraju — 11 patients, Dr. Otto Yang — 29 patients, Dr. Nicholas Agresti — 4 patients.
All three are going to be published and the mechanism of action will also be described more and more.

Dr. Mobeen Syed:
Excellent. So these are the results, excellent results in the US.

I want to ask you one more thing. And in the "koolbeens" discussions — normally we talk about — the
before getting the disease and then having the prophylaxis, and then the mild cases, and moderate
cases, and severe, and critical. In this spectrum, where does leronlimab sit? What is the right time to
use this drug?

Nader Pourhassan, CEO:
So that's the one of the questions, that our scientists are, you know, dealing with also and the doctors
who gave these products to their patients.

First of all, mild-to-moderate patients are the patients in this trial that have a high fever, and they need
hospitalization, and then they go to the hospital. Then they are able to take our product if they want to.

Critical patients are the patients — critical or severe patients — are the patients who need to get some
kind of oxygen or a ventilator intubated or so forth. Whether we can give this product for anti-viral
drug — we don't know. But Dr. Bruce Patterson's results from his laboratory — now, we did a lot of
studies with this, the blood of the patients, because of the doctors who treat these patients, but the
results showed that the viral load went down quite a bit.

Nader Pourhassan, CEO:
Now, we need to verify these things through a randomized trial. Viral load was not one of the things
that we have verified. But if we drop the viral load, then there is more mechanism of action here that
we have not explored. To explore this mechanism of action through other study would take time. But to
do a randomized trial, the quick one, that will not take time.

We hope to get approval. If we get approval quickly, everything else we will check to see if it's — if it
can help people not to get COVID-19, perhaps. But I'm not the scientist behind it. So I won't be able to
talk about the science of it, but I can tell you that all the scientists who work for us, they believe that
that's something that we definitely have got to look at.

Dr. Mobeen Syed:
Got it. So can I then summarize this to say, that anywhere from mild-to-moderate — that means inside
the hospital. And onwards within the hospital when there is the progression of the disease, stages of
the disease, this drug can be used in them.

Nader Pourhassan, CEO:
Yes, if we get approval. Obviously we are hoping for that.

One thing that — a lot of people are sending us email. They want to take leronlimab after they get over
COVID-19, because they don't — never fully recover.

Dr. Mobeen Syed:
Yes.

Nader Pourhassan, CEO:
Now, all doctors believe that could help tremendously. But them thinking that doesn't mean approval
from FDA. We have to go through those paths. So we will have a lot of exploring to do post-approval,
which we hope to get soon.


Big Pharma, the SEC, Stock Price
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Dr. Mobeen Syed:
So tell me this. So, exactly, this is what I wanted to ask as well. This has been a very common question
as well from "koolbeens" — that when do we get the approvals? Is there any — some of the folks had
sent me the messages as well, that is there any big pharma, small pharma issue going on as well? So
can you tell us a little bit more about the approvals within the US? What is going on there? Is there
any, are you having any challenges in terms of big-small pharma, any such things?

Nader Pourhassan, CEO:
So, you know, a lot of people keep thinking and emailing us — they say "Big Pharma is keeping
leronlimab down and so forth". None of those are true according to what I believe.

The big pharmas like Gilead, J&J, ViiV, I'm very proud to know those companies, because those
companies — they are saving people's lives and making money. That — can't be any better than that.
So I have nothing to say about what they're doing, cause I don't even know what they're doing exactly. I
know that they are building more products and saving people's lives. HIV single-handedly was handled
by Gilead.

Nader Pourhassan, CEO:
But what we do, is we understood the regulatory pathway. And the regulatory pathway — FDA doesn't
give preferences to Big Pharma because they're Big Pharma. Actually they, in my opinion, they give a
lot of preferences to us, because we got to do a fifty-patient study for efficacy in our HIV population,
because our safety was demonstrated in over nine hundred patients with hardly any serious adverse
events.

So, with that said, I saw firsthand in the last eight years that FDA just wants to make sure the drug is
safe. Once you to demonstrate your efficacy and whether you're a Big Pharma, or small pharma, I
don't think they care.

Dr. Mobeen Syed:
I see.

So just for our viewers. What we are hearing is, this is not about the Big Pharma or small pharma, it is
about the FDA's confidence level, it's about you demonstrating the results, it's about the study that is
going on.

Nader Pourhassan, CEO:
Absolutely. Absolutely.

Dr. Mobeen Syed:
So you are not — you're not challenged at this time to move forward. It is mostly the proof of the drug
itself?

Nader Pourhassan, CEO:
Absolutely, and I've got to say — so some people were very upset, and I was too, that we saw that
there was some, perhaps, illegal shorting in our stock. You have to separate the stock from the
company, because the stock — now you got institution, now you got all those things that could happen,
which is very very wrong. For example, fifty one million shares was sold in our company traded and
FINRA and SEC probably would be looking at it.

Somebody put a bad news, says: "CytoDyn is just a fake. They don't have anything". No? All this
information that we've put out from FDA... FDA is a very very, you know, careful organization, they
immediately would call us, if we do anything that is not right, or if we say anything that's not right.

Nader Pourhassan, CEO:
We said in, I believe in April 27th, that we submitted the full BLA. FDA immediately said "no, we don't
agree". And we immediately set to the public that it is not completed. It's going to be completed a few
more days, and it was.

But the shorts would say "they lied or they make up all these big stories", which is absolutely not true. I
would suggest everybody watched the press releases, those have to go through compliance to
regulatory department, those press releases have to be a hundred percent right or we get in trouble.
And we have not been in trouble with the SEC or FINRA in the last — 2012 I became CEO — since
eight years ago.

Dr. Mobeen Syed:
Makes sense. Absolutely correct.

And in this context I want to — don't mind me, don't be offended, but there are some questions that we
could discuss, and these are hard questions for us as well. So a couple of questions here. One of the
question is from George here. Why did the stock drop from 10 to 6? Is there a pump-and-dump going
on? And we have been a little bit careful for other companies as well. So you are here; we can actually
ask those questions from you right now.

Nader Pourhassan, CEO:
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Absolutely. So Andrew Left from Citron report. They put out a report. And then there was quite a bit of
selling: fifty one million shares is not something that you've seen in OTCB. And the fact that the
company hold the $4.75 and then it came back to 8 dollars and it bounced back and forth, and it
stopped at 6 dollars, that tells us that even when we under tremendous attack from the shorts, we have
people who believe in us, we have, perhaps, institutions who believe in us.

The analysts that they do their work, they see that this is real. This is not something we make up. We
don't make up things about patients going and telling how great their lives were saved. If it was, we
would have been shut down.

So people have to be strong and just believe in fundamental. Anything in the fundamental they don't
feel good about it, then they should, perhaps, sell their shares. But if they feel good about it, they
should just go with the facts. And the facts are — we have done very well so far. Thank God.

Dr. Mobeen Syed:
Absolutely. And I would like to put in my two cents here as well. That, guys, when I talked about the
leronlimab with you all in the previous discussions, I actually did a lot of research about the mechanism
of action, and then I have done a bunch of immunology for the last ten years. So I first made sure that
what I'm talking about is something that can actually stand on its legs. And after that is, when I came
out, and I said that leronlimab looks like a promising drug.

And once again, thank you very much Dr. Pouhassan for coming over and talking with the "koolbeens"
directly.

Nader Pourhassan, CEO:
Absolutely.


Unblinding of Data
Dr. Mobeen Syed:
So if you allow me, I'm going to continue with our discussions.

One comment that I am. And I have my questions over here, so I'm reading as well... So some very
common questions that I've received, was the unblinding of the data, right? So, can you speak a little
bit about that?

Nader Pourhassan, CEO:
Absolutely. So the 86 patients, or the 87 — and we only had 86 with the data. Eighty-six patients
finished the trial. I mean, I'm sorry, it was enrolled on May or June 17th. So June 17th that patient got
enrolled. So you have to wait 14 days. So on July 1st or 2nd, that patient finished the trial portion that
had to do with efficacy.

Now, some people might think "okay", then unblind it the next day. It doesn't work like that. You have to
have a statistical analysis plan that has been submitted to FDA, which says that you need this data,
that data, and all the hospitals have to sign off on the data with the Amarex before anything —
anybody touches the blind of the data. Once every data comes in, and all the plans that we have made
before unblinding is set with FDA, then you unblind it.

Nader Pourhassan, CEO:
So you got to be very very careful. As everybody knows, Gilead did an interim analysis, changed the
number N and then they changed the primary endpoint. Very smart. And they did it legally. It was. They
wanted to go to move from primary endpoint to that half past they can, the patients can be discharged
versus the antiviral. There was no antiviral activity in Remdesivir, but it helped the patients discharge
four days [early]. That's significant and they could get approval.

We have to be smart to do things the right way. When we go to FDA, we are at point A. We tell FDA,
we predict point B — the finish line. If we don't get that, we don't get approved. And now we have done
all the enrollment, and the enrollment two weeks is over. All hospitals are signing off. We will have
results in July. Now how early, I am very hesitant to say — couple of weeks or ten days, because the
last time I tried to say what's in my mind and give a guess, that guess didn't come true and everybody
gets upset.

So we — I'm very confident to say we won't have the results in July. How early in July, I just can't know.


Uplisting to NASDAQ
Dr. Mobeen Syed:
Makes sense. Yeah, totally makes sense. So I want to stay on the trial discussion. However, there is a
question that is pressing right now and people are actually asking and repeating as well. So that
question is about the uplisting. So why not? I ask you this question before and then we're going to go
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back to the trials so [tell us about?] the uplisting?

Nader Pourhassan, CEO:
So in regards to NASDAQ of uplisting, we now have a price that can qualify us for NASDAQ. Thank
God for that. We also have potential to raise money to go to NASDAQ right now. Uh, however, we
believe that the potential of this stock, as I always said in the past, double-digit doesn't cut it in my
opinion, three, four digit. Naw, these are large numbers, it is my guess; this could be completely wrong.

But my guess is that so I am always hesitant to raise money. I want to make sure that I get the
maximum value. When we were at thirty cents, I keep saying that in every time I am going to raise just
enough money to get today to the next month. All the bankers told me, that I'm the most stupidest
person in the world. "Nobody raises money every month-by-month. You gotta raise a lot of money!"
Well, we would have a company with half a billion shares at one time. You had that offer for $15 million
dollars for half a billion shares. So we didn't do that.

But now we want to raise the money at the time that we have our primary endpoints announced, at the
time we feel like the shareholder have got the perfect value. And once we've raised that money, we will
go to NASDAQ. But as of right now, we have asked NASDAQ that we want to uplist, and they are
reviewing your application right now. As soon as they come back, say "okay, do A & B", ok, we might
do that and uplist. So hopefully within the next few weeks, we will have something to talk about, that —
something solid to talk about.

Dr. Mobeen Syed:
I love it. Thank you very much because this has been a question that was interested so many in. And
there is actually a follow-up question as well. So, please keep in mind that I want to go back to the
trials and the drug as well, but there is a lot of interest in the company's performance as well.

So there is another follow-up question that, please follow-up regarding the stock, Dr. Pourhassan and
Mr. Mulholland said there would be a surprise, shareholders would be happy about. Has that happened
with the stock?

Nader Pourhassan, CEO:
So when we said there would be, I said "Michael Mulholland has something up his sleeve" — that
there is a shortcut always in getting to uplisting. At that time, the price of the stock wasn't at the price
that it is — it was much lower I believe. And that is to allow us not to raise money before uplisting, and
we are waiting for that to see if that would be accepted. Especially with the special situation with
pandemic requires special actions, and we are asking to hopefully not to have to — for us not to meet
the funding requirement of uplisting. So we're waiting for that right now


Discussions With Big Pharma
Dr. Mobeen Syed:
Got it. So a couple of more questions about the company. This is a detour. We're going to go back to
the trials. Two more questions that are very interesting even for me to figure that out.

And one question is about your discussions with the big pharma. So somebody had asked me that,
asked the kind doctor, maybe, have you been talking with some companies? Is Gilead been in
discussions with you? Is there something that you can share or anything about this, the buyout part of
it?

Nader Pourhassan, CEO:
Sure. Absolutely. Whenever there is a discussion of a licensing or buyout, we have to sign CDA —
"Confidential Disclosure Agreement". When you do that, you cannot talk about the company. That's all
would be in closed doors. I have a habit of letting everybody know everything I know at the time as
much as I can, as much as I'm allowed to. When we did the licensing agreement from Vyera
Pharmaceuticals that gave us eighty seven million dollar milestone payment that could come to us in
the future sales, I said this kind of binding, non-binding agreement. About ten weeks later everybody
said that I was not [] and that was something that was made up.

And we announce, we made the deal. Now I said in the public. We have been talking to the big
pharmas. I can't name, I can also say that we also talking to big media that want [.to do?.] to look at
the results as soon as it comes out. Both of them want that. And as soon as the results come out, they
will be able to see that, and, perhaps, we see what happened after that.

Nader Pourhassan, CEO:
But everybody should pay attention that the results that we were so excited weren't even for
COVID-19 — there were with cancer. And we were in breakthrough destination, and we were going
that path, and that got delayed because of COVID-19, but those patients in cancer are still going
forward!

So this company has multiple things. And COVID-19 — hopefully, we can save a lot of patients and get
approval. But once that happens, once these results come out, and if it is positive, all of our
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shareholders should be very very happy; and the opportunities are going to be multiple, opportunities
from all over the world.


Leronlimab Scalability
Dr. Mobeen Syed:
Excellent. Thank you very much.

So now, I'm going to start going towards the trials again. So one more question here. Going towards
from the company towards the trials, people had been asking this question as well, that if and when
the drug becomes — is proven to be safe and we can go forward with it, do you have the availability?
Do you have the resources available to make it scalably available globally? What is your capacity at
this time, or what are you doing to help with the capacity?

Nader Pourhassan, CEO:
So as I have said in the past, thanking Dr. Nitya Ray, our Chief Technology Officer, who built PRO-140
from day one at Progenics, and we are fortunate to have him. He made an agreement with Samsung
Biologics who has more capacity than Lanza.

And to transfer the technology for any manufacturing process, it takes a year or a year and half. So
thank God, we started this 2 and 1/2 years ago. So we got all of that out of the way, so we have a giant
manufacturing which is Lanza, which can produce tremendous amount of product.

We have to give always, excuse me, an upfront payment sometimes, because Lanza just did a deal for
three hundred and sixty million dollars, that was in the public domain with the company that got three
hundred sixty millions upfront. The fact that they're willing to work with us, and we might have to pay
some upfront payment, that's where we are holding the orders. But even though, we have to give
money like that, I have told to the Chief Operating Technology Officer to order what ever they can
make, all of it. And we are good with it. And doctor came at the Samsung Biologics, said that they were
booked, but they are giving us some potential opportunity to manufacture. We are going to get 1.2
million vials this year.

Nader Pourhassan, CEO:
So we are going to have that much to go forward, if we are fortunate to have an approval, which we
believe we could. And then the next year, we could get as much as ten million vials or so. Now those
are again numbers that I'm just working with these people, with folks at AGC and Samsung.

But if we have what we believe we have, and if the government believes in us at the time we have
hopefully approval, and there will be tremendous help coming to us. So we don't have to sell shares
and get this product. The bankers, the banking system that we have, the investment banking that we
have, they will all be able to get us the non-dilutive funding, tremendous amount of funding. And we
believe in being able to manufacture whatever we want in Samsung, would be huge for us.

Dr. Mobeen Syed:
Got it.

And I was actually going to ask, you've already answered this question. Now that, once it is approved,
once there is confidence in it, then, of course, the resources will become available, because one 1.2
million vials for this year — we have a problem going on at a scale which is in the scale of billions, so
how we look towards companies that can offer hope to make themselves so scalable and fast that we
can serve humanity and protect people?

Nader Pourhassan, CEO:
No, absolutely.


Trials In Other Countries
Dr. Mobeen Syed:
So thank you very much.

One more. So now, going back towards the trials. So we are aware of the trials in the US, are there
trials going on in other countries and how, have they the started, have they stopped, when are the
expected dates for the results, any light over there?

Nader Pourhassan, CEO:
Yeah. Absolutely. We don't turn away anybody, almost. When we were told that they wanted England —
they wanted United Kingdom wanted to have a trial, I told Amarex to move as quickly as possible.
Then, United Kingdom, they then told us what we have to do. We did everything and now we are close
to getting that going. But I'm just shocked that it took this long for United Kingdom to give us the
clearance. Now, we also were talking to the Dr. Gustavo Reyes Terán, the head of NIH in Mexico, and I
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know he's doing his best to get the trial moving forward.

Nader Pourhassan, CEO:
But CytoDyn turns things around very quickly. We've taken two-three weeks to get a memorandum of
understanding from Mexico. But we turned it around and signed it within 48 hours or so. They asked us
for protocol, we return the protocol to them within like three hours. No? Think about it. We had to
modify the protocol that we had, but within three hours. I have told to all our team, we don't have room
to sit down and do anything but to get the job done right now. So with Mexico, I'm pretty little bit
surprised that we haven't started the trial, but if that trial starts, it is a twenty five-patient trial to
approval, most likely.

So then we have trials that we were talking about in Brazil. That took again a little bit of time now.
There is a hold up on that, and I am waiting to see what they want to do. We're willing to go forward as
soon as anybody wants. And we have a CRO called Amarex that everybody should know, that we
don't, we're [we'll..] very very very quickly.


Are The Wheels Turning Slowly?
Dr. Mobeen Syed:
So I think I'm going to dig a little deeper in this question as well. And the, I'm going to put my own
thought that I've been discussing with my friends as well. And that is that, look when the Remdesivir
use started, it was a very quick authorization, and then approvals, and the trials, and then
compassionate use, and availability of the drug.

For leronlimab, the way I look at the mechanism of action, I actually believe that this drug can actually
help. Why are the — why is the traction not there? Why is the the wheel turning so slow? Is it the
company, is it the process of the NIH and others? Why is it not taking off quickly?

Nader Pourhassan, CEO:
And so, that's a very good question. And we have to realize that there was only one doctor who
believed in the science the way our scientists believed, and that was Dr. Seethamraju. When he asked
FDA for emergency IND, the person at the FDA told them that nobody in the country has asked for
leronlimab, and rightfully so, because CCR5 and the role of CCR5 has been extensively researched in
the last fifteen years only, not before that.

So people are now realizing — like Pfizer didn't know that their CCR5 antagonist has any role
in GVHD — accidentally they found out. So for us to show that, FDA obviously wants to see the results.
So when we went forward, we didn't have the support of NIH. NIH in America, they opened up 49 or 50
sites for Remdesivir. They had sites overseas that they opened up very quickly. And they enrolled a
thousand-some patients. We only needed 75 patients, but we have to fund everything and we have to
start from, you know, zero, and get every site set up with one CRO that we have.

Nader Pourhassan, CEO:
So we had a lot of challenges, but, as the trial went on and as the publicity came from our press
releases and the results paneled to be exactly what we were hoping to be, then we got fortunate to the
situation where we are enrolling. I mean we are being enrolled within 2 months.

So if you look at any biotech in United States and call them, and say — can you enroll and start the
trial from zero and get to the 70 patients - 80 patients within three months, they would laugh. They
would say that's impossible what we did in that kind of timeline.

Dr. Mobeen Syed:
Makes sense.

And and for our viewers, I'm looking at the discussions here. For our viewers, as much as the
leronlimab is another monoclonal antibody, I would actually remind us that the mechanism of action of
this drug is very different from other antibodies that we have seen. So some antibodies are just looking
at IL-6 or IL-12, or tumor necrosis factor...

This drug, or the mechanism of action that I have read up so far, has a much more profound and
broader effect that helps with the COVID-19. So I would not put this drug in the same category as
others. I think that this has more potential, because it is balancing out the CD4-CD8 ratios. It is
balancing out the, what it is helping with the cytokine storm with the CCL5 and CCR5. So the
mechanism of action contains a lot more potency compared to the other drugs. So I just want to make
sure that the "koolbeens" here, do not just slot it as another drug, which is IL-6 blocker, or something
like that.

Dr. Mobeen Syed:
So, with this discussion, one more question that comes up very commonly and I just saw that here as
well. That is the countries, for example, India, Pakistan, other emerging markets. If they want to start
the trials, how — what is a process for them to connect with you, or are you connecting with them? I
would like to ask you about India and then Pakistan, and other such countries. What is — how are you
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reaching out?

Nader Pourhassan, CEO:
So we haven't reached out to anybody, because we have got our hands full in the United States trying
to get that approval and all the
other trials we have. But what we have is, if anybody wants to do a trial over there, and they are having
enough connection with the health authorities in that country to make the process go faster, we
take them very seriously.

And we move very quickly, and they can email me. My email is npourhassan@cytodyn.com, and I
immediately turn it to our regulatory team. But we want to make sure that whoever wants to do that,
has enough capability to have their health department in their country pay attention to them. If it's not,
then they have to start from zero, and it takes long time.


Pricing of Leronlimab
Dr. Mobeen Syed:
Makes sense. Got it.

So I will actually personally talk with some of the health departments as well that have been reaching
out to me and saying that — hey, do you have something that, or some company, or some drug that we
can hang our hat on. So I'm going to connect you with some of those as well. But I definitely believe
that there is a need outside of the US as well to connect with the other countries, because of the dire
situation that is happening there.

One more question, which is very important to me and it's very near and dear to my heart, and that is
the pricing of it. The very first time I've talked about leronlimab, I looked at the prices and the prices for
the HIV and for the cancer, they were high. And I said that COVID-19, as much as it is important to
save every single life, in the terms of billions of people becoming sick or getting exposed, this would be
a costly drug.

So tell me a little bit about the pricing and what is your approach towards the cost of this drug?

Nader Pourhassan, CEO:
So because Remdesivir has been already approved, they are setting the price of the drug. So if they
set up any kind of price, we believe very easily be can beat that and/or match that. So to go out
immediately — be the certain price, because of the, all other conditions that are there, for example,
having a pandemic is something that we have to do a lot of homework. We can't just say what price
right away.

We don't want it to overcharge people. That's for sure. But we have been approached by very very
wealthy individuals, billionaires that have said, that if you get approval, we would want to fund the
product for overseas, but not to give you a huge price. Are you good with that? I said — well, I'm good
with that, but it's not me. I have bosses also, which is the Board of Directors; and but they all have told
me that they are willing to work with any country.

Once we get approval, if they want to fund it with manufacturing to make extra product, there is no
problem for us. And if we're going to make less money from saving the lives outside of United States,
that's a very very good thing. But in the United States we have already the prices being set; there is
Medicare, there are rebates, and all of those things that would be taken care of. Patients, hopefully,
we'll be able to enjoy getting the product without having to pay any money, perhaps.

Dr. Mobeen Syed:
Makes sense. Got it. So I can probably at least assume from this discussion, that for the emerging
markets, for the people who are in dire need, it is possible that there are price considerations, which
can make it affordable for them.

Nader Pourhassan, CEO:
Absolutely. It has to be. Absolutely.


Counterindications?
Dr. Mobeen Syed:
Got it. So thank you very much.

One more question, which has been asked before as well, and I'm seeing some questions here too.
And that is: if you are aware of any contraindication, does this drug — if somebody is, let's say, on
hydroxy or Ivermectin or some other drugs that they're taking for COVID-19, is this an additive drug or
does it have any contraindications from the trials so far or from the science so far, to say it could not
work in combination with this or that drug?
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Nader Pourhassan, CEO:
So we have zero drug-to-drug interaction problems. We have shown that, and Progenics has shown
that before we even bought that product. That — because of the mechanism of action of binding to the
CCR5, it has no problem to be used with other drugs. And Dr. Paul Maddon one time told me this
product is surprising him. When he first invented it, that won't even be able to kill an animal by giving
him five thousand milligrams... he made the rats to become three times their size.

So the drug, also, again, has no drug-to-drug interaction that we know about it, all the studies that we
have shown. But one thing everybody should know is leronlimab was studied by Dr. Dennis Burger,
who is a ex-professor at OHSU. When he did this three years ago, he went to Providence Medical
Center and gave the product to the [MYSIS?] study.

And in regards to MS (multiple sclerosis), there is also so fantastic, that when he told the board, he
cried — he broke down and cried, because his own wife has MS. He said "we never seen anything like
this". When we did animal study with Nash, the fatty deposit was reduced so much. So this truck does,
you know, have quite a bit of potential, and we are willing to work with the pricing of it, we are willing to
work with anybody, we are willing to do whatever we need to do to get it into the hands of all the
patients for all the indications that they might need.


Approval Hurdle & Insurance
Dr. Mobeen Syed:
Perfect. Thank you very much. So there is a question that has been asked a couple of times. I'm going
to read that out to you as well. So the question is: how successful must be the Phase 2 trial so that the
FDA approves leronlimab, and do you know any drug that is already approved after Phase 2 trial?

Nader Pourhassan, CEO:
So when you have a serious — when you have unmet medical needs situation — with cancer, for
example, let's just talk about that. There are drugs that are approved with sixteen or twenty patients.
We hear about that all the time because the condition is unmet medical need.

Now, would FDA look at this and say that COVID is _not_ unmet medical need? Would FDA say, well,
we're okay, it's not unmet medical need? I don't know. Would they say "the results of your Phase 2 is
pretty good, but not good enough to just go to the approval. You should do phase three"? I don't know.

Nader Pourhassan, CEO:
Would we then say [?] this is good enough to get approval? Again, I don't know. But odds of — or
looking at this — the logic behind looking at this as potential approval is just because FDA guys say
the unmet medical need population can approval much sooner. So we have to just wait and see. I just
don't know what's going to happen.

Dr. Mobeen Syed:
Got it. And so there's a question in terms of the pricing, and the question is, what about the uninsured
in the USA? So, of course it is about 34 million or more people who are not insured. If they are are in
the need of leronlimab — if leronlimab is successful and safe, how do they get the drug?

Nader Pourhassan, CEO:
 So, in regards to COVID-19, this is something that would affect everybody. We're all in this together.
So if anybody has this and they don't have insurance, I don't think any hospital is going to say "no
forget it. You have to go home because you know, we just can't — you don't have insurance." And I
don't know how that works. haven't even looked at.

People who are work with us [in the] American region — we just signed an agreement with them and
we announced that yesterday that we signed a distribution with them. So they will definitely be able to
address that. But the last thing we want to do is not to give leronlimab to people who need it. So
whatever we have to do at that time, we have to see what it is, what we can do, and then reply to that.

Dr. Mobeen Syed:
Thank you very much. Thank you for for this, because, to me this is very important — that the folks
who are suffering at this time.

So we as humanity at this time are suffering, our businesses are suffering, our well-being is suffering.
We cannot have the social contact that we are very used to. We like to meet each other and talk with
each other. Then our dear ones are dying at this time. They're suffering through this. So any any help
with that can come our way, and thank you very much for your very kind and generous discussion here
that you can offer those drugs, and you would see at that time what can be done with humanity. So,
thank you very much for that.


Other Uses of Leronlimab
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Dr. Mobeen Syed:
So one more question. Probably we are reaching the tail end of the interview.

Leronlimab — what other things so, HIV, cancer. Would you like to tell us — koolbeens — what are the
other uses of leronlimab?

Nader Pourhassan, CEO:
So, Dr. Parviz Lalezari, who's father to Dr. Jay Lalezari — Jay Lalezari is prestigious key opinion leader
for clinical trials — So his dad, Parviz Lalezari, is also a friend of mine. He has been at Montfiore for 60
years — Montefiore Medical Center, where we did the COVID patients. He also is a professor at Albert
Einstein College of Medicine, which is part of Montfiore.

Nader Pourhassan, CEO:
He reached out to us and said that he looked at Alzheimer's for many years, and then he looked at
what leronlimab can do. He's just beyond himself.

He said, "I want to do a trial immediately. We have enough patients at Montfiore. Let's roll!" So I said
"absolutely." We are preparing the IND and Phase 2 for Alzheimer's, so that would be the one of the
parts that we're going to be doing.

NASH trial. I already have told Amarex to immediately start the trial now, because we believe the
results are going to be great. GVHD trial is already going on, but it's been very slow because of
COVID-19. Cancer ... 23 different cancers, two cancer [trials]. One of them in the Basket trial 22 [a trial
for 22 different solid cancer tumors], and the other is the metastatic triple-negative breast cancer.

Nader Pourhassan, CEO:
And then we have all other trials like MS. MS — I have told Amarex to go forward very quickly. And we
said we will do 10 trials this year. Now that includes the COVID-19 trials that we have. That's two of
them. HIV was two of them. Monotherapy and combination ... so we have six more to go, and we are
very excited to get all those trials started and get the human data , because we think it's going to be
amazing data.

For me, to see my mother-in-law at home every day... that the doctor — the radiologist says she's not
going to make it, and if it wasn't because of leronlimab, she wouldn't make it. It's convincing to me, to
know, whether or not I am looking at anecdotal data — which I am looking at anecdotal data — that
has to be there. But I'm going to work as hard as I can, and CytoDyn, and everybody else, to get the
product tested in humans, in Phase 3, with all the trials.


CytoDyn Collaborators
Dr. Mobeen Syed:
Got it. Thank you very much. One more question and that — again has been asked many times and
that is about Dr. Bruce Patterson's work. So who are the entities — who are the doctors who are
collaborating with you, working with you? Who owns the data at this time? Who is actually processing
the data? Can you shed some light on that?

Nader Pourhassan, CEO:
Our shareholders own all the data that comes out, because our shareholders pay for those data,
whether those data get generated at IncellDx with Dr. Bruce Patterson — or at Covance, or at other
doctors we're working with. Dr. Pete [Amertis] ... other laboratories.

So we have many laboratories that we work with. All the data belongs to CytoDyn, but we like to let the
physicians who are brave enough to use leronlimab and do a great job with the doctors to publish the
data. So for that, our hero doctor, Doctor Seethamraju, will be publishing eleven-patient data — he is
very close to doing that. Twenty-nine patients or so we are hoping that Dr. Otto Yang — he said he
would be willing to publish — he wants to publish — we will give him a green light to do so. And then,
Dr. Nicholas Agresti.

Nader Pourhassan, CEO:
So, from the very beginning, when we started with this company, we brought in top doctors in the world
— Doctor Robert Schooley, Paul Madden, William Olsten — the names go on and on. And we
established our HIV program.

Then we went to GVHD. Dr. Dennis Berger, Dr. Scott Kelley, who is our Chairman of the Board. We
moved that.

Then we went to cancer. There is no one person that we depend on or anything, but laboratory-wise,
we have many labs that we use. Dr. Bruce Patterson has done a great job. Dr. Jay Lalezari has done a
great job. Drs. [Abit Habitus?]. Nicholas Agresti.

Dr. Chris Recknor, who finished a trial enrollment when we were sitting at fifty some — all of a sudden
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we went to eighty six — thanks to Dr. Scott Keller, our Chairman of the Board who's always been there
for me, and the company, and the shareholders.

Nader Pourhassan, CEO:
What we're doing is so — the number of people that's involved with us is a lot. We will only use the
right people that can get us to the finish line very quickly. And we have a the track record, that, thank
God, is not too bad.

Dr. Mobeen Syed:
So then, from the comments, what I hear, to me, it seems like when the koolbeens are sending me the
questions, it seems like we are waiting for Doctor Patterson's work. Is that the situation at this time, or
that is just one part of the overall...?

Nader Pourhassan, CEO:
No, no. Doctor Patterson — we agreed to have him analyze the samples that comes from CD10 and
CD12. And he was kind enough to take that project on. We also have other labs who chemokine storm.
We have other labs that are working with us right now. So that's not the only lab.

What is holding up right now for publication is — we are working with Dr. Seethamraju to publish his
paper, and Dr. Otto Yang, and Dr. Nicholas Agresti. These are the data that we have that we know what
happened.

Some of them we have analysis from the labwork that was done, which was done at IncellDx. But
that's just the labwork that was done at IncellDx. We don't have any other situation IncellDx but that.
And we are not waiting for that. We are going to log the data, whether we those lab data [or not].
Because the lab data for CD10 is not what's going to make it or break it. It's actually the primary
endpoint, which are the numbers that the hospitals input into the system.

So, we are going forward whether the lab comes in soon enough or not.


The Severe / Critical Trial
Dr. Mobeen Syed:
Got it. Thank you very much. So last two or three questions and then we will — so there is one
question here that is about — please ask about the severe critical trial update. So, please.

Nader Pourhassan, CEO:
Absolutely. So at one time, we said we might do 51 patients in the interim analysis. That's not
happening. Obviously, we got more patients enrolled very quickly. We are sitting at almost 130...I
believe 127 is where we are right now.

And enrollment, thanks again, to our Chairman of the Board [and] our Chief Medical Officer, Dr. Scott
Kelly, who brought up Dr. Chris Recknor — is going through the roof now with the CD12. And we want
to get the interim analysis done at the time that we have enough patients, and we will ask the FDA to
make a decision on if it's OK or not.

But to do a safety look at the data, we can do that, and we will definitely let the FDA know, because we
want to make sure at this time we don't make any mistake that is not allowed by FDA to do. Our data
— look at the results of that, and the results of the CD-10. We hope to have both of them together at
the same time, and that's our plan.

Dr. Mobeen Syed:
Got it. So one more question, and then I'll ask a surprise question after this one. This question is:

Dr. Been, ask about the breast cancer patients. Are there yet more than 13 women analyzed and also
have their metastasis fully stopped after a few weeks of injection?

Nader Pourhassan, CEO:
So the patients that — their CTC — circulating tumor cells, which is a marker for metastasis — all the
patients are zero. The new patients — the basket trial — we know how patients that have — not just
breast cancer - other cancer - we have about five or six that Dr. Jay Lalezari has enrolled. He's been
very active and doing a fantastic job; the enrollment is picking up. We will get the latest number
hopefully soon, and let everybody know exactly where we are with the Breakthrough Designation
process, and with the results of the trial.

Dr. Mobeen Syed:
I got it. Thank you very much. So one comment, and then one last question.

Nader Pourhassan, CEO:
Sure.

Dr. Mobeen Syed:
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The comment I'm seeing this overwhelmingly over here so much appreciation for your work so much
appreciation for your wife's contribution. So I have this comment right now. We're here tell your wife.
Thank you. She along with you change the entire world or soon will so of course, it's a matter of Pride
as well. So please thank you from all of us as there has been so much appreciation for your leadership
and for your company and for whole whole team.

So here is my surprise question for you then, rotally different from the rest of the interview. What is the
secret of the leadership that you have learned so far? What is one or two things if you wanted to teach
us all what would you like?

Nader Pourhassan, CEO:
I'm always trying to be a good student ... and if I can just learn quite a bit myself, that will make me
very happy. But in regards to, for example, CytoDyn. Whenever I look at a project in a previous
businesses, with this business, to be an entrepreneur and be able to be successful you have to look at
the whole thing two ways.

One is in my opinion my humble opinion. We should first look at it and analyze the situation. As we all
know the equation A = B + C ... you have to understand it before you get your "A". And if the process is
very difficult ... A = B + C + D ... then you have all these variables. You have to know the variables,
analyze the mechanism of action of each variable, and then you might be able to guess the results.

That's what I did with monotherapy. I did a lot of work — which it's not time to talk about why we [didn't
monitor people] with HIV ... and then the second portion is, which is very crucial, you have to have
positive energy.

Nader Pourhassan, CEO:
You have to have enthusiasm. And for that indeed it to my wife who changed my life eighteen years
ago, and we got married — and she is a wonderful person. And thanks everybody for thanking her. I
have to do that everyday at least a thousand times, but I'm not doing it [now] ... I will be thanking her
again.

Dr. Mobeen Syed:
Perfect. Thank you very much for your time. There are tons more questions here. Maybe we will
request your time once again, but I know that you're very busy and you've given us almost an hour —
now actually more than an hour. Thank you very much for your time. Thank you to you from coolbeenz
as well. Thank you for coming over.

Nader Pourhassan, CEO:
Thank you. I appreciate here. I enjoyed it. Thank you.

Dr. Mobeen Syed:
Thank you. Have a good day.

Nader Pourhassan, CEO:
You too.

https://www.transcriptshare.com/s/cydy/leronlimab-discussion-with-dr-been-july-4
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Leronlimab Discussion With Dr. Been, July 18
July 18th, 2020, 6:00 pm EST to July 18th, 2020, 6:52 pm EST

Participants
Nader Pourhassan, CEO
Dr. Mobeen Syed

Dr. Mobeen Syed:
Hello. This is Dr. Mobeen Syed from www.drbeen.com. Welcome to the Doctor Been Talks.

Today will continue our discussions about COVID-19. And one of the drugs that we had talked about
was leronlimab. We have done those discussions about leronlimab separately. Then we had spoken
with our guest here, doctor Pourhassan, in the past as well. And there are some exciting things that
are happening in this area, and we, I was receiving a lots of comments about leronlimab and further
discussions. So I thought we would request for a follow-up as well.

So Dr. Pourhassan joins us once more. Thank you very much doctor for joining us.

Nader Pourhassan, CEO:
My pleasure to be here, Dr. Mobeen.

Dr. Mobeen Syed:
Thank you very much. We have tons of questions from the #koolbeens here who are interested in
understanding more. For the completion for this segment, I know that we had done this discussion in
the past as well, about the background of CytoDyn and leronlimab, but just for the completion of this
video segment, if I can request from you once more, if you can talk about CytoDyn, your background,
what is leronlimab, so that we can then launch from there?


CEO & CytoDyn Background
Nader Pourhassan, CEO:
Yes, sure. So my background is in mechanical engineering. But when I was asked to join the CytoDyn,
I had a 25-year background in business. So I was able to come into CytoDyn and take the company
out of bankruptcy. After a few years, we saw that FDA put a hold on that molecule, which was called
"cytodyn", and that's when I was fortunate enough to come across Dr. Paul Maddon's molecule, which
is leronlimab; at that time was called PRO-140.

We took it, and Dr. Paul Maddon practically babysitted me, and taught me everything I needed to know
to go forward and be able to develop this product for a different path, which was practically my vision,
but Dr. Paul Maddon said "this is the path you want to take. That's fine, but this is how you should do it."

And I brought the team that Dr. Paul Maddon had for PRO-140: Dr. Nitya Ray, manufacturing expert; Dr.
[Tom Boie], and Amarex — Dr. Kush Dhody, who's under Dr. Kossam Kosampur. So the team came
together very well. I was very pleased with that, and we are where we are right now.

Dr. Mobeen Syed:
Excellent. Thank you very much. And for the viewers as well, and for Dr. Pourhassan as well, when you
see my eyes just shifting around here, I am looking at the questions, and I'm looking at the comments
as well, and making sure that the viewers have their participation in here, as well. So first of all, in the
comments, I'm seeing lots and lots of folks, saying "thank you for coming back for the discussions".
Thank you. Now some questions.

Nader Pourhassan, CEO:
Yeah, I'm sorry. Go ahead.


Stat. Analysis Unblinded Data
Dr. Mobeen Syed:
These are the questions that I have already curated, and then I'm going to go over the questions here
in the commentary as well, and go over them.

So some questions here about the data unblinding. So I'm going to start with that. So, as someone not
in medicine or research, I am very curious in steps of statistical analysis that's done with the unblinded
data. It is one. The similar question here is — is the data statistically significant, positive news? Has
the FDA received any of the results at this point? When will we know who received placebo versus
not? When can you publish and release that data? So lots of good questions.

Nader Pourhassan, CEO:
Very good questions. First of all, for everybody to know — to have a background that's not in biotech,
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there are not any problems because you have to do a drug development. If you don't have the science
background, like I don't, you need to have a top scientist to come and find a molecule. They call it
discovery. The discovery for the leronlimab was done twenty-five years ago almost. So that discovery
was done by Dr. Paul Maddon through Dr. William Olson, PhD from MIT, who worked for Dr. Paul
Maddon. Dr. Paul Maddon did a fantastic job getting that product to get it.

Now, when it comes to Phase 1, Phase 2, Phase 3 — all those go well with FDA, and then you get to
announce your primary endpoint. When you had your primary endpoint, FDA will look at that and say if
you can file BLA or NDA (New Drug Application or Biological License Application). Once that's done,
the FDA will have to give you a PDUFA date, and the PDUFA date will set the time for when they, how
long time the FDA has to review all that application. If your application is not as extensive as they want
it to be, then they could say — okay, refuse to file which we got. And then come and cure these things,
and, perhaps, come and talk to us in a type A meeting to make sure this time we have everything
settled down the right way, and then file BLA again, and that would delay at sometime a month or two.

Nader Pourhassan, CEO:
Once you do that, then you get a PDUFA date and you go forward. Now, in regards to COVID-19,
everybody is very focused on this, and we said we will be unblinding the data by the last week, which I
told everybody we are unblinding it. So during this week I don't have the data. I don't have the unlinded
data. During the weekend Amarex is working very hard to have those results, and I'm hoping to be able
to get results on Monday and have a press release on Tuesday.

Is it a statistically significant? Well, that's what we want to find out. We had 75 patients. There were 86
patients enrolled. There are two different types of analysis. One is ITT is intent-to-treat, just everybody
has there. One is according to the statistical analysis plan (SAP) that we have already submitted to
FDA. Their might be some patients not being able to count toward the analysis, because of some
reason they didn't meet the going forward criteria.

Nader Pourhassan, CEO:
With all of that said, usually people will take 6 to 8 weeks after locking the data before they can
announce something. This is not the case now, because we're in pandemic and we're going forward as
fast as we can. So I have a lot of enthusiasm about the data from day one. Why? Because, as some
people said anecdotal — don't just out work out of [?], and that was a quote, I believe, from Dr. Bruce
Patterson.

And if that's happening, if we have those kind of results for six emergency IND in a very critical
population, then, moreover, how is this going to come out. So the results as soon as we get that, we
are able to announce whatever we can. They might be, you know, we just have to wait till few more
days to get those results. We are anxious, but very very optimistic about it.


Distribution / Sales Mechanism
Dr. Mobeen Syed:
Excellent. Thank you very much. Thank you.

So I'm going to look at my next question here. If the, so this has been a question that is very frequently
asked, and it has two parts. One question is that if the mild-to-moderate trial is a success, what is your
next step in two ways? Number one, how would you set up the supply chain? How would you distribute
it? Would this be available for outpatient? Would this be available in pharmacies? Would this be
available for at home use? Number one. And the second part is, how are you envisioning to push
further, do we go into the severe trial? What is your thought there?

Nader Pourhassan, CEO:
So whenever you get approval for any indication, the FDA will require the label to match the indication
of the protocol that was written on the protocol before you finish your Phase 3 — it will mirror that. So if
I'm going to develop a product, for example, for HIV for a combination therapy, you can't give it to the
patients for monotherapy once it's approved. That's called off-label, and it's not allowed, and it's illegal.
And we will never do that.

So with mild-to-moderate population, Dr. Anthony Fauci said something so powerful, that I told our
folks, our team members to put that on our website for people to go and listen to. At the 11 mark of that
video, which is right now available in our website www.cytodyn.com, Dr. Anthony Fauci at 11 minute-
mark says, that the vaccine has, you know, there're challenges but they're hopeful about vaccine, they
have treatment, but in regards to treatment, he said, he is very hopeful for monoclonal antibodies. He
said two of them held a lot in Ebola, for Ebola before. And because monoclonal antibody target in
exact specific location, they are very important sometimes. So he added that safety and efficacy is
very important.

Nader Pourhassan, CEO:
Now we have a monoclonal antibody, that is no secret, that has shown indication in clinical trials and in
pre-clinical trial for multiple indications — cancer, twenty three different cancers, and we have positive
results in Nash animal study and so forth. So if we get mild-to-moderate result to be very successful,
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then we'll be telling the FDA — here are the results, would you be approving us or would you be giving
us a Phase 3?

Now pandemic or not, FDA has rules about unmet medical need population. Keep in mind — mild-to-
moderate population recover very well. So this study is, the title of the protocol is to evaluate
leronlimab for a Phase 2 for efficacy and safety. So we have quite a bit of a subject to talk about, we
have about 8, I believe, 8 secondary endpoints and a primary endpoint, and all of those things. So we
have to give the results to FDA and see what we can do. But that's why we articulated to have a safety
look at the same time that we do this trial, the other trials, which are for critical population and be able
to give the FDA some more results, so they can make a decision, is it time to make exception and
make it approved, emergency approval immediately or is it something more we need to do?

Doctor Anthony Fauci says, "you might have mini monoclonal antibody for mild-to-moderate and some
for severe". Well, we're the only one right now that's done for both of them and, God willing, we're
going to see very soon where we are. We have shown everything in the 60 patients that we were
allowed to show, and I'm just excited to show the rest of it.


COVID-19 Prophylaxis?
Dr. Mobeen Syed:
The same here, the same here. I hope that if the results are good, and if we can look at that, hopefully,
instead of just asking for severe, it is possible that we can move ahead with the approvals to.

And I wanted to add on one more comment over here about the prophylaxis as well. So somebody had
asked me here, which was a very interesting question, and that was that for leronlimab, there has been
a talk of the HIV prophylaxis. Has there been a similar approach for leronlimab as for prophylaxis in
COVID-19?

Nader Pourhassan, CEO:
So it has not. Even though a lot of scientists would be looking at this very carefully for us, but we have
to take one step at a time. They're very, you know, our challenges were like always very big. We didn't
even get IND acceptance to the FDA, they wanted to do pre IND — rightfully so, as they were doing,
everybody, because we have no animal study.

Doctor Seethamraju, which we call a "hero" doctor, opened that door. Now we got the Phase 2, and
the Phase 2-3, and we finished the Phase 2. So that's a huge milestone. No? If these results are going
to show what we are hoping to show, which is great safety, great, you know, efficacy and so forth. Then
obviously we want to know what happened to the critical immediately which is right away, and then go
for prophylaxis, and go for the patients' population that recover and, perhaps, they don't recover as
much as they should recover. They still have lingering problems. We have a product that we believe
can help in multiple settings of this population or we just going to have to open, you know, break the
first barrier of getting approval, and then everything after that will fall in place.


Mexico Trial
Dr. Mobeen Syed:
Got it. So can I put you in the spot for a little bit of, about Mexico trial? So last time when we spoke, in
those days there was a discussion that there are trials starting in other countries as well. Is there any
any updates there? Have they started? Have you made progress there?

Nader Pourhassan, CEO:
So our legal team, Ms. Arian Colachis — she was so articulated. I said, "I don't know what's
happening." I mean, they ask us for protocol — we immediately sent it to them. They ask us for
memorandum of understanding — we didn't even translate it to English. We just had the Spanish legal
team review, and then we signed it, and sent it back. So now we got an attorney in Mexico. That's very
close to our legal, our legal team knows that person, and he immediately formed a call.

In my last interview I said, "I'm going to talk to the Mexico team right after this call", which was
yesterday. So after they call — after the interview with Proactive, I actually went and talked to them,
and I said to the Mexico team — "what is going on? We give you a memorandum of understanding, we
gave you the protocol, we've done with our trial in the United States." I go, "we might not have any vials
to even distribute between both countries, and you guys haven't moved?" And the doctor in charge
says, that "I am shocked. I did not get a memorandum of understanding". Dr. Gustavo Terán, he was,
perhaps, not getting it. There was a miscommunication there before them. They went back and figure
out what's happening. They are flooded with emails.

But again, if we get beautiful results right now, I think the whole world will pay attention. When we send
the memorandum of understanding, then they won't be looking at any other drug, but ours. So I think,
that the doctor was shocked. He promised that he's going to be getting on top of that right now. Our
legal team is now in Mexico involved with them directly. So we don't, you know, delay anything
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anymore. Hopefully, next week. I'll have some more information about this to share with everybody.


Hanging In There
Dr. Mobeen Syed:
Excellent. And I just want you to quickly read this comment by Hardeep here: "If this works, like I think
it might for COVID-19, I am nominating Dr. Pourhassan for the Nobel Prize."

Nader Pourhassan, CEO:
So thank you, thank you so much, but I will do respectfully pass it to the Dr. Paul Maddon who made
the product. It's much more appropriate for him. He has been a fantastic person for me, and I can
never thank him enough. So but I appreciate that.

Dr. Mobeen Syed:
Absolutely. And the thing that I'm seeing is the, in just like we have the #koolbeens tribe over here, and
there is a passion, and there is an engagement with the scientific understanding and facts here, I see
a lot of passion, a lot of support for CytoDyn, and its work, its leronlimab. So congratulations for that.

Nader Pourhassan, CEO:
I appreciate that. Now, when I got a call from the first patient, Samantha Moti, as she said, she was
crying that she didn't, you know — her life was saved, her husband had told her what happened. And
then the number of patients got more and more. And then you look at it, say — are these anecdotal?
Obviously anecdotal, but when you have 60 of them, you're proud that you were able to be able to
have a product, that you're blessed to have the product to do such things.

So this is a beautiful situation for CytoDyn's shareholders. I can't thank them enough for hanging in
there. We went through very long period of time that the stock was getting beat up and all those
shareholders hung in there. So I appreciate that.

Dr. Mobeen Syed:
Excellent. So, before I go to my previous comments, I want to look at some of the comments here as
well and ask these questions, so the live viewers can chime in, as well.

So there is a question here. Have you any idea when into our trial participants and YouTuber, [Milan
Thai] will learn if she got leronlimab or the placebo. I think it's still talking about the unblinding of the
data.

Nader Pourhassan, CEO:
Yeah, we can talk about that. Allow us to have a press release on Tuesday morning. We are just a
couple of days away. As we said before, our optimism is through the roof. You have to hold me down in
regards to my optimism. So and it's all based on facts about the 60 patient emergency IND.


Other Agencies Worldwide
Dr. Mobeen Syed:
Got it. One more from the live audience here. With the increase in COVID-19 cases in other highly
populated countries such as India, is CytoDyn working with other NIH agency similar to Mexico to quell
the impact?

Nader Pourhassan, CEO:
Not yet. I'm just very disappointed that the situation with Mexico took so long. Now, hopefully, that call
yesterday would change it, but we have a 25 patient study with the critical population which could be
enrolled within couple of weeks in Mexico, and then we could get approval. And I talked to Dr.
Gustavo Reyes Terán, and he was aligned with that, but I'm sure he's overloaded. I mean with the
majority, I mean these people are so overloaded. I am just, you know, feeling so bad for them. But let's
see if we can get at this one NIH to work with us and get it done, and then, perhaps, many would follow.

Dr. Mobeen Syed:
Excellent. So I'm going to switch gear a little bit from data unblinding and towards doctor Bruce
Patterson. So even last time, there were lots of questions about Dr. Patterson, and even now I have
lots of questions on Twitter. I have a lot of questions on your previous video in the YouTube comments
too. So I thought, I'll do some follow-up on these questions. So if you're ready for that?

Nader Pourhassan, CEO:
Of course, go ahead.


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Dr. Mobeen Syed:
So one question I'm going to read from here, and then I will, I'll go to the screen here as well.

The question is, has CytoDyn considered purchasing of IncellDX Diagnostics, and bringing Dr.
Patterson and his team under the CytoDyn banner? So start from here.

Nader Pourhassan, CEO:
Yes. So people don't understand all the whole picture of how we go about. When I first got involved
with CytoDyn being a mechanical engineer and in my engineering background, I became in the
situation and I saw — hey, our scientists at that time were not going forward, and we are working with
people's money, it's our shareholders money that pay my salary. So, I mean, I am responsible for every
penny.

So when I separated from that scientists, you should see the chat board. They used bad words in the
way that I never imagined people could use it against me, saying he is an arrogant man for not working
with that scientists, but then we brought the right scientists — Dr. Paul Maddon, Dr. Scott Hammer, Dr.
Jay Lalezari, and the names go on and on.

And then we accomplished what we did. They realized that I'm not really that crazy. I am trying to get
the best bang for the shareholders' buck, you know, so I worked very hard on that and I took a lot of
beating. Now a lot of our shareholders are, I guess, in touch with us. There is Bruce Patterson, and
they are talking to. Someone who have told me that they have invested in a IncellDX — good for them
and good for Dr. Patterson.

Nader Pourhassan, CEO:
My only situation is when we use any lab — if the price is like five times more in one lab, we go to the
lab that's cheaper if the quality is exactly the same. So those analysis happens all the time. It's just a
business decision. But in regards to having Dr. Patterson be part of CytoDyn, we have not talked about
that beyond what we talked before. Dr. Patterson, obviously, you know, a strong scientist. He's
welcomed to talk about leronlimab, but the data from laboratory always belongs to CytoDyn's
shareholders.

So CytoDyn's shareholders would make that decision. They have trusted me with those decisions, and
I hope, I don't fail them. But I would for sure have, you know, tell them — the shareholders, I will tell
them exactly what I'm doing. That's what I'm doing right now. We changed lab from IncellDX to
LabConnect, that's on the public domain. And Dr. Patterson is welcomed to talk about leronlimab or
anything else. We love Dr. Patterson. We have no problem with him. And we just have to carry on
business and go forward, but a lot of people want to tell us, how to go about and get the IncellDX's
purchase, that we just don't make those decisions. The board members, and the board members, they
don't have any intention of doing so.


Cancer -> COVID19
Dr. Mobeen Syed:
Got it. Got it. Thank you very much.

One more follow-up question about Dr. Patterson. So Dr. Patterson has gone on record saying that this
is a RANTES disease, COVID-19. Was he responsible for the mechanism of action or can you tell me,
how you do the link from? So how did we reach? Well, was there any route for Dr. Patterson from
cancer to COVID-19? So there are two questions in here.

Nader Pourhassan, CEO:
No no. Absolutely so. People should know the background. We started with monotherapy, because I
chose monotherapy over five paths that Dr. Robert Schooley put in front of us. Monotherapy started
everything. All these data we have for serious adverse events being negligible is from those studies
that we conduct. Then we look at GVHD, because I was adamant about GVHD. There was a lot of
push back from our scientist. We ignored them and went that path and GVHD got started.

Then, I wanted to go to cancer. The old board member who's suing the company right now stopped
me. They actually stopped me. The executive chairman in the past stopped me from going in cancer.
He said "no". And he overruled me. So in that year and half that the company went to negative 20
million dollars — that the debt under him — about that much. We, I suffered, I, you know, cried
sometimes, you know, like a little baby because I saw everything we built was getting tear apart.

Nader Pourhassan, CEO:
Now, after that, we were going in cancer, we wanted to get breakthrough designation. It was a lot with
Dr. Richard Still who came in and said "I want to join your cancer program". We already had a cancer
program. Dr. Dennis Burger who, I really love this person, is in hospital and we pray for him. He
patented for cancer. So there's a lot of people who did a lot of things over here, not me. So don't give
me the credit. Give it to the scientists — Dr. Dennis Burger, Dr. Paul Maddon, all of us.

So with all that said, then we had Dr. Scott Kelly. The chairman of the board is calling me and says
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"you know what, I'm..". Before I say this Dr. Scott Kelly constantly reads, and he's so excited about
cancer, all of these indications. And before he became the chairman of the board, he would call me
and just go on and on — oh my God, you don't believe that there is indication in this area? And I don't
know the science. I'm not at biological science and I keep saying "Scott. Okay, I got it, you know, don't
go too deep into the science because you lose me". So he called me and he said — "Oh my God, we
don't have indication in COVID-19, but we can stop the ARDS (Acute Respiratory Distress Syndrome)".
And I said "well, I'm going to call Bruce". So I called Dr. Patterson. I said "Bruce, Scott is saying we
have an indication in ARDS". He said "yeah, I think so". He was very sure, immediately said "yes".

Nader Pourhassan, CEO:
So I had no problem. I called Scott and said — "I'm putting the press release tomorrow". And he
laughed. He said. I said the shareholders should know that there is a potential here, and I'm going to
say "there is a potential". So we said that and then we sent the protocol immediately. A fantastic job
Amarex did, preparing the protocol Dr. Kush Dhody within a week or so. We got it, gave it to the FDA
and that's when everything got stopped, because FDA said "no no no". And Dr. Seethamraju, "a hero
doctor", carried us, making that emergency IND request.

Now, when that result was positive, Dr. Seethamraju from Montefiore wouldn't go another day with us.
If he would give that to them, he's not very patient if it's a patient's life is at jeopardy. And I know you,
perhaps, you will be the same. You worry about the patient's like, you don't care about the CEO calling
you, say — "oh, I'm so excited". They hang up on if I do that. So he went ahead and he was excited,
and he started texting me, calling me every day. We want to get more emergency IND, and then there's
the story unfold the way we did.

Nader Pourhassan, CEO:
Now. We don't need any more scientists right now. We need drug development experts, which we have
and we are working with them. We don't need a scientist to come and figure out another molecule for
us. We don't have any more pipelines to explore. We don't want to discover anything more. And right
now with the 40 or so indications, we will get another 50 indications. But let's work on the 40
indications, let's work on COVID-19 results. Those results go through somebody else. The laboratory, if
the results are, but the primary endpoints, secondary endpoints are clinical outcomes — has nothing
to do with anybody but the hospitals where the patients are at.


Has Nader Seen The Data?
Dr. Mobeen Syed:
Got it. Got it. Thank you very much.

One more question. It is a mixture of various messages in it. So there is one part — so this is Kennen
O'Neill, saying the smile was large in the last Proactive video. So it has been seen. So have you seen
COVID data? How is your relationship with Dr. Bruce Patterson, your thoughts on his TEDx?

Nader Pourhassan, CEO:
Yeah. Doctor Patterson's TEDx was fantastic. He's — I love Dr. Patterson. With that said — Dr.
Patterson is a great man. And he has done lab work for us. Whether we agree or disagree on some
certain path of going forward, that has nothing to do with my feelings for Dr. Patterson. We made sure,
that Dr. Patterson is happy, hopefully, with us, with all the contracts that we signed with him.

So with all that said. My smile that I was showing to everybody — everybody said "this is a hint". If
that's the hint, then I've been hinting since December past year! I was not hinting right now. One of the
investors who was kind enough, a shareholder said that to me, that I was very worried, but [?]. It says
anecdotal — don't walk out of the ECMO. And that's, I think, Dr. Bruce Patterson's record. It is very well
said. So I'll be wearing that shirt once I get the positive results — starting Tuesday most likely.

Dr. Mobeen Syed:
Got it. So talking about the result, there was a question, and this has been very common, and I believe
you have touched on this before as well. Before the unblinding, did you have access to the clinical data
from the anonymous patients?

Nader Pourhassan, CEO:
To the unblinded data?

Dr. Mobeen Syed:
Before the unblinding. I think yeah, I think that unblinding is not done yet.

Nader Pourhassan, CEO:
The unblinding is being done right now by Amarex, but I don't have any access to that. We have to wait
till Monday. They can't just unblind something and just say "here it is". There's a lot of work that goes
on; usually, as you would note, in the most biotech companies it takes 4 to 6 weeks. So we asking for a
couple of days, so I hope everybody's appreciating that.

Dr. Mobeen Syed:
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Got it. So can I ask you a tough question a user is asking?

Nader Pourhassan, CEO:
Absolutely.


HIV - Difference from 2006?
Dr. Mobeen Syed:
So Erjo0602 is saying, "how is this drug different from 2006? FDA denied it then, why would they
approve it now? It's not like you can work better today than thirteen years ago."

Nader Pourhassan, CEO:
So I love these kind of questions. I absolutely live for these kind of questions. You know, if we're going
to be pragmatic, and if we're going to be logical, if we're going to be right by our own conscience, and
not just be long or short at some stock, and just use it as a reason and motivation for our talk; it would
be a really good day for everybody.

Now. We took 800 patients; 595 in monotherapy and 45 before that, so that's 640 patients. It didn't
work in 2006. In 2006 the FDA gave a letter. I have a letter from May 2006. The FDA said "Fast Track
designation is given to this company", because Dr. Paul Maddon at that time demonstrated that the
product was better in resistance, side effect, toxicity and compliance — four reasons: 1, 2, 3, 4.

Better than the current drug. Dr. Jeffrey Jacobson went public and after Phase 2a said that this product
drops the viral load within two days more than any approved drug out there. This is Dr.
Jeffrey Jacobson from NIH. These are top people in the world.

Nader Pourhassan, CEO:
And when we saw the monotherapy — my God, people go without any drug. Do you know how it is to
look at a patient who gives you a hug after two and a half years of being on leronlimab, saying "four
drugs, I was taking. Morning night, before going to bed, you know, all of these things. Now I'm free. And
my body is feeling rejuvenated" — even more than just, it's just like the body is getting better in other
areas that the patients wouldn't understand.

Now, with those said, right now, we have 215 patients with one year, almost, with leronlimab putting
away all that drugs. Three of them are right now going on in CD03 alone. There are some patients who
have gone six years. What are we talking about when they say it's not working? "It wasn't working,
there is not" — this drug according to Dr. Daniel Kuritzkes, who was Harvard University Medical
School's top person, at least at in Birgham hospital. In that meeting that I've got to know about
PRO-140 at that time, leronlimab, he said "I don't think, there is any drug that could be better than this,
but finding a way to make it commercial is the challenge". We found it, thank God.

Now, the drug worked then. It is working now. Is it going to get approval from the FDA? We're working
with that. And if COVID-19, we get the results in a couple of days, and then a week later we'll talk
about critical population. And if those are positive, I hope that person will come back and, at least,
admit that it was working then and it's working now. That's my opinion.


Manufacturing Scaling
Dr. Mobeen Syed:
Got it. Thank you very much.

There's a question from Shannon Williams.

Please ask about manufacturing. Can they meet potential demand? I'm going to connect this question
to one in the discussion last time as well. I missed last time asking about American Regent or the other
distribution wings that you may have been partnering with. How will you meet, once you are approved,
when you are approved, how would you meet the demand? How would you scale? Any light on that?

Nader Pourhassan, CEO:
So to meet the demand, you have to have your drug substance come in, and then do fill and finish,
and have it labeled. Labeling is happening in Sherpa. Right now they would be able to send that label
— whatever approval if we do get, we put it in there, immediately send it to the hospital. The
transaction will be conducted by American Regent — that's the United States company, a branch of
Daiichi, which is, I believe, the second largest pharmaceutical in Japan. They're the mother company
for American Regent.

So, we feel that we are in great shape with them. As soon as approval is given, if it is given, then FDA
would, as soon as they give us the approval, we will have sales immediately happening, because we
have people needing this. We don't have to go advertise this like HIV saying "hey, I have a product.
Add it to the list of approved drugs". We would immediately have access to sales and so forth.
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Dr. Mobeen Syed:
Got it. Got it. So you feel that you're in a good shape when the time comes?

Nader Pourhassan, CEO:
Absolutely. Absolutely.

Dr. Mobeen Syed:
Absolutely. Awesome.

So a few questions. I'm going to switch clear towards the mechanism of action. And please feel free to
say that — "hey, I need my scientists to come and talk about them".

Nader Pourhassan, CEO:
Sure.

Dr. Mobeen Syed:
So high level discussions here.

Nader Pourhassan, CEO:
Yes.

Dr. Mobeen Syed:
So one of the questions that intrigued me as well, was about the Alzheimer's connection.

Nader Pourhassan, CEO:
Yes


Alzheimer's?
Dr. Mobeen Syed:
So just like a previous question like, how did we go from cancer to COVID-19 — how did you
reach Alzheimer's? Is that something that you're talking about that this drug can be helpful there as
well? How have you observed that? Is there some connection with COVID? What is the context there?
How can we understand Alzheimer's role in there?

Nader Pourhassan, CEO:
Absolutely. So in the past, I would be talking to people at Diego [?] sometime. Dr. Mark Baker. It was a
few years ago. And I said "are you guys looking at maraviroc? What do you guys look at?" And he
would tell me that maraviroc — HIV rights is for ViiV. Everything else is for Pfizer. But he said that there
is an indication that maraviroc might work on septic shock, might work on Alzheimer's, on recovering
from a stroke. And then I would go to our scientists and say — "hey, these have potential", and the
scientists always would say to me, that "this product looks like it stops inflammation". It would actually
allow patients to live longer, perhaps. These are all hypotheses — they've not proven or anything.
That's what they would just be talking, when we talk. Now...

Nader Pourhassan, CEO:
When it comes to the doctor from Montefiore, the top Alzheimer doctor in the world, calls me and says
that "I've been looking at leronlimab very carefully". Now, these are the experts in their field — Dr.
Parviz Lalezari. "And I think you should immediately do a study in Alzheimer's. We have 400 patients in
Montefiore". I don't even go there anymore after that and try to say "okay, does the mechanism of
action work, let me analyze it through my scientists?"

I just asked to our scientists, is this something we should look at? Because we have such a great
safety among 900 patients in the past, we immediately sent the protocol to FDA, we do in vitro studies
sometimes and our rationale goes to the FDA. FDA looks at it, says "yes, go ahead go with Phase 2".
Then we let the drug be administered and get human results. Just like we did with cancer.

My mother-in-law had problems, I mean, very bad problems — metastasis breast cancer to liver, lung
and brain. Now, she survived. At that time that they said that she would not survive. The head doctor
OHSU has said that — her brain — that without this, she wouldn't survive. Now my mother-in-law had
some problems after she was doing good. She had to get more radiation because there are some
problems. It is not an easy thing for one molecule to just take care of everything. We're not saying that.
We're just saying,

Nader Pourhassan, CEO:
And do we want to explore other indications; do we need to scientists to tell us? Absolutely. Doctor
Bruce, Dr. Scott Kelly, and I just brought this note to tell everybody: Timothy Brown's doctor, Dr. Gero
Hutter, who is very famous in HIV, he's the one that realized that HIV cure in Timothy Brown —
functional cure happened. So he's very well respected. He just signed an agreement with CytoDyn for
the Scientific Advisory Board, because he is very much aligned with Dr. Jonah Sasha about that we
might be able to do something in a bone marrow transplant settings for the HIV cure.
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Now Dr. Scott Kelly also signed up. Dr. Hope Rugo for oncology — a very well-known director of the
cancer department in San Francisco — University of California, San Francisco. In regards to NASH,
we're going to bring the top person in NASH. So no one scientist is great in every one of these areas,
but there are scientists that are very much specialized in those areas. We will bring them and Dr. Scott
Kelly, who is doing fantastic job, in our next shareholder conference call — he will give the list of
everybody that we have signed for the Scientific Advisory Board.


Pregnant Women?
Dr. Mobeen Syed:
Awesome. Awesome. Thank you very much for that detailed answer.

While I continue on the mechanism of action, meanwhile a small question, which I am curious as well
about, and that is from Sarmili586: does the drug work on pregnant women and babies?

Nader Pourhassan, CEO:
So we were told that it passes through the placenta, and therefore it will help the baby from getting
HIV. Again, that's just take our scientists — who look at this. The scientists — they said that IgG4
antibody, that's the kind of antibody or monoclonal antibody leronlimab is, it passes through placenta.
So as we speak, we have started a year and two months ago with pregnant monkeys.

The study has been already conducted for reproductive data that we have to give to FDA. And FDA
was kind enough to say that you can give this data during the review time, but that study is revealing
some beautiful results. And yes, most likely, we believe it will work for pregnant ladies, and that would
be probably the only thing that an HIV-pregnant lady should take while she's pregnant and, perhaps,
going to give birth to the baby, so to protect the baby without hurting him and taking all these toxic
drugs.


Safety?
Dr. Mobeen Syed:
Got it. Got it. Thank you very much.

So there is a question from Shantel. What are the advantages and disadvantages of anyone taking this
drug who may have underlying comorbidites, such as diabetes, epilepsy, autoimmune diseases,
endometriosis, asthma. So any any safety and comorbidity issues that you may know?

Nader Pourhassan, CEO:
We have not seen serious adverse events in the first 900 — hardly any, maybe one or two hundred
question right now, but I'm not sure exactly, but hardly any. So, we have so much appreciation for Dr.
Paul Maddon and William Olson. The way they made this drug. It binds to 108% the binding site that
HIV uses. Somehow that binding site supposedly, probably [?] is fabulous, because other CCR5
antagonists don't do what leronlimab has shown.

So, we haven't had any problems, and that's why FDA has been so great with us. We asked for Nash,
they give us the Phase 2; we asked for colon cancer, we got Phase 2; we asked for basket trial, and we
got Phase 2. And now, I think, we have 5 or 6 patients enrolled in our basket trial — cancer basket trial.
22 different solid cancers. I think we have pancreatitis and prostate. I could be wrong, but there are
different cancers beside breast cancer that are enrolling in that trial.

Dr. Mobeen Syed:
Got it. Got it. Thank you very much.

Continuing on with these discussions: there are so many questions. I think we can spend hours here.
I'm aware of your time's importance as well. I'm trying to make sure that we have the best from you for
the viewers over here.

So this is an interesting question, and I don't know if this is something that you can answer — maybe
the scientist at a later time. The question is the prophylaxis: and I asked you this question a little bit
earlier as well. So this question came up again. For COVID-19 prophylaxis is there some way that — is
there some trial in the [mild patients] — or do you have that thought, or it is for the advanced stages?

Nader Pourhassan, CEO:
So for now, we only have mild-to-moderate and critical. But having said that, for prophylaxis, I need to
share some fantastic results with everybody. And I will get these results documented so we can,
perhaps, talk about it more. But everybody's asking us, do your HIV patients who are still taking the
leronlimab, whether they're in extension or or not — have they got COVID-19? Some of these patients,
we had patients, unfortunately, that were homeless — HIV patients who are homeless, and Dr. Jay
Lalezari will take care of them. So they are not in a great situation. None of them got COVID-19 so far.
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We don't have any data, if they do get, we get immediate report — SAE (Serious Adverse Event) will
be reported to us. So do we have a hope that this might work? I definitely do, but we don't, we need to
do this study as FDA has always said — the randomized pretty good to find out. We can do a small try,
perhaps, and then be able to get this.

But in regards to HIV prevention, just allow me to say this: that this product is most likely once a month.
The drug binds to the CCR5 for over 60 days, and it is 4 millilitres, half-life of 10 days. You will have
half a millilitre after 40 days in your bodies. So imagine these people, these individuals, over 187,000
took Truvada for prevention in the United States. Imagine if you tell them you don't have to
take Truvada where you have diarrhea, nausea — all these problems, when you don't have HIV yet.

Just take the injection once a month Sub-Q, self-administered. Unbelievable. And we are definitely
going to explore all of these pathways. And we are in the midst of doing that, right now.


Company Finances?
Dr. Mobeen Syed:
Got it. So I'm going throw in a finance question here. Should we still have more medical questions
there, but Zoltan says: as an investor to the CEO, how do you foresee this company in terms of
finances in six months or a year from now? And again, please feel free for whatever you want to
answer, or not.

Nader Pourhassan, CEO:
Absolutely. Thank you for the question.

So, when the stock was sitting at 30 cents, and we were getting pounded by the whole community, I
said, "we're not going to raise money at these levels". There was offer of twenty million at the same
time for three hundred million shares, twenty or thirty million from a well-known bank. And a lot of
those board members who were part of us before, they voted that if they say, yes, we definitely should
do this, and I had always said "no".

And our board member Jordan Naydenov says "absolutely not, Nader, raise money as you need it".
Every bank, investment banker involves who told me, that I am "the most stupid person in the world
because I'm not raising a whole bunch of money, and just dilute it! Dilution doesn't kill you." They keep
saying that. And Paul — I'm sorry Tom Frijohn, Chris Clark, and Bobby Roberts [?] those three guys I
owe them a lot. They helped me to accomplish raising money little bit at that time.

Nader Pourhassan, CEO:
Now, we're not at that point anymore. We are the point that we filed application for NASDAQ. We have
offers right now to raise money, but I feel very strong about what we have. So I'm not jumping and
raising two hundred million dollars right now, even at the level of 5 dollars and then sit, relax as a CEO
and just get my salary and just go forward. I said "no". The shareholders, the dilution means everything
to me, and I'm going to ask the board to allow me to go forward with raising money after the uplist. Ten
million — twenty million shares at, let's say, 7-8 dollars, hopefully, at that time. And we will have plenty
of money.

Our last raise was at $4.50, when the stock was $2.20. But these are things — I don't take credit for
the making of the product, it was Paul Maddon, but I take credit for this one.

Dr. Mobeen Syed:
For the business side of it. And thank you very much. I think very well done.

The comments, when I read here, where people keep saying that Dr. Pourhassan actually brought it
back from the dead. I hear this comment again and again, so definitely there is a lot of good work that
you've done.

Continuing with the questions. The trial-related — some more questions. One of this, set of questions
is by one person here. Will the trial results be published, and if so, by whom? I believe you touched
upon it a little bit earlier as well, my apologies for repeating it, but just put that in front of you, will be
published, and if so by whom? What data can we expect from the Safety Board peak in the severe
trial? If the results are what we hope what are CytoDyn' top priorities?

Nader Pourhassan, CEO:
So we got the top physicians in the world, in my opinion, that are going to be publishing that. Starting
with Dr. Seethamraju from Montefiore, Dr. Otto Yang from UCLA, Dr. Nicholas Agresti and Dr.
Chris Recknor, which I cannot thank him enough for bringing almost twenty some patients within two
weeks to enroll.

These are top people. I mean, I'd say that, unfortunately, there are some very, you know, people who
are, they have trouble, I guess, with themselves. They call these institutions and they try to verify what I
said is right, and they bother these people. I hope they don't do that. But these people are good
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people, and they are going to publish the paper and beyond that paper themselves.

Then Dr. Kush Dhody, I should never forget. The person who's behind all of these clinical trials from Dr.
Kossam Kosampur's company is being fantastic. So they are all going to be publishing the paper
immediately.


FDA Communications
Dr. Mobeen Syed:
Got it. Thank you very much.

And here is a question from Tony Santo. Did Dr. Pourhassan hear anything from FDA regarding these
results so far? What's the update from FDA, Dr. Anthony Fauci, or big boss, Mr. Trump? So here is the
question.

Nader Pourhassan, CEO:
So we hope that if we have some beautiful results to report on Tuesday morning, perhaps, then we will
be in a different ball game. I hope. We always said that the big media has talked to us. If the results are
positive, Big Pharma are talking to us, if the results are positive.

So we are planning for success right now, and we hope that President Trump will hear about us if we
do have some success. We hope that the people in charge hear about us, and help us with the
manufacturing immediately, if they are happy with the results. But the FDA makes all those calls at the
end of the day. They have to say — yes or no, go or no-go. And when you get that, then we really have
something.

Dr. Mobeen Syed:
Got it. Thank you very much. So one more question, and this is the last one that I have here from
Twitter. And this is a similar question that was asked last time as well.

So there are some questions, I believe they are important to our viewers. So they repeat them. This
question is about a small sample size. So, because of the small sample size, is it likely that the FDA
will ask for a Phase 3 mild-to-moderate trial? If so, how quickly can CytoDyn get up and running with
that?

Nader Pourhassan, CEO:
So we let FDA answer that, but I want to answer it in a different way that at least I give something to
this person's questions. A very good question.

In regards to the CD12, the critical population, we have 152 patients today. We hoped to be at 195. In
the protocol, we have an interim analysis halfway through the trial — 195. At that time, if the result is
good, we can have an approval, potential approval. This is a registrational trial. This is not the same as
CD10. Now, we are going analyze this next week — not the interim analysis — but the safety — the
Data Safety Monitoring Committee will look at the data independent of us and can communicate,
independent of us, with FDA.

The primary endpoint in CD12 is mortality. So that's a very interesting thing. So if there is a potential
that result is positive, I think FDA will do something with it. That's my guess. I'm not putting words in
their mouths, but in regards to the CD10 study, we knew that mild-to-moderate people recover very
well. But we also think that our product will be very very helpful, and helping those patients. So let's
just wait a couple of days, and then a week later, we also have CD12. So we got a lot of results coming
out, and hopefully we will be able to light it up.

Dr. Mobeen Syed:
And hopefully we can have you with us as a results come out, and we can have more discussions
where we can dig deeper into the questions about unblinding, and unblinded data and so on.

Nader Pourhassan, CEO:
Absolutely.


Vision
Dr. Mobeen Syed:
Thank you very much for this talk. The floor is yours. What is your message for all of us at this time?
Professionals, patients, leronlimab, what should be doing at this time? How is the way it looked like?
What is your vision at this time? How are you pushing things? What's your message?

Nader Pourhassan, CEO:
So, thank you so much for that. But Dr. Mobeen, people like you and doctors like you save lives. I don't
even come close to compare myself to you, people, you guys are the wonderful people of saving lives.
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Doctor Seethamraju, Dr. Paul Maddon, the inventor, who is a physician, and a PhD. All of these
things — what I have to say is: I'm very shocked in the business; when the world of business comes in,
it really pollutes everything, and you see a little bit different situations.

People should be very, very happy if they are involved with any product that can save people's lives. I
mean, when we see all these shorts coming, they asked me to have an interview with the short side of
people. And I always said — I'm all open. At the beginning, a few years ago, I thought these guys just
want to know the facts. And I will talk to them, and then they would twist the words and change it.

So the best way, in my opinion, to be happy in life is to do your best, and do it honestly, and be very
good as you can be, and communicate honestly. And hopefully, in biotech, there's a lot of good things
to happen for good products, and, hopefully, we are one of them.

Dr. Mobeen Syed:
Excellent. So, thank you very much. Thank you once again for your valuable time. Hopefully, we'll see
each other again next week, or the week after — whenever you have time with some good news as
well.

Nader Pourhassan, CEO:
Thank you for having me, Dr. Mobeen Syed. It was my pleasure.

Dr. Mobeen Syed:
Welcome. And thank you to all the #koolbeens for your questions, for your participation, for being here,
and for listening to the discussions. I would see you on Monday; tomorrow is my off. On Monday, we
will have Dr. Bruce Patterson with us, and we'll have the discussions with him as well. So see you then.

https://www.transcriptshare.com/s/cydy/leronlimab-discussion-been-july-18
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                Exhibit H
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Special Meeting of Stockholders, July 2020
July 22nd, 2020, 12:30 pm EST to July 22nd, 2020, 12:59 pm EST

Participants
Nader Pourhassan, CEO
Scott Kelly, CMO
Michael Mulholland, CFO
Arian Colachis, General Counsel


Intro
Operator:
Hello, and welcome to the special meeting of stockholders of CytoDyn, Inc. Please note that today's
meeting is being recorded. During the meeting, we will have a question-and-answer session. You can
submit questions or comments at any time by clicking the message icon.

It is now my pleasure to turn today's meeting over to Arian Colachis, General Counsel and Corporate
Secretary of CytoDyn, Inc. Miss Colachis, the floor is yours.

Arian Colachis, General Counsel:
[Good morning, and welcome to the special meeting of stockholders] of CytoDyn. I would like to thank
all of you for participating in our virtual meeting today. I am your moderator and now call the meeting to
order.

A representative from Computershare, who will be acting as the inspector of elections for this meeting,
is also in attendance. The inspector has informed me that a majority of the outstanding shares of
common stock of CytoDyn are represented in this virtual meeting. I therefore declare a quorum
present.

Arian Colachis, General Counsel:
Today's virtual meeting is a live audio webcast and will be recorded. At the end of the meeting, we will
have a question-and-answer session. You may submit your questions or comments at any time by
clicking message icon at the top of your screen. It looks like a TV on a chair. If you need a copy of the
proxy statement, the links are provided online.


Proxy Voting
Arian Colachis, General Counsel:
Okay. The order of business, I'll repeat, in case it was not clear, is consideration of the proposal
described in the proxy statement to approve the adjournment of the special meeting to solicit additional
proxies, if there are insufficient votes for the adoption of Proposal One at the special meeting to
approve Proposal One. Those persons who are voting virtually, please cast your vote now. If you have
given a proxy, your shares will be voted for you.

Arian Colachis, General Counsel:
That concludes the consideration of the proposal to adjourn the special meeting, if necessary, to solicit
additional proxies.

Arian Colachis, General Counsel:
The online voting will now be closed. The proxies and votes capturing this meeting will be tabulated,
and the voting results will be reflected in the minutes of the meeting and will be reported in a current
report on Form 8-K to be filed with the Securities and Exchange Commission within the next few days.
We will, however, take a few minutes now to complete the tabulation, so that we can provide you with
an update on the preliminary voting results.

We have a question from our stockholders who are appearing on "how do we vote?" There should be a
link on your screen, if you are appearing as a stockholder as opposed to a guest.

Arian Colachis, General Counsel:
Here are the preliminary results of the votes tabulated today. Proposal one — regarding the increase in
the total number of authorized shares of common stock, eight hundred million. The Proposal was
approved by over 65% of the shares outstanding.

Proposal two — regarding the adjournment of the special meeting. That proposal was approved by
over 67% of the vote cast on the proposal.
This concludes the formal business at the stockholders' meeting, and the meeting is now adjourned.

It is now my pleasure to turn today's leading over to Dr. Pourhassan, our president and CEO, who will
provide a brief overview of our business and future directions. Following management's comments, we
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will have a short question-answer period. Again, if you are a stockholder of record, and would like to
submit a question, you may submit questions online by clicking on the dialogue icon at the top of your
screen. Dr. Pourhassan, the floor is now yours.


Prepared Remarks
Nader Pourhassan, CEO:
Thank you, Arian, and thank you everyone for joining us in this special stockholders' meeting.

Before I start today's update, I must say, I recently have been receiving many kind emails from our
shareholders. And I want to read you one that was sent to me last night that I appreciated very much.
The email says — "Dr. Pourhassan, congratulations on the good news today. I believe in CYDY and
leronlimab. And I wanted to encourage you to continue fighting with all you have for the patients who
are counting on you. They don't have a voice, but you can be their voice. Please don't get weary or
tired. God bless".

Nader Pourhassan, CEO:
Please note, and rest assured, that I am, and my whole team at CytoDyn are very energized. We are
energized more than ever. And we will not stop working very hard until we explore every avenue and
every indication for leronlimab's potential to help mankind. We are honored to serve you, the
shareholders, and I thank you for giving us this opportunity. We are at CytoDyn believe that we are
very close to be able to submit some solid data from our therapy for COVID-19 to the FDA for
consideration — for final approval in two separate populations: mild-to-moderate, and critical & severe.

We will stay visible, transparent, and we will report honestly everything that happened in our company
as frequently as possible, like usual. So allow me to update you in regards to recent activities. First,
and most important, two COVID-19 trials; we started CD10, the mild-to-moderate population. As we all
know, we have unblinded the data on our Phase 2 COVID-19 mild-to-moderate population. And
CytoDyn announced yesterday the data in regards to the safety of the trial, and we'll be announcing
the efficacy as soon as the statistical analysis of all the exploratory endpoints are evaluated.

Nader Pourhassan, CEO:
So in regards to yesterday's news about the safety of leronlimab in the COVID-19 trial. Usually in any
clinical trial, if the final results demonstrate that the two arms of the study — the placebo and the drug
— have the same number of serious adverse events — same number — then you have a fantastic
result in regards to how safe the drug is. However, we already know leronlimab's safety with SAEs in
over 900 patients and so forth, right? So, what is the significance of having almost three times more
SAEs in placebo as compared to the leronlimab arm in this study?

Leronlimab is, probably, the only drug in the world right now that just announced that taking leronlimab
for mild-to-moderate COVID-19 can lower the risk of having an SAE that could be life-threatening by
64%. We believe this is an amazing achievement.

In this population of mild-to-moderate COVID-19, almost all patients recover fine; therefore, the most
urgent matter would be: how many life-threatening adverse events you could potentially have that
would make your life miserable while you recover, right? Leronlimab demonstrated in CD10 study that
it can lower that possibility by 64%. In the words of Dr. Jay Lalezari, this should be the efficacy for this
population.

But allow me to let our Chief Medical Officer, who is also the Chairman of our Board, a very close
friend of mine, Dr. Scott Kelly [talk]. Dr. Scott Kelly, could you please elaborate on these results that we
just announced yesterday, and its scientific significance, please?

Scott Kelly, CMO:
Yes. Thank you, Nader.

COVID19 is a very complex disease, and we are using leronlimab to leverage the immune system to
fight the virus, the restoration of the CD8 population, calm the cytokine storm, and prevent immune
exhaustion through immune trafficking. This is a very complicated process without a room for error; if
the immune system is not orchestrated perfectly, it has potential to show up as serious adverse events.
When you look at some of the other drugs that were used in attempt to modulate the immune system
for COVID-19 — for example, recent IL6 inhibitors — the SAEs worsened in the treated group versus
placebo.

For leronlimab to show a 64% reduction in serious adverse events is remarkable. And we believe this
will ultimately translate into improved patient clinical outcomes. This also provides us with further
confidence in ability of leronlimab to play a safe role in the orchestration of immune trafficking and the
tumor microenvironment for oncology indications. Many of the traditional treatments in oncology are
burdened with serious adverse events. And we believe that if leronlimab proves effective in oncology, it
will be a welcome addition to physicians' treatment options. Nader?

Nader Pourhassan, CEO:
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Thank you, Scott. So we can't wait to put out the efficacy results as soon as the statistical team at
Amarex completes that work. That work usually takes six weeks to create the top-line report; back in
for Progenics that work took two years in one of the studies. We want to do this in few days.

As soon as we have the top-line report, we will send to the FDA the whole package and request
emergency approval for this indication based on unmet medical need — the nature of this pandemic
that we're living right now. So what does this mean if we might be a few weeks away from potential
approval for leronlimab? What does it mean?

Nader Pourhassan, CEO:
In regards to our CD12 study, the process of approval could be even easier, as this study is the
registrational study — a Phase 3-study, and FDA has agreed with us that this study could lead to
approval, should the results be strong.

We're going to have the Data Safety Monitoring Committee (DSMC) take a look at the safety of the first
one hundred patients, who have already completed the whole course of the trial, which is four weeks.
Please note, this is not an interim analysis, but it's simply a safety look at the data by DSMC. We now
have 153 patients enrolled in this study, and are very close to 195 mark. The actual number that was in
the protocol for the interim analysis is 195, and we are very close to that.

Nader Pourhassan, CEO:
So, please note that in the last three-to-four months, we filed an IND for two COVID-19 studies. We
opened mini centers at hospitals and enrolled patients, about 240 patients in a timeline that could be
world record for any small office CD company. Check it out, please — 240 patients within three to four
months, initiated two clinical trials. We completed one trial already, and the second is close to half
mark, that allows us to have an interim analysis. No wonder there are lots of shorts that are nervous. I
don't blame them.

To put this in perspective, it took us six years or so to enroll 640 monotherapy patients in HIV, a very
easy population to enroll, as we always said. And now in three-to-four months — not six years, in three-
to-four months, we enrolled 240 patients. I am so proud of our team who have done this amazing
achievement so far. And our shareholders have been rewarded for these accomplishments, thank God,
and to be exact, over 3.1 billion dollars have been put into our company's trading [market cap] — 3.1
billion dollars in the last seven months have been put into the trading, 930 million shares have been
traded this year. I hope somebody can check this study, because I think this is a record also, world
record.

This is from a company who had one molecule called cycoline, that the FDA put a hold on it and said
"stop your trial and go away!"

Nader Pourhassan, CEO:
So allow me now to update the view on our cancer trial — all our cancer trials, 23 different cancer
trials, a trial called a basket trial that the most people don't have. One of the few companies have a
basket trial — 22 different cancer and 20 separate NCTNs by itself.

We're planning to meet with the FDA in September for a breakthrough designation discussion, as we
believe we should have enough data to make a case for breakthrough designation. I don't know if
everyone remembered because of the pandemic — everybody probably, forgot. We have potential for
the breakthrough designation in 23 different cancers. We currently have six patients enrolled in our
basket trial with five pending eligibility for a total of potentially 11 patients. In the NCTN's main trial and
compassionate, we have 15 patients and 12 on pending eligibility, for a total of potentially 27 patients.

So I am now going to ask of Scott Kelly again to elaborate on mechanism of action of leronlimab that
allows this kind of indication to be potential. Is this real, is this dream, is this a miracle — what is it, Dr.
Kelly, please?

Scott Kelly, CMO:
Yes, Nader. Thank you.

So COVID-19 has been a great teacher for us in regards to leronlimab, and we believe that the safety
in COVID-19 would translate into leronlimab's use in the tumor microenvironment.

In cancer, we work by controlling the tumor microenvironment by limiting T-reg infiltration, which shuts
down the anti-tumor response, conversion of protumor M2 macrophages into anti-tumor M1
macrophages, limiting angiogenesis that enables tumor growth and controlling CCR5 tumor
overexpression, which has been shown to correlate with poor patient clinical outcomes. All of this is
supported by independent research and CCR5 antagonism independent of CytoDyn. Nader?

Nader Pourhassan, CEO:
Thank you, Scott. So now, I'd like to talk about the BLA submission. Lots of excitement among the
short reports that [is] usually bunch of lies and deceit that leronlimab is not real. Well, I can tell
everyone [that] GSK, ViiV spent over four hundred million — about four hundred million — on the
injectable profile five — ten years almost, and the last day before they get approval — or last two
weeks before they get approval, they got a Complete Response Letter, saying "rejected".
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Atezolizumab, another antibody similar to us for HIV, had a PDUFA date, and right before getting the
approval, they got six months delay because of manufacturing that was done in China, and they had a
long list of items that they have to correct which took them a six-month delay.

We had no issues with our manufacturing so far, according to — we have enough product — enough
information to have review. We some issues with our clinical section, which we believe we can resolve.
But in regards to BLA, we are requesting the type A meeting, most likely next week. And after meeting
with the FDA, we will give the shareholders the timeline for a new BLA submission and a potential date
for PDUFA.

Nader Pourhassan, CEO:
Because of all these trials and different indications that this product has, and we are just a little
OTCQB company who just becoming three-billion-dollar market cap size.

So now I want to let you know that I have asked Dr. Scott Kelly, our Chief Medical Officer, to put
together a list of top key opinion leaders who could get very excited about the mechanism of action of
leronlimab, because top scientists when they see the leronlimab is different than people who have no
science background. They get very, very excited.

In the word of one of the professors at OHSU — I won't give his name — said that "when the results
that I got from leronlimab I presented at the NIH meeting, everybody's eyes just got wide open." They
said, "are you kidding? What is this product?" This is the experience we had with Dr. Dennis Berger's
MS study; he has tears in his eyes — like he represented it to the board. He said "this is amazing".

Now, I have asked Dr. Scott Kelly to get ahold of top key opinion leaders to form a powerful scientific
advisory board ... to help us with what? Not with discovery. We discovered leronlimab 25 years ago. Dr.
Paul Madden and William Olsen did that. To help us to find a protocol. To help us with the top experts
that we have at Amarex, who have done spectacularly for us, to maneuver the path that we go through
to get to approval for each and every one of these indications. So with that, Dr. Kelley, can you update
the shareholders where we are with that?

Scott Kelly, CMO:
Yes, Nader. Thank you.

In regards to the Scientific Board of Advisors, we have made significant progress. I would like to share
with you some recent additions to our Scientific Board of Advisors. In HIV — I'll begin with Dr. Gero
Hütter, best known for the achievement of being the first doctor to functionally cured HIV through an
innovative procedure. His patient, Timothy Brown, also known as the "Berlin patient", is considered to
be the first person cured of HIV. Dr. Hütter was instrumental and recognized the importance of the
CCR5 receptor in HIV cure, and will be a vital asset at CytoDyn's Scientific Board of Advisors.

In oncology, Dr. Hope Rugo, who is a Professor of Medicine in the Division of Hematology and
Oncology at the University of California, San Francisco where she is the Director of Breast Oncology
and Clinical Trials Education. She has experience in malignant hematology, [and] bone marrow
transplantation, with the strong interest in novel targeted therapies and immunotherapies for early and
late-stage breast cancer. She is widely published and highly regarded in the field of oncology.

Scott Kelly, CMO:
Doctor Lish Dilugu [?]. He is Professor of Immunology at Cornell, Division of Infectious Diseases. His
interests include HIV Immunology, HIV and aging, and he has a strong interest in cognitive
impairments and Alzheimer's.

Doctor Erick Mininberg. Dr. Mininberg graduated from Dartmouth and University of Virginia Medical
School, completed Hematology Fellowship at Baylor and his Medical Oncology Fellowship at MD
Anderson. He will be helping us with clinical trial enrollment in the southeast region, and further
exploration of indications in oncology.

Doctor Jonah Sasha. Dr. Sasha has a PhD in Molecular Microbiology and Immunology. Dr. Sasha will
be helping us with our HIV cure and PrEP program.

We also have commitments for positions in the fields of pulmonary and lung transplants, two
herpetologists with an emphasis on fatty liver disease and Nash, a physician who specializes in bone
marrow transplant and blood cancers, among others. We will be announcing the many members of the
Scientific Advisory Board in the coming weeks. Thank you.

Nader Pourhassan, CEO:
Thank you, Scott.

So now the last item, and then I'll ask Mike Mulholland, after this item, to update on uplisting.

You, shareholders, set 100 million shares to be authorized. A lot of people think that we're going to use
100 million shares right away and finish it, and then go again, another 100 million shares — that's not
the way we work at CytoDyn, anymore. We used to work like that. From January 2017 to mid 2018, the
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dilution that I have asked our team to put together to see what happens with this company, and what
happened from the time that took us to recover. We diluted the company almost 600 million shares
because of those mishaps.

Now, since December, where we got everything back on track, we have only — we have only — used
15.7 million shares in the last seven months, when the finances are now more needed, funding is a lot
more needed than before, but yet, only 15.7 million shares. That should tell the shareholders the story.

Right now we have eighteen point-some million shares — 18 million shares that we could use —
except 8 million is in an escrow account that we can't touch because of the people who are bringing
lawsuits against us... the ex-board members of our company. I'm shocked, but anyway.

But if I use that 10 million shares right now, instead of, let's just, say at 5 bucks, that's 15 million
dollars, I don't need to even use any other shares. Could put that hundreds million shares aside, right?

Nader Pourhassan, CEO:
So I want everybody to know that the total dilution in the last seven months was less than 16 million
shares; that means that is a tremendous drop from the last three years of 600 million shares. And as
we said, the last fundraising with 3.3 million shares we raised 17 million dollars. So we are in a whole
new world; financially, people recognize our company, and we are going to use these shares very very
carefully, as always, and make sure we do not get diluted too much.

With that regard, our warrant exercise this year alone has been almost 50 million dollars, and I would
like to thank all the, I'm sorry, 48 million dollars, I would like to thank all the shareholders to
participated in that, and ask everyone to please participate more, because there's about 50 million
dollars
more worth of warrants out there that could stop us from selling any shares. That would help us, that
78 million warrants out there.

But with that, we'd like to uplist to NASDAQ. Mike Mulholland and his team have worked tirelessly. The
other day, I went to the office, and I asked our controller Antonio, "where is Mike? It is already 8:30 in
the morning!" He said "he's late." I said "why?" He said, "he went home 2 hours ago". So, this is a kind
of work we have, we're doing at CytoDyn. So Mike, go ahead please.

Michael Mulholland, CFO:
Thanks, Nader. Exciting time for the company, and good morning.

Quick update on the NASDAQ application and review process. Think of it in terms of about a five-to-six
week process. Last week was week number 1. We are now well into week 2. Next week, week 3, we
expect to receive a Comment Letter from the NASDAQ uplisting staff. Our team will assemble and
respond promptly to any additional follow-on questions they have. And so as we look ahead, weeks 5
on the continuum — it's about mid-August, and the outside week 6 is about the third week in August.

One final note is that one of the last pieces to this process will be the filing of the company's 10-K,
which is due to the SEC not later than August 14th, and we're working very hard to file early so that
this all comes together at the same time. Nader?

Nader Pourhassan, CEO:
Thank you, Mike. So what is the chance of us of getting NASDAQ within three weeks, in your opinion?

Michael Mulholland, CFO:
It's reasonable. I would put it around three to four weeks.

Nader Pourhassan, CEO:
Okay. We're not going to promise two and a half weeks. And we'll just wait and see what will happen.

Okay. Arian, should we go to Q&A?


Q&A
Nader Pourhassan, CEO:
So I have a question that just came in. Can they hear us — can everybody hear us right now? So the
question is "can you please talk about the registrational CD12 trial and the differences of that
compared to your mild-to-moderate trial?"

Yes, we can. The mild-to-moderate trial is a Phase 2 that explored many different endpoints: time to get
the ventilation, time off ventilation, and then the main primary endpoint, which we call "the primary
endpoint", but in Phase 2 there is not a set primary endpoint, because Phase 2 is a discovery — it is
discovering what you have, what your product can do. So if you look at 11 different, perhaps, items and
you say — "hey, five of these we can make, you know, work on".

So then you do a Phase 3 and pin down those points. But in a pandemic, or when you have unmet
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medical need, you can look at those, say — there's a clear difference, for example, in the time to
getting better — like Ramdesivir has 11 days versus 15 days time-to-discharge. So if you have that,
then you will go to FDA and have the discussion.

We believe, because this is an unmet medical need, and there's nothing out there that can do what
leronlimab does, and has done in the emergency IND patients, we go to the FDA and request for the
approval. That's CD10 — that's mild-to-moderate — so there is the work to be done here.

Nader Pourhassan, CEO:
With CD12, that's not the case. CD12 is the registrational trial for approval with a simple primary
endpoint — number of mortality. Now, we have had serious adverse events reported to us, so we know
there are quite a bit of deaths, unfortunately, in this trial. And when we unblinded, we get to see the
difference.

A safety look at the data would allow the safety — the Data Safety Monitoring Committee — only to get
unblinded and look at the data, and report to FDA, is it safe to continue and go forward? The interim
analysis will give you complete analysis of the data until the point that you do interim analysis. You
send that to FDA to make the case that we should get approved now, and not to continue. So
[inaudible] and it's needed when the data is concluded. So that's... [inaudible]

Operator:
[inaudible]

Nader Pourhassan, CEO:
That's ok. Thank you. So, are we muted...? (crosstalk)

Our whole — Mike Mulholland, the whole board will vote on — (laughter) ... what they're going to do.
Okay. So, any other questions? Arian, anything you see?

Arian Colachis, General Counsel:
I don't see any questions in the queue. But, we will entertain questions after today, if you email
cydy_team@cytodyn.com. Also we welcome letters from our stockholders, and we do our best to
respond promptly to any written inquiries.

Arian Colachis, General Counsel:
The meeting is now completed. You may now disconnect. Thank you for your attendance today.
Okay, [inaudible]. Sorry.

Nader Pourhassan, CEO:
Thank you, everyone.

https://www.transcriptshare.com/s/cydy/special-meeting-july-2020
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                 Exhibit I
       Case 8:21-cv-02533-PJM  Document
                            CD01         27-1ProjUsers
                                 Extn_WebView  Filed 10/26/21 Page 94 of 99

Site    LName      FName                     OrgName                      UserID
 1     Caballero   Nancy                  Dr. Huizenega                 ncaballero
 1     Kowalczyk     Ula                     Quest - 01                 ukowalczyk
 1         Le      Jimmy     Quest Clinical Research/eStudySite - 301        jle
 1        Post       Eric         Quest Clinical Research - 301            epost
 1       Duran       Lita         Quest Clinical Research - 301           lduran
 1       Lane       Jason         Quest Clinical Research - 301            jlane
       Case 8:21-cv-02533-PJM  Document
                            CD02         27-1ProjUsers
                                 Extn_WebView  Filed 10/26/21 Page 95 of 99

Site        LName       FName                          OrgName                           UserID
201         Bryant        Beth             Orlando Immunology Center                    bbryant
201        DeJesus       Edwin             Orlando Immunology Center                   edejesus
201      Garcia, CRC   Andres              Orlando Immunology Center                     agarcia
201      MARQUEZ        OMAR            ORLANDO IMMUNOLOGY CENTER                     omarquez
201         VELOZ       JANIZA          ORLANDO IMMUNOLOGY CENTER                         jveloz
201    Wert, MA/CCRC    Wendy              Orlando Immunology Center                      wwert
202        Moreno      Orlando           SouthCoast Research Center, Inc               omoreno
203         Loftus     Richard            Palmtree Clinical Research, Inc                rloftus
203       Martinez      Carlos            Palmtree Clinical Research, Inc             cmartinez
203         Phillips    Shayna            Palmtree Clinical Research, Inc               sphillips
204          Ulrich       Greg                    Circle Care Center                     gulrich
207        Anthony   Charmaine           Lalla-Reddy Medical Cooperation               canthony
207      lalla-reddy     sujata               lalla-reddy medical corp                slallareddy
207       Lepthien     Barbara           Lalla-Reddy Medical Corporation               blepthien
207       Martinez     angelina              Lalla-Reddy Medical Corp.                amartinez
207        Nguyen         Tony              Pacific Coast Medical Group                tonguyen
209          Berhe    Mezgebe      North Texas Infectious Diseases Consultants          mberhe
209        Caldwell     Jessica    NorthTexas Infectious Diseases Consultants          jcaldwell
209         Powell         Erin   North Texas Infectious Diseases Consultants, PA       epowell
213      DAQUIOAG    BENJAMIN                Therapeutic Concepts, PA                 bdaquioag
213          Naqvi   Mohammad                  Therapeutic Concepts                     mnaqvi
213        Semien        Kayla                 Therapeutic Concepts                     ksemien
213        Swindle    Charlotte                Therapeutic Concepts                    cswindle
214      Clementich      Dawn       Midway Immunology and Research Center            dclementich
214         Jacobs      Brenda      Midway Immunology and Research Center               bjacobs
214       Ramgopal        Moti      Midway Immunology and Research Center            mramgopal
214          Sharp        Carly     Midway Immunology and Research Center                csharp
214          Terry     Jennifer     Midway Immunology and Research Center                 jterry
216        Brenner         Ann                   Via Christi Research                  abrenner
216           Krull       Janie                  Via Christi Research                      jkrull
220           Akil      Bisher           Chelsea Village Medical/Site 220                  bakil
220         Bartell      Lynne           Chelsea Village Medical/Site 220                lbartell
223         Gubitz     Hannah                Premier Clinical Research                  hgubitz
223      Schwietert    Isabella              Premier Clinical Research               ischwietert
223          Stout     Wesley                Premier Clinical Research                   wstout
224       Andrews        Laurie                     Yale University                    landrews
224          Frank       Cyndi                      Yale University                       cfrank
225           Baer       Jenny                 University of Cincinnati                    jbaer
225         costea    Elizabeth                University of Cincinnati                 ecostea
225     Fichtenbaum        Carl                University of Cincinnati             cfichtenbaum
225     Huaman Joo      Moises                 University of Cincinnati             mhuamanjoo
225          Miller     Brenda                 University of Cincinnati                  bmiller
226       Asuncion    Katherine                  St Hope Foundation                   kasuncion
226         Azeem        Saima             ST. HOPE FOUNDATION, Inc                     sazeem
226        Degazon     Kenneth             ST. HOPE FOUNDATION, Inc                    kdegazon
226          Luna      Claudia                  St. Hope Foundation                       cluna
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Site       LName       FName                      OrgName                     UserID
226         Sims        James               St Hope Foundation                  jsims
226     yallamanchi     varsha             sthopefoundation.org           vyallamanchi
234        Collins     Patrice         Howard Brown Health Center            pcollins
234          Sims     Kenyetta         Howard Brown Health Center              ksims
234       Warren       Ebony           Howard Brown Health Center            ewarren
238       Espinosa        Bert          Floridian Clinical Research         bespinosa
238        Galvez         Ada             EliteResearch Institute            agalvez
238       Gonzalez     Vismery          Floridian Clinical Research         vgonzalez
238         Lopez         Julio         Floridian Clinical Research            jlopez
238          Mur          Juan            Elite Research institute              jmur
238      Quevedo       Joseph           Floridian Clinical Research         jquevedo
239      Kowalczyk         Ula            Quest Clinical Research          ukowalczyk
239           Le        Jimmy        Quest Clinical Research/eStudySite           jle
240        Osorio        Jesus          Research Access Network               josorio
240       Schrader    Shannon           Research Access Network             sschrader
239        Duran           Lita           Quest Clinical Research             lduran
239       Jennings      Emily            Quest Clinical Reasearch           ejennings
239          Lane        Jason            Quest Clinical Research               jlane
239          Post         Eric            Quest Clinical Research              epost
           Case 8:21-cv-02533-PJM
                                CD03Document  27-1ProjUsers
                                     Extn _WebView  Filed 10/26/21 Page 97 of 99

Site    LName             FName       OrgName                                        UserID
    301 Duran             Lita        Quest Clinical Research - 301                  lduran
    301 guevara           angela      Quest Clinical Research - 301                  aguevara
    301 Jennings          Emily       Quest Clinical Reasearch - 301                 ejennings
    301 Kowalczyk         Ula         Quest - 01                                     ukowalczyk
    301 LaLuce d'Luna     Ocèan       Quest Clinical Research, San Francisco - 301   olalucedluna
    301 Lane              Jason       Quest Clinical Research - 301                  jlane
    301 Le                Jimmy       Quest Clinical Research/eStudySite - 301       jle
    301 Lewman            Olivia      Quest Clinical Research - 301                  olewman
    301 Post              Eric        Quest Clinical Research - 301                  epost
    301 Rabb              Natalie     Quest Clinical Research - 301                  nrabb
    301 Radcliffe         Lian        Quest Clinical Research - 301                  lradcliffe
    301 Streit            Jamie       Quest Clinical Research - 301                  jstreit
    301 Tao               Luke        Quest Clinical Research - 301                  ltao
    301 Velasquez-Velez   Sergio      Quest Clinical Research - 301                  svelasquezvelez
    301 Weintraub         Bradley     Quest Clinical Research - 301                  bweintraub
    302 Brenner           Ann         Via Christi Research                           abrenner
    302 Krull             Janie       Via Christi Research                           jkrull
    303 Ulrich            Greg        Circle Care Center                             gulrich
    306 McManus           Melissa     EStudySite                                     mmcmanus
    306 O'Sullivan        Matthew     eStudySite                                     mosullivan
    306 Poleon            Natie       eStudySite                                     npoleon
    306 Smith             Danielle    eStudySite                                     dsmith
    307 Akil              Bisher      Chelsea Village Medical                        bakil
    307 Bartell           Lynne       Chelsea Village Medical                        lbartell
    308 Arredondo         Isidra      Palmtree Clinical Research Inc                 iarredondo
    308 Loftus            Richard     Palmtree Clinical Research, Inc                rloftus
    308 Martinez          Carlos      Palmtree Clinical Research, Inc                cmartinez
    308 Phillips          Shayna      Palmtree Clinical Research, Inc                sphillips
    309 Bryant            Beth        Orlando Immunology Center                      bbryant
    309 DeJesus           Edwin       Orlando Immunology Center                      edejesus
    309 Garcia, CRC       Andres      Orlando Immunology Center                      agarcia
    309 MARQUEZ           OMAR        ORLANDO IMMUNOLOGY CENTER                      omarquez
    309 VELOZ             JANIZA      ORLANDO IMMUNOLOGY CENTER                      jveloz
    309 Wert, MA/CCRC     Wendy       Orlando Immunology Center                      wwert
    313 Clementich        Dawn        Midway Immunolocy and Research Center          dclementich
    313 Da Silva          Stephanie   Midway Immunolocy and Research Center          sdasilva
    313 Jacobs            Brenda      Midway Immunology and Research Center          bjacobs
    313 Ramgopal          Moti        Midway Immunology and Research Center          mramgopal
    313 Sharp             Carly       Midway Immunology and Research Center          csharp
    313 Terry             Jennifer    Midway Immunology and Research Center          jterry
    314 Mehlek            Patrick     SUNY Upstate Medical University                pmehlek
    315 Anorve            Angela      eStudySite                                     aanorve
    315 DeChacco          Lindsay     eStudySite                                     ldechacco
    315 Devera            Melanie     estudy site                                    mdevera
    315 Harbison          Whitley     eStudySite                                     wharbison
    315 Hunt              Angela      eStudySite                                     ahunt
           Case 8:21-cv-02533-PJM
                                CD03Document  27-1ProjUsers
                                     Extn _WebView  Filed 10/26/21 Page 98 of 99

Site    LName           FName    OrgName                                  UserID
    315 Meza            Cathy    eStudySite                               cmeza
    315 Miller          Sarah    eStudysite                               smiller
    315 odom            shandel  estudysite                               sodom
    315 Quillin         Kimberly eStudySite                               kquillin
    315 Rosales         Ricardo  eStudySite                               rrosales
    315 Sanchez         Erica    eStudySite                               esanchez
    315 Smith           Ashley   eStudySite                               assmith
    315 Velasquez       Ann      eStudySite                               avelasquez
    315 Williams        Jamie    eStudySite                               jwilliams
    316 Andrews         Laurie   Yale University                          landrews
    316 Canny           Cathy    Yale New Haven Hospital                  ccanny
    316 Frank           Cyndi    Yale University                          cfrank
    316 kunzom          tenzin   yale new haven hospital                  tkunzom
    316 Laich           Leslie   Yale New Haven Hospital                  llaich
    316 Rembisz         Robert   Yale                                     rrembisz
    316 Santiago        Frances  Yale University/Internal Medicine AIDS   fsantiago
    318 Fuller          Evan     Pacific Oaks Medical Group               efuller
    318 Holman          Travis   Pacific Oaks Medical Group               tholman
    318 Radon           Joshua   Pacific Oaks Medical Group               jradon
    319 Higgins         Niamh    Antiviral Research Center UCSD           nhiggins
    319 Muttera         Leticia  UCSD-AVRC                                lmuttera
    320 Simpson         Cheryl   ARCA                                     csimpson
    320 Sweeton         Bentley  ARCA                                     bsweeton
    321 Osorio          Jesus    Research Access Network                  josorio
    321 Sarabia Jr      Arcenio  Research Access Network                  asarabia
    321 Schrader        Shannon Research Access Network                   sschrader
    322 Campbell        Jasmine  Therapeutic Concepts                     jcampbell
    322 DAQUIOAG        BENJAMIN Therapeutic Concepts, PA                 bdaquioag
    324 Espinosa        Bert     Floridian Clinical Research              bespinosa
    324 Garcia-Alonso   Ivan     Floridian Clinical Research              igarciaalonso
    324 Gonzalez        Vismery  Floridian Clinical Research              vgonzalez
    324 Lopez           Julio    Floridian Clinical Research              jlopez
    324 Quevedo         Joseph   Floridian Clinical Research              jquevedo
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Site       LName       FName                         OrgName                             UserID
101         Flores    Carmen           Southern California Research Center                cflores
101     Hassanein       Amir           Southern California Research Center            ahassanein
101         Seyer       Kasey          Southern California Research Center                kseyer
103     Josephson      Karissa   American Research Corporation at the Texas Liver I   kjosephson
103      reidinger        joe    American Research Corporation at the Texas Liver I    jreidinger
103        Sotelo    Anthony             American Research Corporation                   asotelo
103       Varnum       Krysta            American Research Corporation                  kvarnum
104        Nelson     Andrew                    Accel Research Sites                     anelson
104       Serrano     Marlene                 meridien research-Accel                  mserrano
104     Wierzbicki      Erika                   Accel Research Sites                  ewierzbicki
106        Daniel    Katharine                 Care United Research                      kdaniel
106    Followwell      Megan                Care United Research, LLC                 mfollowwell
106         Jasso     Jennifer              Care United Research, LLC                      jjasso
106      Slaughter    Richard               Care United Research, LLC                  rslaughter
107         Cano      Darlene               Catalina Research Institute                   dcano
107    Diaz-Chavez     Mayra                Catalina Research Institute               mdiazchavez
107        Farand    Mashgan                Catalina Research Institute                 mfarand
107          Lara     Edward                Catalina Research Institute                    elara
107    Valenzuela     Louisito                   Catalina Research                    lvalenzuela
107        Zuniga      Yvette               Catalina Research Institute                  yzuniga
108      Bowman       William                Sensible Healthcare, LLC                  wbowman
108       Jimenez       Katie                 Sensible Healthcare LLC                   kjimenez
108      kowalski      yvette                Sensible Healthcare, LLC                  ykowalski
108         Lopez       Milko                Sensible Health Care LLC                    milopez
109      Espinosa        Bert               Floridian Clinical Research                bespinosa
109      Gonzalez     Vismery               Floridian Clinical Research                vgonzalez
109         Lopez       Julio               Floridian Clinical Research                   jlopez
109       Ramirez      Yordan               Floridian Clinical Research                 yramirez
109     Rodriguez       Ivete               Floridian Clinical Research                irodriguez
109       Sanchez     William             Floridian Clinical Research LLC              wsanchez
110        bryson    christine     Center for Advanced Research and Education            cbryson
110        Paulus     Carolyn       Center for Advanced Research & Education             cpaulus
110     Putureanu       Carla       Center for Advanced Research & Education          cputureanu
110       Recknor        Julie      Center for Advanced Research & Education            jrecknor
